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Case 1

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1457073 TRAN, VAN T

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Us 0 0 0 0 0 0 0 0 0 0 0 0
1076956 FLUELLEN JR, ROOSVELT us 0 ° 0 0 oO 0 0 0 0 0 0 0
1299439 JEAN BAPTISTE, ELIE R us 0 0 0 0 0 0 0 0 0 0 0 q
1467520 FOX JR, RICHARD L us o 0 0 0 0 oO 0 0 0 oO 0 0
1493208 ALLA, YAO cA 0 0 0 0 0 0 o 0 0 0 0 0
133499 WHITE, ROBERT J us 0 0 0 0 0 0 0 0 0 0 0 0
1070536 BOGART , GAIL M us 0 0 0 0 0 0 0 0 0 0 0 0
1071839 WITZIGMAN, VICKY | us 0 0 0 0 0 0 0 0 o 0 0 0
7250008665 IT2B1Z PTY LTD AU oO 0 0 0 0 0 0 o o 0 0 o
1461955 SNYDER, JESSE A us 0 0 0 0 0 0 0 0 0 0 oO 0
433678 BRINKER, STEVE W us 0 0 0 0 o 0 0 0 0 0 0 oO
1071429 KIM, MIN J us oO 0 0 0 0 0 0 0 0 0 0 0
1900932 WILLIAMS, KENT W Us 0 0 0 0 0 100 0 00 0 0 0 O|
8906491734 FISCHER, HEDI DE 0 0 0 0 0 0 0 0 0 0 0 9
480139 GLOYD, CARYNA us 0 0 0 0 0 0 0 0 Q O 0 0
3000073068 MATHEW HORVEY CA 0 0 0 0 oO 0 0 0 0 0 0 0}
1176879 NORMAN , SUZANNE M us 0 0 0 0 0 0 0 0 0 0 0 Qo
8702380382 ARNT BRENDEN SAND NO 0 0 0 0 0 0 0 0 0 0 0 0
1479394 FRECHETTE, MARCO cA 0 0 0 0 0 0 0 0 0 0 0 0
1068039 MEIDL , JOHN J us 0 0 0 0 0 0 oO 0 0 0 0 0
179247 WRIGHT, JOCQUA L us 0 0 oO 0 0 0 0 0 0 0 0 oO
3000040702 FLORENCE GUDBRAND cA 0 0 0 0 0 0 0 0 0 0 0 0
3000038211 BARBARA DRAPER cA 0 0 0 ° 0 0 0 0 0 0 0 0
183344 NOLAN, CHRISTOPHER D us 0 0 0 0 0 0 0 0 0 0 0 0
8906703850 GILLY, ADELBERT DE 0 0 0 0 0 0 0 0 0 0 0 Oo
176959 THICKLIN, DENNIS L us 0 0 0 0 0 0 0 0 0 0 0 a
1676008 MILNER, KATHY JO us 0 0 0 0 0 0 o 0 0 0 0 Q
8906478137 HARMS, SVEN DE 0 0 0 0 oO 0 0 oO 0 0 0 O
8906522102 SCHRAEDER, WOLFGANG DE 0 0 0 0 0 oO 0 0 oO 0 0 Q
3000043546 RICHARD C INNES CA 0 0 o 0 0 0 0 0 O 0 QO 0)
1836554 LAROUCHE, JASON CA 0 0 0 0 0 0 0 ° 0 0 0 Q
7200060081 RHODES, CLIVE AU 0 0 0 0 0 0 0 0 0 0 0 0
7200017956 HENDERSON, CRAIG AU 0 0 0 0 o 0 0 0 0 0 0 o
1198207 DARBY , DEBORAH A us 0 0 0 0 0 0 0 0 0 0 0 0
6770002543 RUUD, ASBJOERN NO 0 0 0 0 0 0 0 0 0 0 18.31 18.31
14260881 REDBERG, MARSHELLA us ° 0 0 0 0 0 0 0 ° 0 0 0
1427302 LEON, HECTOR us 0 0 0 oO 0 0 0 0 0 0 0 0
1479541 MARTINEZ, CHRISTIAN us o 0 0 0 0 0 0 0 0 0 0 O
8906466137 MAUCHER, HANS-JOACHIM DE 0 0 0 0 0 0 0 0 0 0 0 0
1477448 RUELAS, ALEJANDRA us 0 0 0 0 0 0 0 0 0 0 0 0
8906460354 ROTH, ACHIM DE 0 oO 0 0 0 0 0 0 0 0 0 o
3000038581 MICHAEL & LORILEE ORECHOW cA 0 0 0 0 ° 0 0 0 0 o 0 0
1839085 COTE, JASON cA 0 0 0 0 0 0 0 0 0 0 0 O
1791029 SKIDMORE, RONALD P us 0 0 0 0 0 0 0 0 0 0 0 0
1197596 CASTILLO, VIRGILM us 0 0 0 0 0 0 0 0 0 0 0 oO
1260242 OSTLER, BRYCE F us 0 0 0 0 0 0 0 0 0 0 0 0
1428545 ABDELGADER, TAREK CA 0 0 0 0 0 0 0 0 0 0 0 Q|
7670621145 TALABOUNA MAPAKOU, GEORGES FR 0 0 0 0 0 0 0 0 0 0 0 |
1065285 NIUMATALOLO , TERESA J us 0 0 0 0 0 0 0 0 0 0 0 0
1427284 ARCHULETA, COLLEEN F us 0 0 0 0 0 0 0 0 0 0 0 Ql
7250006929 EDMETT, SEAN A AU 0 0 0 0 0 0 oO 0 0 0 0 0
1477689 MCCRAY, LINDA us 0 0 0 ° 0 0 0 0 0 0 0 0
1838551 SKACHKOVA, TATIANA G us 0 0 0 0 0 0 13.65 13.65 0 0 0 0
7600573142 VIREY, FRANCOISE FR 0 0 0 0 0 0 0 0 0 0 0 O|
7100137787 AZEVEDO DA CUNHA, MARIA DELURDES PT 0 o 0 0 0 0 0 0 0 0 0 0
1481355 SWENOR, MATTHEW L us 0 0 0 0 0 0 0 0 oO 0 0 0}
1266584 RABANG, RONALD R us 0 0 oO 0 0 0 0 0 0 0 a oO
1433763 NARDELLI, GERARDO MARIO CA 0 0 0 0 0 0 0 0 0 0 0 0
8906465396 MIETH, WILHELM DE 0 0 0 0 0 0 0 0 0 0 0 Q
7250007053 KLOTZ, KLOTZ W AU 0 0 0 0 0 0 0 0 0 0 0 O}
7000304688 FISCHER, DANIELA AT 0 0 0 0 0 0 0 0 0 ° 0 0
6906710807 KUGLER, KARINA DE 0 0 0 0 0 0 0 0 0 0 0 0
1896274 SMITH, EDWARD J us 0 0 0 0 0 0 0 0 0 0 0 0
8906457976 MOOR, WALDEMAR DE 0 0 0 0 0 0 0 0 0 0 0 0
6906664255 ELLER, REGINA DE 0 ° 0 0 0 0 0 0 0 0 0 0
1082960 MARTIN , CARTER us 0 0 0 0 0 0 o 0 0 0 0 0}
7250061878 HUANG, SONGWEN AU 0 0 0 0 0 0 0 0 0 0 0 0
1430124 ROGERS, DAVID H US 0 0 0 0 0 0 0 0 0 0 0 0}
1805852 LAWLER, JAMES B us ° 0 0 0 0 0 14.01 14.01 0 0 0 Q
7950011683 NEPHI NZ 0 0 0 0 0 0 0 0 0 0 0 0
1175363 WRAY , DONNA L us 0 0 0 0 0 0 0 0 0 0 13.01 13.01
1262737 MEDINA, ADELINA us 0 0 ° 0 0 0 0 0 0 0 0 0
1428140 COSTA, CRYSTAL D us 0 0 0 0 0 0 14.02 14.02 0 0 0 0
3000067295 LEVI ALEXANDER CA 0 0O 0 0 0 QO 0 0 0 0 o 0
8906723239 DEDERKE, ANITA DE 0 0 0 0 0 0 0 0 o 0 oO Oo
1820367 SYDNEY, LIONEL us ° 0 0 0 0 0 0 0 0 0 0 ql
8906622796 PROKISCH, RENE DE 0 0 0 0 0 0 o oO 0 0 0 |
3000079125 GLORIA BEDNARZ cA 0 0 0 0 0 0 0 0 0 0 0 oO
161697 RAY, HERMAN us 0 0 0 0 0 0 0 0 0 o 0 oO
1447323 LESLIE, APRIL D us 0 0 0 0 0 0 0 0 0 0 0 0
1822789 AMORIM, KELLY D us 0 0 0 0 0 0 0 0 0 0 0 0
461270 EBERHART, LISA M. us 0 0 0 0 0 0 0 0 0 0 0 0
7170042106 SOUSA D'AREA, MARIA ISABEL PT 0 0 0 0 0 0 0 0 0 0 0 0
3000058599 MARTY ADASZKIEWICZ cA 0 0 0 0 0 0 0 0 0 0 0 0
159450 CORNERSTONE EVANGICAL FRIENDS CHLUS 0 0 0 0 0 0 0 0 0 0 0 0
7600714460 BOEUF, NICOLAS FR 0 0 0 0 0 0 0 0 0 0 0 0
1426293 FITZPATRICK, MARK A us 0 0 0 0 0 0 0 0 0 0 0 0
157607 LMM PARTNERS, INC US 0 0 0 0 0 0 0 0 0 0 Q 0
1189206 BALDWIN , ANDREW G us 0 0 0 0 oO 0 0 0 0 0 0 0
1176281 BOREMAN , JAN us 0 o 0 0 0 0 0 0 0 0 0 Q
3000067659 FRANCOISE THERRIEN CA 0 0 0 0 0 0 0 0 O 0 0 0
1657250 VINSTON, CARLTON R US 0 0 0 0 0 0 0 o 0 o 0 0
1841683 REJDA, TROY us 0 0 0 o 0 0 0 0 0 0 0 0
1198050 KASSING , HAILEE R us 0 0 0 0 0 oO 0 oO oO 0 0 Oo

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1435665 KROKOV, CIARA J US 0 0 0 0 0 0 0 0 0 0 0 a
1468929 WADDELL, DAVID E Us 0 0 0 0 0 0 0 0 0 0 0 0
1069607 TALBOT , AMOS A US 0 0 0 0 0 0 0 0 0 0 0 0
7600701389 VASSEUR, JULIEN FR 0 0 0 0 0 0 0 0 0 0 Qo 0
1113814 LEE , KACEY J US 0 0 0 0 0 0 0 0 oO 0 0 0
1282078 ADAMS, ALM US 0 0 0 0 0 0 0 0 0 0 Qo 0
8906654260 HARB, TARIK DE oO 0 0 Oo 0 0 0 oO 0 0 0 0
1187624 PEDERSON , JACKD US 0 0 0 0 0 0 0 0 0 0 0 0
1640670 SPENCER, PATRICIA US 0 0 0 0 0 0 0 0 0 0 0 0
1188568 PARIS , DEEANN - Us 0 0 0 0 0 0 0 0 0 0 0 0
130283 SMITH, LINDA L US 0 0 0 0 0 0 0 0 0 0 0 0
7000320174 ECKHARDT, BERNHARD AT 0 o 0 oO 0 oO 0 0 0 O 0 0
7670160193 SAVARY, JACQUES FR 0 0 Oo 0 O 0 0 0 0 0 0 0)
8003752088 DRONKERS, JOOP NL 0 0 0 0 0 0 0 0 0 0 QO 0
8906509241 ZOLLNER, THOMAS DE 0 0 0 0 0 0 0 0 0 0 0 0
8404728426 TEAM UNIVERSE SPIRIT 1 KB SE 0 0 0 0 Oo 0 0 0 0 0 0 0
1893051 FERGUSON, MICHAEL J US 0 0 0 0 0 0 0 0 0 0 15.55 15.55
7600600354 TECHER, JOHNNY FR 0 0 0 0 Q 0 0 0 0 QO 0 0
3000093352 MARGARET FERGUSON CA 0 0 0 0 0 oO 0 0 0 0 0 0
1642233 SALINAS, YURIET V US 0 0 0 0 0 0 0 0 0 0 0 0
7800303775 SANTORO, CLAUDIO IT 0 0 0 0 0 0 0 0 0 0 0 0
130763 SHENTON, ROD J US 0 0 0 0 0 0 0 0 0 Qo 0 0
130785 SUMLER, ROBERT F us 0 0 0 0 0 0 0 0 0 0 0 0
1507398 GCN GLOBAL, CORP. US 0 0 0 0 0 0 0 QO 0 0 0 0
1507900 MORENO JR, JOSE A US 0 0 oO 0 0 0 0 0 0 0 0 0
8906539505 STEINBERGER, EVA DE 0 0 0 0 0 0 0 0 0 0 0 a
1892423 EASTMAN, TIMICA US 0 0 0 0 0 0 0 0 0 0 0 0
1767403 HARDING, SHAWN D US 0 0 0 0 0 0 0 0 Qo 0 0 0
1095093 DIBBLE , JENNIFER L US 0 0 0 0 0 0 0 0 Qo 0 0 0
1094190 CHAUVIN , EMILIEN CA 0 0 0 0 0 0 0 0 0 0 0 0
1479372 PELAYO, ELENA S US 0 0 0 0 0 0 0 0 0 0 0 0
1096681 D AMOURS , DANIEL CA 0 0 0 0 0 0 0 0 0 0 oO 0
7670022681 LAUNAY, ROMAIN FR 0 0 0 0 0 0 0 0 0 0 0 0
7670218605 ALI SAID, AMIR FR 0 0 0 0 0 0 0 0 0 0 39.68 39.68
1497813 JOHNSTON, ERIC US Qo 0 0 0 0 0 0 0 0 0 0 0
7800233223 SERVIDIO, SANTO EMANUELE IT 0 0 0 0 0 0 0 0 0 0 0 0
8103443468 JEJAGERGARD DK 0 0 0 0 0 0 0 0 0 0 QO 0
1110558 MOE , DEXTER F US 0 0 0 0 0 0 0 0 0 0 0 0
7950013388 BUAKULA, JOSAIA J NZ 0 0 0 0 0 0 0 0 0 0 0 QO
1456418 BRODEUR, MARIO CA 0 0 0 0 0 0 0 0 0 0 0 Q
1643720 GARCIA, LILIA US 0 0 Q 0 0 0 0 QO 0 0 0 0
7600703255 ROLLAND, GILBERT FR 0 0 0 0 0 0 0 0 0 0 0 0
8103494713 RASMUSSEN, CONNIE OK 0 0 0 0 0 0 0 0 Qo 0 0 0
1112625 HOLT , DENNIS US 0 0 0 0 0 0 0 0 0 0 0 0
1769156 DA SILVA, THIAGO Q US 0 0 0 0 0 0 0 0 0 0 Qo 0
7950013351 EPSTEIN, HARRIET L NZ 0 0 0 0 0 0 0 0 0 0 0 0
1639206 GUTIERREZ, ANGEL US 0 0 0 0 0 0 0 0 0 0 0 0
1458613 GONZALES, GLORIA us 0 0 0 0 0 0 0 0 0 0 Qo 0
7170046028 SANTOS, HELENA | PT 0 Q 0 0 0 0 0 0 0 0 0 Q
1283733 CHACON, EMILENE US 0 0 0 0 0 0 0 0 0 0 0 0
6170078842 STEFAN MITAS PL 0 0 0 0 0 0 0 0 0 0 0 0
7100208602 MARCIA, ABREU PT 0 0 0 0 0 0 0 0 0 0 0 0
1096116 CLARK , MIKE J US 0 0 0 0 0 0 0 0 0 0 0 0
7670163186 MAHZOUM, MALIKA FR 0 oO 0 0 0 0 0 0 0 0 Qo 0
1279703 CHANG, STEVE J US 0 0 0 9 0 0 0 0 0 0 0 0
7170005311 VIEIRA, CARLOS ALBERTO SAO JOAO SAN PT 0 0 0 0 0 0 0 0 0 0 44.3 44.3
130337 DEES, KEVIN OR ANGELA L. us 0 0 0 0 0 0 0 0 0 Q 0 0
1201288 PRINCE, DIANE | US 0 0 0 9 0 0 Qo 0 0 0 0 0
1303316 STEVENS, DONALD L US 0 0 0 0 0 0 0 0 Qo 0 0 0
1491221 LACOURSE, ANNIE CA 0 0 0 0 0 0 0 0 0 Q 0 0
7670197566 CELESTIN, YANN FR 0 0 0 0 0 0 0 0 Q 0 0 0
1492342 BERNAL, MARIA LUISAR us 0 0 0 0 0 0 0 0 0 0 0 a
1303122 JAMIESON, ROXANNE U US 0 0 0 0 0 0 0 0 0 0 0 a
134213 BRUNNER, KRISTIE R US 0 0 0 0 0 0 0 0 0 0 0 0)
7250007170 HARTOG, AREND AU 0 0 0 QO 0 Q 0 0 0 0 0 0
1107342 JAMES-BRYANT , VIDA AND JOHNNIE US 0 0 0 0 0 0 0 0 0 0 0 0
7100039859 ANDRADE SANTOS, HELENA ISABEL PT 0 0 0 0 0 0 0 0 0 0 0 0
137048 MOTLEY, MONA & ALONZO US 0 0 0 0 0 0 0 0 0 0 0 a
1072916 GARCIA, ALBERT us 0 0 0 0 0 0 0 0 0 0 0 0
1303048 MCCUTCHEON, JASON R US 0 0 0 0 0 0 0 0 0 0 0 0
1463889 TERSIER, FRANCIA CA 0 0 0 0 0 0 0 0 0 0 0 0
1305194 JACKSON, CHRISTOPHER A US 0 0 0 0 0 0 0 0 0 0 0 a
1072767 LAI, WENDY US 0 0 0 Qo 0 0 0 0 0 0 0 0
1783354 BROWN, CINDY R US 0 0 0 0 0 0 0 0 0 0 0 0
1113598 KELSON, KYLE A US 0 0 0 0 0 0 0 0 0 Qo 0 0
7000288269 QUINTUS, REGINA AT 0 0 0 0 0 0 0 0 0 0 0 0
1304440 DELOS REYES, CARLOS G us 0 0 0 0 0 0 0 0 0 0 18.69 18.69
1504819 CLINE, JONATHAN H US 0 0 0 0 0 0 0 0 0 0 QO 0
1073369 MAMMONE , PATRICIA M US 0 0 0 0 0 0 0 0 0 0 Qo 0
175888 LEVAN, LARRY D us 0 0 0 0 0 0 0 0 0 0 0 0}
1107932 HENDERSON , DUSTIN C US 0 0 oO 0 0 0 0 0 0 0 0 0
7600636268 ALMERAS, STEPHAN FR 0 0 0 0 0 0 0 0 0 0 0 0
7800323702 NOTARANGELO, TIZIANO IT 0 0 0 0 0 0 0 0 0 0 0 0
1500909 KERN, DARLA K US 0 0 0 0 0 0 0 0 0 0 0 0
1076034 ASADULLAH, SHAREEF | US 0 0 0 0 0 o 0 0 0 0 0 0
8906475701 PODSIADLY, FRANK DE 0 0 0 0 QO 0 0 0 QO 0 0 0
126637 ST KEVIN US 0 0 0 0 0 0 0 0 0 0 0 0
1094516 DAVIS-JETT , RUBY A US 0 0 0 0 0 0 0 0 0 0 0 0
8906559439 KNUR, AXEL DE 0 0 0 0 0 0 0 0 0 0 0 0
1280643 HARDYWAY, LA SHONDA US 0 0 0 0 0 0 0 0 0 0 0 0
1281669 ALLISON, BRANDY J US 0 0 0 o 0 0 0 0 0 0 0 0
1504433 FLORES, JOSE M US 0 0 0 0 0 0 QO 0 0 0 0 0
8906429825 NEUHAUS, JORG DE 0 0 0 0 0 0 0 0 0 0 0 0
135948 JONES, MCKINLEY US 0 0 0 0 0 0 0 0 0 0 0 0

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4267058 ROSADO, KENYA US 0 0 0 0 0 0 0 0 0 0 0 0
138651 REMINGTON, IRIS S us 0 0 0 0 0 0 0 0 0 0 ° Q
1297216 MATHESON, BRADY M us 0 0 0 0 0 0 0 0 0 0 0 0
7600651915 FARAUD, ISABELLE FR 0 0 0 0 0 0 0 0 0 0 0 0
7670150765 MONTARRAS, DIDIER FR 0 0 0° 0 0 0 Oo 0 0 0 0 0
1490262 OPP, JULIE US 0 ° 0 0 0 0 0 0 0 0 0 Q
8906416310 DERKSEN, GUNTER DE 0 0 0 0 0 0 0 0 0 0 0 Q
1303554 BRISENO, MARCOS J US 0 0 0 0 0 0 0 0 0 0 0 0
1268735 AHMAD, SHIRAZ CA 0 0 0 Qo 0 0 0 0 o 0 a a
1461268 BARRAZA, CLARA us ° 0 0 0 0 0 0 oO 0 0 0 o
1494458 DUGANS, RONALD us 0 ° 0 0 0 0 0 0 0 0 ° 0
133286 UNIVERSAL HAGAR SPIRTUAL CHURCH US 0 0 0 0 0 0 0 0 0 0 oO 0
8906463843 SEARCH CARD COMPANY DE 0 0 0 0 0 0 0 0 0 0 0 0
7400537482 RACIC, DRAGAN CH 0 0 0 0 0 0 0 0 0 0 0 0
7670017460 DARIES, VIRGINIE FR 0 0 0 0 0 0 0 0 Q 0 0 0
1076062 HENRIE , MARK AND COLLETTE us 0 0 0 0 0 0 0 QO Qo Qo Q 0
8702343212 KRISTIANSEN, @YSTEIN F NO 0 0 0 o 0 o 0 o 0 0 0 Q
1113257 ARSENEAULT , JONATHAN cA 0 0 0 0 0 0 0 0 o 0 0 0
790027544 COPELAND, JASON NZ 0 0 0 0 0 0 o 0 0 0 0 0
1444085 EAVES, DENISE J us ° 0 0 0 0 ° 14.32 14.32 0 0 0 0
1112175 SMITH, ALAN us 0 0 Q 0 0 0 0 0 0 0 0 o
1080275 WINKEL , ALAN G us 0 0 0 0 0 0 0 0 0 0 0 0
66560 MAJESTIC, MICHAEL S us 0 0 0 0 0 o 0 0 0 0 0 0
7800279769 IACOVELLA, PIETRO IT 0 0 0 0 0 0 0 0 0 0 0 0
1296230 WEISS, DAVID M us 0 0 oO 0 0 0 0 0 0 0 0 0
138985 ORCHARD-HAYS, KATHLEEN O us 0 0 0 0 0 0 0 0 0 0 0 a
1304263 ROMEO, ANTHONY J us 0 0 0 0 0 0 0 0 0 0 0 Oo
1107360 DOMAGAS , MICHELLE us 0 0 0 0 0 0 0 0 o 0 0 0
1107649 HARTER , ROBERT T us 0 0 0 0 0 0 0 0 0 0 0 0
1107664 GREGG, FRANKLIN us 0 0 0 0 0 0 0 0 0 0 0 0
8003727419 PACK FREE NL 0 0 0 0 0 0 0 0 0 0 0 0
1112137 MORENO, NICOLE P us 0 0 0 0 0 0 0 0 0 0 0 0
8906421536 ERMUTH, DANIELA DE 0 0 0 0 0 0 0 0 0 0 0 0
1079391 CLOUGH , STEVEN us 0 0 oO 0 0 0 0 0 0 0 0 0
133176 HENDERSON, MARSHONDA L us 0 0 0 0 0 0 0 0 0 0 0 0
1072790 MANIS , ROBERT M us 0 0 0 0 0 0 0 0 0 0 0 0
1073371 SMOCK , KURT R us 0 0 0 0 0 0 0 0 0 0 0 0
8906492261 VIETZKE, ANDREA DE oO 0 0 0 0 0 0 0 0 0 0 0
6202906078 TIMONEN, EILA BV 0 0 0 0 0 0 0 0 0 0 0 Q
7000321544 WAGNER, FRANZ AT 0 0 0 0 0 0 0 0 0 0 0 0
7200074643 BENTON, JENNY AU 0 0 0 0 0 0 0 0 0 0 0 0
8906588800 HENKEL, HEIDEMARIE DE 0 0 0 0 0 0 0 0 0 0 0 0
7670360445 UHLEN, STEPHANE E FR 0 0 0 0 0 0 0 0 0 oO 0 oO
1473566 GRANT, FRANCELENE A us 0 0 0 0 0 0 0 0 0 0 0 0
1265142 BEACHAM, SANDY F us 0 0 0 0 0 0 0 0 0 0 0 oO
7600651082 BONOIST GOODE, ALEC FR 0 0 0 0 0 0 0 0 0 0 0 Q
7600605746 FERREIRA, MARIA FR 0 0 0 0 0 0 0 0 0 0 0 0
1471063 KEITH, MELODY T us 0 0 0 0 0 0 0 0 0 0 0 0
7600704602 VERAX, JULIEN FR 0 0 0 0 0 0 0 0 0 o 0 0
7000326114 BRAUN, OLIVER AT 0 0 0 0 0 0 0 0 0 0 0 0
1462761 DOUCETTE-GLOVER, JACQUELINE us 0 0 0 0 0 0 0 0 0 0 0 0
173465 MOORE, ANIKA S us o 0 0 0 0 0 0 0 0 0 0 0
8170024044 CHRISTIANSEN, NINNA M. DK 0 0 0 0 o 0 0 o 0 0 0 0
1454143 MONCHAMP, REAL CA 0 0 0 0 0 0 0 0 0 oO 0 0
1457159 FAULK, SEANTI D us 0 0 0 0 0 0 0 0 0 0 0 oO
1469961 DIETZ, STEPHANIE us 0 0 0 0 0 0 0 0 oO 0 0 0
8103514796 ZEYMER, SUSANNE B DK 0 0 0 0 0 0 13.67 13.67 0 Oo 0 oO
7100197126 MOREIRA SANTOS, MIGUEL JOSE PT 0 0 0 0 0 0 0 0 0 0 0 O
1293208 BARRAZA, EMILIA C us 0 0 0 0 0 0 0 0 0 0 0 0
1490637 NAVARRO, OSCAR A us 0 0 0 0 0 oO 0 0 0 ° 0 0
1475699 WANTA II, KEVIN J us 0 0 0 0 0 0 0 0 0 0 0 0
7900119106 HAERE RA PARTNERSHIP NZ 0 0 0 0 0 0 0 0 0 0 oO 0
7600671627 GOMES, MICHAEL FR 0 0 0 0 0 0 0 0 0 0 0 0
169870 BETHLEHEM BAPTIST CHURCH us 0 o 0 0 0 0 0 0 0 0 0 0
7670133996 JOLY, FABIEN FR 0 0 0 0 0 0 §6.99 56.99 0 0 0 0
1431157 GRAND-PIERRE, JULES cA 0 0 0 0 0 0 0 0 0 0 0 0
7250071521 ATHUAI, WILLIAM AU 0 0 0 0 0 0 0 0 0 0 0 0
1452664 MCNULTY, AMY L us 0 0 0 0 0 0 0 0 0 0 0 0
1465148 DIAZ MACEO, JOSE F us 0 0 0 0 0 0 0 0 0 0 0 0
1465288 RODRIGUEZ, JORGE A us 0 0 o 0 0 0 0 0 0 0 0 0
1468334 DUNN SR, WILL L us 0 0 0 0 0 0 oO ° 0 0 0 0
7600705250 POUZAUD, ANTHONY FR 0 0 ° 0 0 0 0 0 0 0 0 Q
1476770 PEPIN, CHRISTIAN cA 0 0 0 0 0 0 0 o 0 ° 0 0
1304383 JONES, ZAKIYA M us 0 0 0 0 0 0 0 0 0 0 o oO
1491275 BECKLEY, ERIC W us 0 0 0 0 0 oO 20.59 20.59 0 0 0 0
1900379 BENLHZIL, AMINA cA 0 0 0 0 0 0 ° 0 0 0 0 0
7100052686 BARATA, PEDRO MANUEL MARTINS PT 0 0 0 0 0 0 0 0 0 0 0 0
1071224 SUTHERLAND, HEATHER cA 0 0 0 0 0 0 0 0 oO 0 0 0
8906426628 KOSTER, WILFRIED DE 0 0 0 0 0 0 0 0 0 0 0 0
1204253 TROUGHT , BEVERLY cA 0 0 0 oO 0 0 0 0 0 0 0 0
1646418 MUNIZ CABAN, SAMUEL us 0 0 0 0 0 0 0 0 0 0 0 0
7100183031 SANTOS COSTA GOMES, NUNO JOSE PT 0 0 0 0 0 0 0 0 0 0 0 0
7670033480 GONCALVES, FILOMENA FR 0 0 0 0 0 0 0 0 0 0 0 0
1296314 PETERSON, LARRY J us 0 0 0 0 0 0 0 0 o 0 0 0
1476172 AMATO, ROSE A CA 0 0 0 0 0 0 0 0 0 0 oO oO
7600716428 DON, GERALDINE FR 0 0 0 0 0 0 0 0 0 0 0 0
7670177672 BOUABDALLAH, KAMEL FR 0 0 0 0 0 0 0 0 0 0 0 0
1477226 SANCHEZ, MARIA E us 0 0 0 0 0 0 0 0 oO 0 0 0
7600712850 MENARD, TONY FR 0 0 0 0 0 0 0 0 0 0 Q 0
1457993 GAGNON, ANTONY L cA 0 0 0 0 0 0 ° 0 0 o 0 0
1432684 BERGERON, MARCO cA ° 0 0 0 0 0 0 0 0 0 13.53 .53
7670176725 BAEZ, LUISA FR 0 0 0 0 0 0 0 0 0 0 0 oO
7170046047 DA CUNHA OLIVEIRA, JOSE CARLOS PT 0 0 0 0 0 0 0 0 0 0 0 0
1434266 GUECHOU, SALIHA cA 0 oO oO 0 0 0 0 0 oO o 0 oO

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1247912 POURCHOT, MARGARET T US 0 0 0 0 Qo 0 0 0 0 0 0 a
1245498 SICOTTE, PIERRE CA 0 0 0 0 0 0 0 0 0 0 0 0
8906729534 RUMMEL, STEFAN DE 0 0 0 0 0 0 0 0 0 0 0 0
7250022597 VIVILIOS, VASILIOS AU 0 0 0 0 0 0 0 0 0 0 0 0
8906786186 BOHRER-BYKOWSKA, AGNIESZKA DE 0 Qo 0 0 0 0 0 0 0 0 Oo 0
1852756 LOPEZ, CRISTIAN J US 0 0 0 0 0 0 0 0 0 0 0 0
1723164 CHRISAFIS, VANESSA G US 0 0 0 0 0 0 0 0 0 0 0 0
8103481707 OCKHOLM, FINN FO DK 0 0 0 0 0 0 0 0 0 0 Qo 0
1702939 AMSING, JESSICA NICOLE US 0 0 0 0 0 0 0 0 0 0 0 0
7000313892 KOECK, PETRA AT 0 0 0 0 0 0 0 0 0 0 0 0
1689868 MARCHAND, MIGUEL CA 0 0 0 0 0 0 0 0 0 0 0 0
1710058 NOLL SR, DOUGLAS S US 0 0 0 0 0 0 Qo 0 0 0 0 0
7670118928 VIES, JACQUES FR oO oO oO 0 0 0 0 0 0 oO 0 0
1415381 PAGUIO, SUSANA C US 0 0 o 0 oO 0 0 0 0 0 0 0)
1416021 KINSINGER, MICHAEL A US 0 0 0 0 0 0 0 0 0 0 0 0
1420494 ROBEDILLO, EDGARDO R CA 0 0 QO 0 0 0 0 0 0 0 0 0
7100191394 LOPES CARVALHAL, ANTONIO FERNANDO PT 0 0 0 0 0 0 0 0 0 0 0 0
8170018148 JENSEN, JENS E OK 0 0 0 9 Q 0 0 0 0 0 0 0
1411812 BEAN, IVAN D US Qo 0 0 0 QO 0 Qo 0 0 0 0 0
1272581 LEONARD, TANIA L US 0 0 0 0 0 0 0 0 0 0 0 0
8170019003 CHRISTIANSEN, MARTIN DK 0 o 0 0 0 0 0 0 0 0 0 0
1411898 EMRIT, RONALD S us 0 QO 0 0 0 0 0 0 0 0 Q 0
1269361 NICOLAS, DAVID US 0 0 0 0 0 0 0 0 0 0 0 0
1420037 HERNANDEZ, MIGUEL A US 0 0 0 0 0 0 0 0 0 0 0 0
7200302356 DOWNING, JULIE AU 0 0 0 0 0 0 0 0 0 0 0 0
1273648 WYSOCKA, IRENA US 0 0 0 0 0 100 21.97 121,97 0 0 0 0
1409021 BENAVIDES JR, JOHN US 0 0 0 0 0 QO Oo 0 0 0 0 0
205631 INGLESTON, MICHAEL T CA 0 0 0 0 0 0 0 0 0 0 0 0
7800319275 PUGLIESE, CONCETTA IT 0 0 0 0 0 0 0 0 0 0 Qo 0
1270892 BALKARAM, AMAR K US 0 0 0 0 0 0 0 0 0 0 Qo 0
1389117 TURPIN, JEAN GUY CA 0 Q 0 0 0 0 0 0 0 0 0 0
7950053260 LAM, MELESEINI NZ 0 0 0 0 0 0 0 0 0 0 0 0
1413904 MEDINA, DAVID US 0 0 0 0 0 0 o 0 0 o 0 0
1249939 CHANDLER, COLAN C US 0 0 0 0 0 0 0 0 0 0 0 0
8103507908 RAVN, SVEND @ DK 0 0 0 0 0 0 0 0 0 0 0 0
7200305003 TIMOTEO, TIMOTHY AU 0 0 0 0 0 0 0 0 0 0 0 0
7200150890 ORMESHER, ROBERT AU 0 oO 0 0 0 0 0 0 0 0 Qo 0
1417343 SALDIVAR, MAYRA M US 0 0 0 0 0 0 0 0 0 0 0 0
210354 DRISCOLL, EARLS US 0 0 0 0 0 0 0 0 0 0 0 0
1243657 HARRIS, SHELLY C US 0 0 Q oO 0 0 0 0 0 Qo 0 0
1243783 BERTIN COLLIN CA 0 Qo 0 Q 0 0 0 0 0 0 0 0
1382776 ARIAS, RICHARD D US 0 0 0 0 0 0 o 0 oO 0 0 0
1156185 OHANA, RAELE US 0 0 0 0 0 0 0 0 0 0 0 0
7400514658 PEIC, DEJAN CH 0 0 0 0 0 0 0 0 0 0 0 0
7000299226 VAN ASTEN, PETRA AT 0 0 0 0 0 0 0 0 0 0 0 0
7600635408 MSA, ISSOUF FR 0 0 0 0 0 0 0 0 0 0 0 0
7600584000 DEEDS, GREGORY FR 0 0 oO 0 0 0 0 0 0 0 0 0
1386702 SALAM, MOHAMMAD A CA 0 0 0 0 0 0 0 0 0 0 0 0
206389 SMITTERBERG, JANA C US 0 0 0 0 0 0 0 0 0 0 0 0
211200 STRICKLAND, GEORGE M US 0 0 0 0 0 0 0 0 0 0 0 0)
7600682290 EYRARD, KELLY FR 0 0 0 0 0 0 0 0 0 0 0 0
1186488 WEAVER , DEREK US 0 0 0 0 0 0 0 0 Qo 0 0 0
1244703 THURSTON, BRIAN J US 0 0 0 0 0 0 0 0 0 0 0 0
8103487348 PETERSEN, TINE F:RGEMANN DK 0 0 0 0 0 0 15.49 15.49 0 0 0 0
206021 DISHER, TERRY E us 0 0 0 0 0 0 0 0 0 0 0 Q
7670081401 MEACHACHE, BASSAM FR 0 0 0 9 0 0 0 0 0 0 0 0
7170085046 PEREIRA, ANDRE D PT 0 0 0 Qo 0 0 0 0 0 0 0 0
7000297581 OHLZELT, GUNTER AT 0 0 0 9 0 0 0 0 0 0 0 Q
1154804 MACHADO , JOHN US 0 0 0 0 0 0 QO Q 0 0 0 Q
1719398 ROGERS, GAIL H US 0 0 0 0 0 0 0 0 0 0 0 a
1156963 ST-LEGER , MYRLANDE CA 0 0 0 0 0 0 0 0 0 0 0 Q
210383 SINCLAIR, ANTHONY L us 0 0 0 0 0 0 0 0 0 0 0 0)
1822783 ORRALA, CARLOS US 0 0 0 oO 0 Q 0 0 0 0 0 0
8103524992 KROG, AGNETE K OK Qo 0 0 0 0 0 0 0 0 0 0 0
1163682 SHUBERT , TINAS US 0 0 Q 0 0 0 0 0 0 0 o 0
7600675228 POTET, FRANCK FR 0 0 0 0 0 0 0 0 0 0 45.44 45.41
1518103 KAMBOJ, VISHAL US 0 0 0 0 0 0 0 0 0 0 0 0
1516168 SAURO, MARTIN CA 0 0 0 0 0 0 0 Q 0 0 0 0
7100114997 PALMA, JORGE FILIPE SILVA PT 0 0 0 0 0 QO Q 0 0 0 0 0
1255873 PEOPLES, KRYSTI US 0 0 0 0 0 0 0 0 0 0 Qo 0
7000312418 POELZLER, KARL AT 0 0 0 0 0 0 0 0 0 0 0 0
7600587506 DUPRE, ANNE-CLAUDE FR 0 0 0 0 oO 0 0 0 0 0 0 a
1248981 ESTRADA, JOSE M US 0 0 0 0 0 0 0 0 0 0 0 0
1388632 SALZMANN, CHERIKA L US 0 0 0 0 0 0 0 0 0 0 0 0
7400529863 PUTTAL, BAILEY CH 0 0 0 0 0 0 0 0 0 0 0 0
1241896 PHILIPPEAUX, HUGUES CA 0 0 0 0 0 0 0 0 0 0 13.28 13.28
8770000472 KOLDEN, VISDAL SVANHILD NO 0 0 0 0 0 0 22.55 22.55 0 0 0 0
7950022772 KINGI, HARRY NZ 0 0 0 0 0 0 0 0 0 0 0 0
207192 DULLEY, DEBORAH R US 0 0 0 0 0 Qo 0 0 0 0 0 0
1156828 YATES , MICHAEL D US 0 0 0 0 0 0 0 0 0 a oO 0
1710444 INGHAM, BRITNI N US 0 0 0 0 0 0 0 0 0 0 0 0
1157056 MARSHALL , MAUREEN CA 0 0 0 0 0 0 0 0 0 0 0 0
7670428365 ZANGELMI, JEAN-LOUIS FR 0 0 0 0 0 0 0 0 0 0 0 0
7670008992 AVELINE, STEPHANE FR 0 0 0 0 0 0 0 0 0 0 0 0
1518039 FONTAINE, RYAN B US 0 0 0 0 Qo 0 0 0 0 0 0 0
1244686 REDBERG, ERIC US 0 0 0 0 0 0 0 0 0 0 0 0
7600655630 DUPLAT, CATHERINE FR 0 0 0 0 0 0 0 0 0 0 0 0
208093 SAMPSON, RUTH E US 0 0 0 0 0 0 0 0 0 0 0 Q
1153941 WHEATON , DANAE E US 0 0 0 0 0 0 0 0 0 0 0 0
7400529575 METTRAUX, CEDRIC CH 0 0 0 0 0 0 0 0 0 0 0 0
1304665 CHOUDAR, KADDOUR CA 0 0 0 0 0 0 0 0 0 0 0 0
1073267 KEMP , JIMM US 0 0 0 0 0 0 0 0 0 0 Qo 0
1070027 HANNA, JENNY Us 0 0 oO 0 0 oO O 0 oO Oo 0 0
8003756403 BURGHGRAEF, JAN NL QO 0 0 0 QO 0 0 0 0 0 0 0

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A__| B [Tc] D I E I F G l H I | I J I K I L I M I N ] o
[29705] 785782 FULL GOSPEL BAPTIST CHURCH US 0 0 0 0 0 0 0 0 0 0 0 0
1252942 MORALES, BLANCA us 0 oO 0 Q 0 0 o 0 0 0 0 0
[29707] 7250189148 JONASSON, PIX L AU 0 0 0 0 o 0 0 0 0 0 0 0
29708] 1255832 MARTIN JR, JIM F us 0 0 0 0 0 0 0 0 o 0 0 0
[29709] 1166558 GRINCHISHIN , SVETLANA us 0 a 0 0 0 0 0 0 0 0 0 O|
[29710] 7250025565 MR WILLIAM TEPOU/ MISS HELEN TUPUOL AU 0 0 0 0 0 0 10.37 10.37 0 0 0 0
29711| 7670219548 WATELLOO, KEVIN FR 0 0 0 0 0 0 0 0 0 0 0 90
[29712] 7670455192 JAUNET, JEROME FR 0 0 oO 0 0 0 0 0 0 0 0 0
[29713] 7250010598 KINGI, WILLIAM AU 0 0 0 0 Q 0 Q 0 QO Q 0 0}
29714) 208679 LATHAM, JOHN A US 0 oO 0 0 O 0 0 0 0 0 0 0}
[29715] 1156947 WILSON, JEFF S us 0 0 0 0 0 0 0 0 0 0 0 0
[29716] 210451 VOLBERS JR, WILLIAM A [BILL] us 0 0 0 0 0 0 0 0 0 0 0 0
[29717] 7950012877 SUA, VENA NZ 0 0 0 0 0 ° 0 0 0 0 0 0
[29718] 7950022860 MITCHELL, ELIA JNR NZ 0 0 0 0 0 0 0 0 0 0 0 0
[29719] 8906710027 INTRESS, CAROLA DE 0 0 0 0 0 0 0 0 0 0 0 0
29720] 7600579878 BEN MOHAMED, SALIM FR 0 0 0 0 0 0 0 0 0 0 0 Q
29721 207378 MOORE, JAMES F us 0 0 0 0 0 0 0 0 0 0 0 0
7250025572 LEWIS, MICHELLE A AU 0 0 0 0 0 0 0 0 0 0 0 0
8906568335 VEITENHANSL, VOLKER DE 0 0 0 0 0 0 0 0 0 0 0 Q|
8103471448 JORGENSEN, KNUD DK 0 0 0 0 0 0 0 0 0 0 Q 0}
1156663 STOWERS , TATIAATEGALU V us 0 0 0 0 0 0 0 0 0 0 0 0
1706038 AVALOS, YURIDIANA us 0 0 0 0 0 0 0 0 ° 0 0 0
7800319417 CERRO, PAOLO IT 0 0 0 0 0 0 0 0 0 0 0 0
1241128 WHALEN, JENNIFER M us 0 0 0 0 0 0 0 0 0 0 0 O
7950011517 ASAUA, EASTER NZ 0 0 0 0 0 0 0 0 0 0 0 0
6906695280 BECKERING, ANDREA DE 0 0 0 0 QO 0 0 Qo 0 0 0 Qj
209621 WARBER, GWEN us 0 0 0 0 0 0 0 0 0 0 0 0
1180232 JENSEN , TROY M us 0 0 0 0 0 0 0 0 0 0 0 Q|
1153901 ROWLEY , MIKE us 0 0 0 0 0 0 oO 0 0 0 0 0
1162269 FRADETTE , LUCIE CA 0 0 0 0 0 0 0 0 0 0 oO Qa
7250025108 ABDULLER, SALAH AU 0 0 0 0 0 Q 0 0 oO 0 0 0}
1238991 WASHINGTON SR, JAMAR | us 0 o 0 0 0 0 0 0 0 0 0 0
7250021955 BELOTTI, ANDREW J AU 0 0 0 0 0 0 0 0 0 0 0 Ol
8103519106 LESZKOWICZ, DENNIS DK 0 0 0 0 0 0 0 0 0 0 0 0
[29739] 7670306645 LARSONNEUR, GUENOLE FR 0 0 0 oO 0 0 0 0 0 0 0 0
29740] 1251291 JONES, MICHAEL D us 0 0 0 0 0 0 0 0 0 0 0 O
[29741] 190045 AMPIM, PROF MANU us 0 0 o 0 0 0 0 0 0 0 0 Q
[29742] 1257227 SCOTT, ASHLEY A us 0 0 0 0 0 0 0 0 0 0 0 0
[29743] 1395879 HOQUE, MOHAMMED. CA 0 0 0 0 0 479.18 0 479.18 0 479.18 0 479.18
[29744] 190543 PINSON, JASON S us 0 0 0 0 0 0 0 0 0 0 0 0
[29745] 1386093 WHITAKER, BELINDA K us 0 0 0 0 0 0 0 0 0 0 0 0}
29746] 1256618 JIMENEZ, JUNATHA K CA O 0 0 0 0 0 0 0 0 0 0 O|
7000323113 CRESNIK, CARINA AT 0 0 0 oO 0 0 0 0 0 0 0 oO
1400292 MARTINEZ, KARLA us 0 oO 0 0 0 0 0 0 0 0 0 O
184143 CROCKETT, MARK A US 0 oO oO O Q 0 0 0 0 0 0 0
1386652 NAKAKURA, FRANCIS US O 0 Oo QO Q 0 0 0 0 Oo 0 0}
186070 DEBARTOLO, CLAIRE OR VITON us 0 0 0 0 0 0 0 0 0 0 0 Q
1239127 PICKARD, ALISON M cA O 0 0 0 0 0 0 0 0 0 0 0
7250019261 YOUNG, MICHAEL AU 0 0 0 0 0 0 0 0 0 0 0 o
[29754] 7200355996 ZHANG, YI AU Q 0 0 0 0 0 0 0 0 0 0 0
29755| 7400503555 ZOELLIG, IRIS CH 0 0 0 0 0 0 0 0 0 0 0 0
[29756] 7600675321 BERTRAND, BENJAMIN FR 0 0 0 0 0 0 0 0 0 0 0 0
[29757] 7600683078 PIERRON, MICHELE FR 0 0 0 0 0 0 0 0 0 0 0 0}
29758] 7100109736 OLIVEIRE PINTO DE MELO, CONCEICAO M PT 0 0 0 0 0 0 0 0 0 0 0 o|
(29759) 185145 JACOBSON, JOSH M us 0 0 0 0 0 0 0 0 0 0 0 0
[29760] 7800278985 MORONI, MASSIMILIANO IT 0 0 0 0 0 0 0 0 0 0 0 Q
29761 1258033 CARON, GABRIEL cA 0 0 0 0 0 0 0 0 0 0 0 O}
[29762] 1152930 JOHNSON, JAY E us ° 0 0 0 0 0 0 0 0 0 0 oO
[29763] 7600636290 BERTRAND, GERALDINE FR 0 0 0 0 0 0 0 0 0 0 0 0
[29764] 1257600 KEY JR., WILLIE L us 0 0 0 0 0 0 0 0 0 0 0 oO
[29765] 1396865 SANTORO, KENDRAR us 0 0 0 0 0 0 0 0 0 0 0 0
[29766] 7600793041 MAKUCH, VINCENT FR 0 0 0 0 0 0 0 0 0 0 0 0
[29767] 1379998 NAJIH, RACHID us 0 0 0 0 0 0 0 0 0 0 0 0
[29768] 7600533004 AMARGER, GAETAN FR 0 0 0 0 0 0 0 0 0 0 0 QO
[29769] 1588568 YATES, STEVEN T & CYNTHIA J us 0 0 0 0 0 0 0 0 0 0 0 0
[29770] 1238812 STAPLES, RUMON C us 0 0 0 0 0 0 0 0 0 0 0 0
[29774 1382947 GIANNINI, JOSEPH cA 0 0 0 0 0 0 0 0 0 0 0 0
1254080 MORGAN, JANICE Y us 0 0 0 ° 0 0 0 0 0 o o O|
[29773) 1380457 ESTRADA, ROSSY A us 0 0 0 0 0 0 0 0 0 0 0 0
[29774] 7600681140 MEDAN, DIDIER FR 0 0 0 0 0 0 0 0 0 0 0 0
1400208 MCCLELLAN, BETTY A us 0 0 0 0 o 0 0 0 0 0 0 0
[29776] 1155737 MOTA , MICHELLE M CA 0 0 0 0 0 0 0 0 0 0 0 0
29777) 8906734076 TAMM, HEIKE DE oO 0 0 0 0 0 0 0 0 0 0 0
129778] 1256347 SMITH, JESSICA D us 0 0 0 0 0 0 oO 0 0 0 0 0
[29779] 7200315128 WIKAIRA-KING, ADAM AU 0 0 0 0 0 0 0 0 0 0 0 0
29780} 1157850 JOY , JOYCE A us 0 0 0 0 0 0 0 0 0 0 0 0
[29781 1257904 LEGROS, JOSEPH AUTSONNE CA 0 0 Oo 0 0 0 0 0 0 0 0 0
[29782] 7250044022 BOALER, JANE AU 0 0 0 0 0 0 0 0 0 0 0 0
[29783] 7200129089 LEAKE, JOEL AU 0 0 0 0 0 0 0 0 0 0 0 0
29784] © 1248900 GANOZA, DANIELA us 0 0 0 0 0 0 0 0 0 0 0 0
[29785] 1239642 MEZQUITA, CARMEN us 0 0 0 0 0 0 0 0 0 0 0 0
[29786] 7000313274 STUMMER, BARBARA AT Qo 0 0 0 0 0 0 0 0 0 0 0
29787] 8003766374 BONSENG INNEMEC, CINDERELLA NL 0 0 0 oO 0 0 0 0 0 0 0 o
207028 MORDHORST, RONALD L us 0 0 0 0 0 0 0 0 0 0 0 0
[29789] 6103492085 VENTZELSEN, CHARLOTTE G DK 0 0 0 0 0 0 0 0 0 0 0 0
29790] 8906712381 KRETZSCHMAR, EBERHARD DE 0 0 0 0 0 0 0 0 0 0 0 0
[29791] 8906662634 DOBBERTHIN, JENS DE 0 0 0 0 0 0 o oO 0 0 0 0
[29792] 790026583 AROHA PAI LTD NZ 0 0 0 0 0 0 0 0 0 0 0 Q
29793] 1246780 GLOBUS TELECOM CA 0 0 0 0 ° 0 0 0 0 0 0 0
2 1163105 LAPLANTE , DIANE cA 0 o 0 0 0 0 0 0 0 0 0 0
2 7800274874 SANDBICHLER, REINHOLD IT 0 0 0 0 0 0 0 0 0 0 0 0
1155382 WELSH , LINDA us 0 ° 0 0 0 0 0 0 0 0 0 Ql
1179944 KRAEMER , LORI us 0 0 0 0 0 0 0 0 0 0 0 0
1695613 REYES, MARIA! us 0 oO Q o 0 oO ° oO oO oO 0 0

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A__| B | cf D I E [ F I G ] H I | I J I K I L l M I N I °
1825848 FINN, JACQUELINE E US 0 0 0 0 0 0 0 0 0 0 0 0
159985 JOHNSON, MICHAEL A us 0 0 0 0 0 0 0 0 0 0 0 O
8906576612 MAYR, SONJA DE 0 0 0 0 0 0 0 0 0 0 0 0
7600564598 MEHEUT, CEDRIC FR ° 0 0 0 0 0 0 0 0 0 o O|
160902 BOWERSOX, RUTH ANN us 0 0 0 0 oO 0 0 0 0 0 0 o|
1447253 ESFANDIARI, DAVID cA 0 0 0 0 0 0 0 0 0 0 o 0
1428918 MERCHANT, PAMELA A us 0 0 0 0 0 0 0 0 o 0 oO O
161390 JONES, FRANK E. us 0 0 0 0 0 0 13.76 13.76 0 oO 0 0}
7800275204 SORRENTINO, BRUNO IT 0 0 0 0 0 0 0 0 0 0 0 0
1428619 HOPKINS, JOHN us 0 0 0 0 0 0 0 0 0 0 0 Q|
1425694 LEGG, SCOTT E us 0 0 0 0 0 0 0 0 0 0 0 0
3000082048 REJEAN ARCHAMBAULT cA 0 0 0 0 0 0 0 oO o 0 0 0
3000058832 DARLENE WILSON CA 0 0 0 0 0 0 oO 0 O 0 0 0
3000058776 TODD LEVEQUE CA 0 0 0 0 0 0 0 0 0 0 0 0
1444677 LAFRANCE, MANON CA 0 0 0 0 0 0 0 0 0 0 0 oO
154817 JACKSON, ERNESTINE us 0 0 0 0 0 0 0 0 0 0 0 Qo
1426891 CALDERON, OSCAR O us 0 o 0 0 0 0 0 0 0 0 0 oO
7670567894 PASCUAL, ROMAIN FR 0 0 0 0 0 0 0 0 0 0 0 oO
1815393 NICHOLSON, JOHN us 0 0 0 0 0 0 13.06 13.06 0 0 oO 0
8906734218 POELZLEITHNER, ALOIS DE 0 0 0 0 0 0 0 0 0 0 ° oO
3000070191 THERESA/ERHARD UNGER CA 0 0 0 0 0 0 0 0 0 0 0 o|
7600551628 BARATIER, CLAUDINE FR 0 0 0 0 0 0 0 0 0 0 0 oO
7600593098 FITTERER, YVES FR 0 0 0 0 0 0 0 0 0 0 o O
8906669011 GOLDSCHADT, KARIN DE 0 0 0 0 0 0 0 0 0 0 0 0
7600555837 BOUZIDI, INES FR 0 0 0 0 0 0 0 0 0 0 0 0
1186673 PINA, SANDRA us 0 oO 0 0 0 0 0 0 0 0 0 Q|
7950011570 DACNET CO LIMITED NZ 0 0 Oo 0 0 0 oO 0 0 0 0 0
790020091 PANOHO, JANICE NZ 0 0 0 0 0 0 0 0 0 0 0 Q
162564 SHIFFLETT, DAVID W. us 0 0 0 0 0 0 0 Oo oO 0 0 0
7600599566 BABU, INGRID FR 0 0 0 0 0 0 0 0 0 0 0 0
7600598676 TOLLEMER, TONY FR 0 0 oO 0 0 0 0 0 0 0 0 0
7600593576 CORREIA, ALEXANDRE FR 0 0 0 0 0 0 0 0 0 0 0 0
7600714961 PELLEGRINI, CHRISTOPHE FR 0 0 0 0 o 0 0 0 0 0 0 Oo
1438004 RICE, MARTHA us 0 0 0 0 0 0 oO oO 0 oO 0 O|
1442547 MEADOWS, ROBERT M us 0 0 0 0 -13.32 13.32 0 0 0 0 0 oO
8906695161 HERO, THOMAS DE 0 0 o 0 0 0 0 0 0 0 0 o
7670465633 GAEL VALOGNES FR 0 0 0 0 0 0 0 0 o 0 0 0
7400536647 VOGEL, HEINZ CH 0 0 0 0 0 0 0 0 0 0 0 O
7600571526 FERRER, ANTOINE-LOUIS FR 0 0 0 0 0 0 0 0 0 0 0 oO
7600580373 EL YAAKOUBI, NABIL FR 0 oO 0 0 0 0 0 0 0 0 Oo 0
1173902 PAQUIN , SYLVAIN cA 0 0 0 0 0 0 0 0 0 0 0 O|
1273553 MACHADO, CARLIE J us 0 0 0 0 0 0 0 0 0 0 0 0
1438503 GAGNIER, ETIENNE cA 0 0 0 oO 0 0 0 0 0 0 0 oO
1875049 STATHAKIS, CATHERINE S us 0 0 0 0 0 0 0 0 0 0 0 Q|
1447860 CLOUDT, BRYAN R us 0 0 0 ° 0 0 0 0 0 0 0 0
1390758 HARRISON, ERIC L us 0 oO 0 0 0 0 0 0 0 0 0 0
1438634 BROWN, CHRISTOPHER us 0 0 0 0 0 0 19.47 19.47 0 0 0 O|
1186342 RIVERA, BETZY US 0 0. Oo oO 0 0 0 0 0 0 0 O}
8003785044 VAKFOTOGRAFIE NL 0 0 0 0 0 0 0 0 0 0 0 |
1142603 RAYMOND , DANIEL CA 0 0 0 0 0 0 0 0 0 0 0 0
7100105927 BARBAS PEREIRA, ELISA MARIA PAIXAO PT 0 0 0 0 0 0 0 0 0 0 0 O}
8906556999 SEEBERG, ANNE DE 0 ° 0 0 0 0 0 0 0 0 0 O|
166599 DIGIOVANNI, LAWRENCE M us 0 0 0 0 0 0 0 0 0 0 0 o
7600639745 DICHARRY, JOANA FR 0 0 0 0 0 0 0 0 0 0 0 0
[29665] 1276648 ROBINSON, JADY L us 0 0 0 0 0 0 0 0 0 0 0 |
[29666] 1277201 LOCKRIDGE, JENNIFER us 0 0 0 0 0 0 0 0 0 0 0 0
9667, 1485750 CHAMDAK, MARY us 0 0 0 0 0 0 0 0 0 0 0 0}
[29668] 7250066890 ROBERT, SIMPSON AU 0 0 0 0 0 0 0 0 0 0 13.17 13.17
[29669] 8103476059 EHMSEN, WILLY DK 0 o 0 0 oO 0 0 o 0 0 0 0
[29670] 1186061 MUCK, NICOLE L us 0 0 0 0 0 O 0 0 o 0 0 O|
[29671] 1445678 PEREZ, DACEY M us 0 0 0 0 0 0 0 Oo 0 0 0 0
[29672] 1186647 HARTWIG, KEITH C us 0 0 0 0 0 0 0 0 oO 0 0 O|
[29673] 7600733000 FABIUS, EDOUARD-CHARLES FR 0 0 0 0 0 0 0 0 0 0 0 Q
(29674) 1275754 JACKSON, KHUSANA A us 0 0 0 0 0 0 0 0 0 0 0 0
1442233 AUBIN-CVIK, LINDA CA 0 ° 0 0 0 0 0 0 0 0 0 oO
[29676] 8103454335 HAMPEL GOTH, CAROLINE DK 0 0 0 o 0 0 0 0 o 0 0 0
9677] 1162146 TRUDEAU, LORIM us 0 oO 0 0 0 Oo 0 0 0 0 ° 0
8103487600 KARENN CLEMMENSEN DK 0 0 0 0 0 0 0 0 0 0 0 Q
129679] 1728832 BOUTOT, GUY CA 0 0 0 0 0 0 0 0 0 0 0 0
29680} 7600775930 PERRAULT, JULIE FR 0 0 0 0 0 0 0 0 0 0 0 O|
[29681] 8906656836 HOFF CIRSTEN DE 0 0 0 0 0 0 0 0 0 0 0 0
[29682] 7400546203 MRDJENOVIC, LJILJANA CH 0 0 0 0 oO 0 0 0 0 0 0 0
[29683] 7670142378 ARNOLD, YANNICK FR Oo 0 0 0 0 0 0 0 0 0 0 0
1401412 MATTHEWS, YVONNE D us 0 0 0 0 0 0 0 0 0 0 0 o
1169361 RIQUELME , MARIA us 0 ° 0 0 0 0 0 0 0 0 0 0
1691270 VONGMANY, PARISETH us 0 ° 0 0 0 0 0 0 0 0 13.84 13.84
8906426499 HABERHAUSEN, KLAUS DE 0 0 0 0 0 0 0 oO 0 0 0 O|
8103435991 HANSEN, LINDA DK 0 0 0 0 0 0 0 0 0 0 0 O|
1402995 CHAMBERS, TAURIAN S us Oo 0 0 0 0 0 0 0 0 0 0 0
1154620 WEATHERS , DAVID L us 0 0 0 o 0 0 0 O 0 0 0 Q
1238065 MANRIQUEZ, DANIEL O us 0 0 0 0 0 0 0 0 0 oO 0 Q
7950021917 FLOOD, HINE B NZ 0 0 0 0 0 0 0 0 0 0 0 0
7100128157 MONTEIRO, ROSARIA MARIAARAUJO — PT 0 0 0 oO 0 0 0 0 0 0 0 O}
1253763 PIERRO, JAMES C us 0 0 oO 0 0 0 13.01 13.01 0 0 0 o|
1153610 GOSSELIN , LANCE cA 0 0 0 Oo 0 0 0 0 0 0 0 O|
189800 HASTIE, FREDERICK AND GERALDINE US 0 oO 0 0 0 0 0 0 ° 0 0 q
7100111871 BRUNO, SILVA PT 0 0 0 0 0 0 0 0 0 0 0 0
1381423 DUFOUR, JONATHAN CA 0 0 0 0 0 0 0 0 0 o 0 O
1251531 SEDDOUGUI SR, AZIZ CA 0 0 0 0 0 0 0 0 0 0 0 O|
7600633421 MARTINELLI, JEAN-MARC FR 0 0 0 0 0 0 0 0 0 0 0 |
189822 NYMAN, JOY M us 0 0 0 0 0 0 0 0 Oo 0 0 O}
1403469 ULIBARRI, ZACHERY A us 0 0 0 0 0 0 0 0 0 0 0 0
1400062 ROUSE, MALCOLM cA 0 0 0 0 0 0 0 0 o 0 0 0
1403004 NANO, RONALD D US oO 0 0 0 0 0 0 0 oO 0 0 |

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Cc A__| 8 | c¢ J D ] E I F I S ] H ] | I J | K I L I M ] N I °
1138716 MANRIQUEZ , JESUS A US 0 0 0 0 0 0 0 0 0 0 0 0
1442769 BYBEE, DUSTIN S us 0 0 0 0 0 0 0 0 0 0 0 0
7600665308 KAYA, OKTAY FR 0 0 0 0 0 0 0 0 0 0 0 °
1437548 NUNES, HELEN J us 0 0 0 0 0 0 0 0 0 0 0 0
1444268 REHMAN, SALEEM U us 0 0 0 0 0 0 0 0 0 0 0 Oo
7600572514 DE PONTBRIAND, MARIE EMMANUELLE FR 0 0 0 0 0 0 0 0 0 0 0 Q
8103366870 RASMUSSEN, PERNILLE S. DK 0 0 0 0 0 0 0 0 0 0 0 0
790004997 CHRISTINE DAWN EDITH KIWIKIM NZ 0 ° 0 0 0 0 0 0 0 0 0 O
1439828 GUTIERREZ, VINCENT H us 0 0 0 0 0 0 0 0 0 0 Oo 0
7600552268 PASQUIER, HENRIETTE FR 0 0 0 0 0 0 0 0 0 0 0 Q
7800270230 ANDREOLI, TIZIANA IT 0 0 0 0 0 0 0 0 0 0 0 0
1423391 CABAGAN, ALICIA CA 0 0 0 0 0 0 0 0 0 0 0 0
1682966 JENKINS, AARON M us 0 0 0 0 0 0 13.05 13.05 0 0 0 0
7800312946 RANALLETTA, MICHELE IT 0 0 0 0 0 0 0 0 0 0 0 0
1406598 VANN, KYLE US 0 0 0 0 o 0 0 0 oO 0 0 Q
1413533 NASH, DETRAR us 0 0 0 0 0 Oo 0 0 0 0 0 0
7250056011 D AND N COUCH AU 0 0 0 0 0 0 0 0 0 0 11.98 11.98
1249455 SAGUCIO, MARK us 0 0 0 0 0 0 0 oO 0 0 0 o
1388068 SHERMAN, MADELEINE R us 0 0 0 0 0 0 0 0 0 0 0 Ql
1423916 BURDEN, JESSIE US 0 0 0 0 0 0 0 0 0 0 0 q)
205459 KRUEGER, KENNETH J us 0 0 0 0 0 0 0 0 0 0 0 0
205476 SALEEBEY, WILLIAM S us 0 0 0 0 0 0 0 0 0 0 0 0}
1404646 RIPPY, LUPITA us 0 0 0 0 O 0 oO 0 0 0 o 0
1492021 CRAWFORD, SUSAN E us 0 Oo 0 0 0 0 0 0 0 0 0 0
1414702 KANNEL, DOUG AND BECKIE us 0 0 0 0 0 0 0 0 0 0 0 oO
7600628316 MAGNANOU, CLAUDINE FR 0 0 0 0 0 0 0 o 0 0 oO Q
1392843 BOTACION, EMILY V us 0 0 0 0 0 0 0 0 oO 0 0 QO
7670108477 HURTEL, MARJORIE FR 0 0 0 0 0 oO 0 0 0 0 0 0
1416553 CRESPO, JORGE L us o 0 0 0 0 0 0 0 o 0 0 0
7600689214 FENNETEAUX, LAURENT FR 0 0 0 0 0 0 0 0 0 Oo 0 0
1421753 ROSARIO, MARIETA CA 0 0 0 0 0 0 0 0 0 0 0 0
7250053461 BRADY, MELANIE M AU oO 0 0 0 0 0 0 0 0 0 0 0
199195 WEISS, LEONARD us 0 0 0 0 0 0 0 0 0 0 0 oO
1273008 FARILLAS, JESSICA A us 0 ° 0 0 0 0 0 0 oO 0 0 oO
201012 JACKSON, LAVERN M us 0 0 0 0 0 0 0 0 0 ° 0 0
1422182 ALVARADO, SUSANA D us 0 0 0 0 0 0 0 0 0 0 0 Q|
1111260 MCMILLEN , BRANDI J us ° 0 0 0 0 0 0 0 0 0 0 0
1491437 PITTMAN, ALVIN us 0 0 0 0 0 0 0 0 0 0 0 0
7600690150 ALMENTERO, MATHIEU FR 0 0 0 0 0 0 0 0 0 o 0 oO
7600690448 MORTINI, THIERRY FR 0 0 0 0 0 0 0 0 0 0 0 0
1408111 JONES, RACHEAL H us 0 0 0 0 0 0 0 0 0 0 13.49 13.49)
7250055777 QUINTO, ROCHELLE AU 0 0 0 0 0 0 0 0 0 0 0 oO
8170016355 SCHMIDT, HANS CHR DK 0 0 0 0 0 0 0 0 0 0 0 O|
1408656 ISAAC, ROY AND SUSAN us 0 ° 0 0 0 0 0 0 0 0 0 0
1411116 MERCADO, CELESTINO us 0 0 0 0 0 0 0 0 0 0 0 0
1491722 BROZEK, PAMELA R us 0 0 0 0 0 0 0 0 0 0 0 0
7950058698 RYELANDS LIMITED NZ 0 0 0 0 0 0 oO 0 0 0 6.84 8.84
1422516 NOVAK, RENATE us 0 0 0 0 0 0 0 0 0 0 0 0
7470023166 TUELLER, FRANCIS CH 0 0 0 ° 0 0 0 0 0 0 0 0
7670123285 LEPRINCE, MARIE T FR 0 0 0 0 0 0 0 0 0 0 0 0
|29567| 8950000244 HIRMER, ERNA DE 0 0 0 0 0 0 0 0 0 0 0 0
|29568) 1417414 BROWN, RANDY & LISA us 0 0 0 0 0 0 0 0 0 0 13.09 13.09]
[29569] 7600685323 GARIN, SARA FR 0 0 0 0 0 0 0 0 0 0 0 0
[29570] 1424774 ABAD, CYNTHIAB us 0 0 0 0 0 0 0 0 0 0 0 0
(29571 1843595 MENDOZA, ERNESTO C us 0 0 0 0 0 0 0 0 0 0 0 0
29572] 8870093982 JOHN, ANTON DAVID GB 0 0 0 o 0 0 0 0 0 0 0 0
[29573] 1414230 JABLONSKI, JESSICA K us 0 a 0 0 0 0 0 0 0 0 0 0
[29574] 7600652043 LAVALLEE, SYLVAIN FR 0 0 0 0 0 0 0 0 0 0 0 q)
29575] 1269232 PENGITORE, KEITH M us 0 0 0 0 o 0 0 0 0 0 0 0
[29576] 1417603 GOODRICH, MARY T us 0 0 0 0 0 0 0 0 0 0 0 0
[29577] 7670120646 SETZE, SEBASTIEN FR 0 0 0 0 0 0 0 0 0 0 0 0
199086 ATTEBERRY, MARGARET A us 0 ° 0 0 0 0 0 0 0 0 0 0
1142436 MOLINA , LALANI M us 0 0 0 0 0 0 0 0 0 0 0 O
7600522126 CAZENAVE, PASCAL FR ° 0 0 0 0 0 0 0 0 0 0 0
1447354 ASKEW, MICHAEL D us 0 0 Oo 0 0 o oO 0 0 0 0 O
1426623 MISAKA, CRISTIANE CA 0 0 0 0 0 0 0 0 0 0 0 0
3000073309 LINDA&WILF KELBERT cA 0 0 0 0 0 0 oO 0 0 0 0 q)
3000067408 JEREMY BLOCKSOM CA 0 0 0 0 0 0 0 0 0 0 0 0
3000067597 COLETTE NIGRO CA 0 0 0 0 0 0 0 0 Oo 0 0 0
1263916 BIBLER, MATT M us 0 0 0 0 0 0 0 0 0 0 0 O|
8906605651 BAUER, MICHAEL DE 0 0 0 ° 0 0 0 0 oO 0 0 0
1162110 MATTHEWS , JEROME N us 0 0 0 0 0 0 0 0 0 0 14.23 14.23
7600598143 PERONI, ELISABETH FR 0 o 0 ° 0 0 0 0 0 0 0 0}
14682773 JOHNSON, DEXTER us 0 ° 0 0 0 0 0 0 0 0 0 0
7670194606 ALONSO, MARIE JOSE FR 0 0 0 0 0 0 0 0 0 0 0 0
7670460225 SALANDINI, NICOLAS FR 0 0 0 0 0 0 0 0 0 0 40.15 40.15
1440264 FONS, VANGIE A CA 0 o 0 0 0 0 0 0 0 0 0 Q|
1276616 JACKSON, SHAWNITA L us 0 0 0 0 ° 0 0 0 0 oO 0 0
163202 KLEINFELDER, JOHN F us 0 0 0 0 0 0 0 0 0 0 0 0
1139961 DESCHENES , REGIS cA 0 0 0 0 0 0 0 0 0 0 0 Q|
1140084 CANO , ESTEBAN J us 0 0 0 0 0 0 0 0 0 0 0 0
[29596] 1164970 BILLMAN , REBECCA K us 0 0 0 o 0 0 0 0 ° 0 0 oO
[29599] 6100089822 KORAB SP.JAWNA E. | W. gASIESCY PL 0 0 0 0 0 0 0 0 0 0 0 0
[29600] 7600652157 METAY, GERARD FR 0 0 0 0 0 0 0 0 0 0 0 O|
29601 1137299 COTA , PAOLA AND MANUELA us 0 0 0 0 0 0 0 0 oO 0 0 0
|29602| 7600598228 NADJI, SAMIR FR 0 0 oO 0 0 0 0 0 0 0 0 Q|
{29603} 1170531 BRUCE , HANNAH E Us 0 0 0 0 0 0 0 0 0 0 0 0
23 1277020 EPPS, TERIKOR us 0 0 0 0 0 0 0 0 0 0 0 O|
1439700 BROSSEAU, CAROLINE cA 0 0 0 0 0 0 0 ° 0 oO 0 O|
1446213 ANDERSON, ALONZO us 0 0 0 0 0 0 0 0 0 0 0 0
7670123976 ALBINET, CHARLES FR 0 0 0 0 0 0 40.5 40.5 oO 0 0 0
1427516 FISCHER, ALBEN J us 0 0 0 0 oO 0 0 0 0 0 0 Q|
1427855 DUPONT, MATHIEU cA 0 0 0 0 0 0 0 0 0 0 0 0
1428519 AUSTRIA, CARLO M us 0 0 Oo o 0 oO o 0 oO o 0 oO

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7800033334 SCOLASTRICI GINO IT 0 0 0 0 0 0 0 0 0 0 0 0
8203151100 TMI NINNA TEXTILE FI 0 o 0 0 0 0 0 0 0 0 0 0
8906225185 HENCKE, ELISABETH DE oO 0 0 0 0 0 0 0 0 0 0 O|
3000018315 CINDY SMALL CA 0 oO 0 0 0 0 0 0 0 oO 0 0
8103391651 LAGUMDZIJA, ALMIR DK 0 0 0 0 0 0 0 0 0 0 0 0
637033 LEPHART SR, MICHAEL B us 0 0 oO 0 0 0 0 oO 0 0 0 |
7000219427 TEML, MATTHIAS HANS AT 0 o Oo 0 ° 0 0 0 0 0 0 o|
8103362233 IPSEN, NIELS PETER DK 0 0 Oo 0 0 ° 0 0 0 0 0 o|
7800249090 CORSI, ANDREA IT 0 0 0 0 0 0 0 0 0 0 0 0
1008725 BELIZAIRE, CHRIS us 0 0 0 ° 0 0 0 0 0 oO 0 oO
7670675185 TEROSIET, LAURENT FR oO oO o 0 0 0 0 0 0 42.85 171.44 214.26]
8702104950 ANDERSEN, STIG MAGNE NO 0 0 0 0 0 Oo 0 0 0 0 ° 0
1206258 CHUNG , JUNGS US oO 0 0 0 0 o 0 0 0 0 0 0,
8906153772 KUHN, HEIKO DE 0 0 0 0 0 0 0 0 0 0 0 0
551197 CALDERONE, PATRICK J us 0 0 0 0 0 0 o 0 0 0 0 0
8404521272 LUNDGREN, HAAKAN SE 0 0 0 0 0 0 0 0 0 0 0 Oo
1236009 GARCIA, DAVID M us 0 0 0 0 0 0 oO 0 0 0 0 0}
1116059 RODENHISER , ISAK W us 0 0 0 0 0 0 0 0 0 0 0 0
97712 BELL, DESIRIE us 0 0 0 0 0 0 0 0 0 0 0 O
110977 HARRIS, CREST T us 0 0 0 oO ° 0 0 0 0 0 0 0
8906276090 FEINHALS, ROSEMARIE DE 0 0 0 0 0 0 0 ° 0 0 0 oO
7000200891 SCHIEFER, MICHAEL AT 0 0 0 0 0 o 0 0 0 0 0 oO
1114380 KALLASSY, KEVIN J us 0 0 0 0 0 0 0 0 0 0 0 0
7100102138 POLICARPO, PATRICIAALEXANDRAS = PT. 0 0 0 0 0 0 0 0 0 0 0 0
113716 MC CARTHY, MICHAEL J. us 0 0 0 oO 0 0 0 0 0 0 0 o|
3000087839 KATHLEEN RIPPIN CA 0 0 0 0 0 0 0 0 0 oO 0 Ol
1207230 PATEL , HITESH us 0 0 0 0 0 0 0 0 0 0 0 0
548880 AMATUL-HAQQ, TAALIBAH A us 0 0 0 0 0 0 0 0 0 0 0 oO
549238 ECKSTEIN, MICHAEL B Us 0 0 0 0 0 0 0 0 0 0 0 oO
8404378578 BJOERK, KARIN SE 0 0 0 ° 0 oO 0 0 0 0 0 oO
7250009000 VON HEIDERBRANDT, EDMUND AU 0 0 0 0 0 0 0 0 0 0 0 0
8404410657 SOEDERLUND, SUSANNE SE 0 0 oO 0 0 0 0 0 0 0 0 0
8701005870 BJOERINGSOEY, ESKIL NO 0 o 0 0 0 0 0 0 0 0 0 0
1116807 FOX , CANDACE us 0 0 0 0 oO 0 0 0 0 0 0 0
630332 WALWORTH, KATHY us 0 0 0 0 0 0 0 0 0 0 0 0
8103361247 JUBECIC, DEJAN DK 0 0 0 0 0 0 0 0 0 0 0 o|
100471 GWYNN, RANDY AND ALICIA us 0 0 0 0 0 0 0 0 0 0 0 0
1114776 WATTS , JUSTINA us 0 0 0 0 0 0 oO 0 0 0 0 0
7670675279 SIDIBE, BOUBACAR FR 0 0 0 oO 0 0 0 0 0 42.85 0 42.85
1118333 LEMIEUX , MICHELINE CA 0 0 0 0 0 0 0 0 0 O 0 o|
8404526822 ANDERSSON, MARY SE 0 oO 0 0 0 0 0 0 oO 0 0 0
125005 EVANS, SHIRLEY L us 0 0 0 0 0 0 0 0 0 0 0 0
1612408 UGGENTI, EYRENA CA 0 0 o 0 0 0 QO 0 0 0 0 0)
8906213636 GARTNER, HENRI DE 0 0 0 0 0 0 0 0 0 0 0 0
727238 STOUT, AMY us 0 0 0 0 0 o 0 0 oO 0 0 O|
608335 TRIPPET, JASON us 0 oO 0 0 0 0 0 0 0 0 0 oO
639333 KATO, CHERYL us o 0 0 o 0 0 0 0 0 0 0 O
100016 JONES, DAVID L. us 0 0 0 0 ° 0 oO 0 0 0 0 q
1615739 LAHLOU, ADIL cA -691.55 691.55 0 0 0 1245.85 oO 1245.85 0 527.09 0 527.09
8404422350 NILSSON, HAAKAN SE 0 0 0 0 0 0 0 0 0 0 0 Q|
7800010022 CHIAMPO, MASSIMO IT 0 0 0 0 0 0 0 0 0 0 0 0
8906230109 WIENAND, MELANIE DE 0 0 0 0 0 0 0 Oo 0 0 0 |
8404491886 DAHLSTROEM, DANIEL SE 0 0 0 o 0 0 0 0 0 0 0 0
8103438542 SOLO,BENE SIFF NYNNE DK 0 0 0 0 0 0 0 0 0 0 16.18 16.18
8906143461 WEIHNACHT, DIANA DE O 0 0 0 0 Oo 0 0 0 0 0 0
1007717 TIEMENS, MYRON P.O.A REZZA CONWAY US 0 0 0 0 oO 0 0 0 0 0 0 0
7800230783 MOTTOLA, LUIGI IT 0 0 0 0 0 oO 0 0 0 0 0 q
7800218739 ADDUCI, NICOLA IT 0 0 0 0 0 0 0 0 0 0 0 0
8906697681 RIEMANN, JANNIKA DE 0 0 0 0 0 0 0 0 0 0 0 0
1486579 DEPAZ, JORGE S us 0 oO 0 0 0 0 0 0 0 0 19.34 19.34
8070004012 LOENDERSLOOT, RUBEN NL 0 0 0 0 0 0 0 0 0 0 0 0
168279 DITCH, RONALD J us 0 0 0 0 0 oO 0 o 0 0 0 0
1275983 CATIAN, KARA K us 0 0 0 0 0 0 0 0 0 0 0 0
7250010079 HOBDAY, ROGER D AU 0 0 0 0 0 0 0 0 0 0 0 0]
7250012401 BARDIOVSKY, STAN AU 0 0 0 0 0 0 0 0 0 0 0 0
[29488] 1683944 RAMIREZ, DIANE VICTOR us 0 0 oO 0 0 0 0 0 ° 0 0 O|
29489] 7600596203 INTHAVONG, VALERIE FR 0 0 0 0 0 0 0 0 0 0 44.72 44.72
129490} 1417203 LOPEZ, DIEGO us 0 0 0 0 0 0 0 0 0 0 15.02 15.02
[29491] 164645 TURNER, B DIANNE us 0 0 0 0 0 0 0 0 0 0 0 0
[29492] 7250010091 ESPERANCE CONTRACTORS AU 0 0 0 0 0 oO 0 0 0 0 0 0
[29493] 7950012638 PRENDERGAST, SHAYNE P NZ 0 0 0 0 0 0 0 O 0 0 0 0
[29494] 1170708 WOOD , MICHAEL R us 0 0 0 0 0 0 0 0 0 0 0 O|
[29495] 1489152 TANASIYCHUK, MYKHAYLO CA 0 0 0 0 0 0 0 0 0 0 0 0
29496] 1275514 HOLMESLY, CHRISTOPHER C. us 0 0 o 0 0 0 0 0 0 0 0 O|
1277121 BARNETT, SUZANNE us 0 0 0 ° 0 0 0 0 0 0 0 O|
1411567 HEBERT, MATHIEU cA 0 0 0 0 0 oO 21.3 21.3 0 0 0 oO
1502291 AKHAROH, FAITH | us 0 0 0 0 0 0 0 0 0 0 0 0
205779 KING, REGINALD B us Oo 0 0 0 0 0 0 0 0 0 0 O|
7670071067 CRIMIER MATHONNET, SYLVIE FR 0 0 0 0 0 0 0 0 0 0 45.38 45.38
1411219 SAUCEDA, JAMY R us 0 0 0 0 0 0 0 0 0 0 0 0
1141166 HARLEY, JILLET G US 0 0 0 0 0 0 0 0 0 oO 0 0
7670163548 ALGERINA, JEAN-NOEL FR 0 0 0 0 0 0 0 0 0 0 0 O|
29505] 7100114791 ISIDORO, DENISE JOAO VIANA PT 0 0 0 oO 0 0 0 0 0 0 0 0
{29506] 7200331971 WANG, RULAN AU 0 0 0 0 0 oO 0 0 0 oO 0 0
[29507] 6100355928 TERESA MONIK-RIDHA HASSAN PL 0 0 0 0 0 0 0 0 0 0 0 0
29508] 1441509 LAPOINTE, JEAN-MARIE cA 0 0 0 0 0 o 0 0 0 0 14.34 14.34)
[29509] 7670142688 DIATTA, MARIE CATHERINE FR 0 oO 0 0 0 0 0 0 0 0 0 0
[29510] 1142633 MOISIO, MAGEN N US 0 0 0 0 0 0 0 0 oO 0 0 o|
[29511] 7600580975 VINCHON, ALEXIS FR 0 o 0 0 0 0 0 0 0 0 0 O|
29512} 1162077 ROUX, NICOLE CA 0 0 0 0 0 0 0 0 0 0 0 0
[29513] 1688399 MALDONADO, MARIA us 0 0 0 0 0 0 0 0 0 0 0 O
[29514] 7950012391 RONNIE AND MELISSA MATTHEWS NZ 0 0 0 0 0 0 0 0 oO 0 0 O|
[29515] 7000282132 WEIERMAIR, ANDREAS AT 0 0 0 0 0 0 0 0 0 0 0 0
29516| __ 1276711 DIXON, SEAN Us 0 0 oO oO oO oO 0 0 oO o 0 0

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1145448 MURRUGARRA , JOHN US 0 0 0 0 0 0 0 0 0 0 0 0
1117138 JONES , BEVERLY A us 0 0 0 0 0 0 0 0 0 0 0 0
1626571 SANTANA, LUIS us 0 0 0 0 0 0 0 0 0 0 0 0
8906488639 KUHN, HUBERTUS DE 0 0 0 0 0 0 0 0 0 0 0 0
701952 MCMANN, JOAN S CA 0 0 0 0 0 0 0 0 0 0 0 0
705429 TOPAZ MARKETING, us 0 0 0 0 0 0 0 0 0 0 0 0
8906271427 GRUETERICH, HANS-PETER DE 0 0 0 0 0 0 0 0 a 0 0 0
1216015 LANCIONI , MARIO us 0 0 0 0 0 0 0 0 0 0 0 0
8103506911 SHAFIQ, JASMIN N DK 0 0 0 0 0 0 0 0 Q 0 0 0
8103355294 JENSEN, LEIF DK 0 0 0 0 0 0 0 0 0 0 o 0
698690 NYE, MARGARET us 0 0 ° 0 0 0 0 0 0 o 0 0
8906319329 KNAUER, MARKUS DE 0 0 0 0 0 0 0 0 0 0 0 0
8404506488 KARLSTROEM, SIMON SE 0 0 0 0 0 0 Q 0 0 0 0 0
1885001 BHULLAR, GURMIT K CA 0 0 0 0 0 0 0 0 0 0 15.51 54
7800054884 RABANSER, WALBURGA IT 0 0 0 0 0 0 0 0 0 0 0 oO
7000211221 HELL, JUERGEN AT 0 0 0 0 0 0 0 0 0 0 0 o
7400534100 STRUBIN, REGULA CH 0 0 0 0 0 0 0 0 0 0 0 0
735190 KOFA-PAYNE, WALEA T us 0 0 0 0 0 0 0 0 0 0 Q 0
8906339466 COEPPICUS, VOLKER DE 0 0 0 0 0 0 0 0 0 0 0 0
737831 VANDENBREE, LESLIE us 0 0 0 0 0 a 0 0 0 0 0 0
8906348864 NEUBAUER, MARIA DE 0 0 0 0 0 0 0 0 0 0 o 0
1127544 GREEN, NOREEN CA Q 0 O 0 0 0 0 0 0 0 0 0
1308774 RUXANDU, CRISTIAN-VASILE cA 0 0 0 0 0 0 0 0 0 0 0 0
699838 DRAKE, DANIEL us 0 0 0 0 0 0 0 0 0 0 0 0
694533 DYSTHE, EDWARD us 0 0 0 0 0 0 0 0 0 0 0 0
1089268 BRAVENBOER , TROY W us 0 0 0 0 0 0 0 0 0 0 0 0
7800329839 SASSONE, PIERINO IT 0 O 0 0 0 0 0 0 0 0 0 0
1882305 MANUEL, MICHAEL V us 0 0 0 0 0 0 0 0 0 0 0 0
7250186399 GREEN, BEN AU 0 0 0 0 0 0 0 0 0 0 0 0
7600530922 CARRERE, STEPHANE FR 0 0 0 0 0 0 0 0 0 0 0 0
537877 MCCRAW, BRENT W us 0 0 0 0 0 0 0 0 0 0 0 Q
8103457383 NIELSEN, ALLAN DK 0 0 0 0 0 0 0 0 0 0 0 0
537517 UTTER, ROXANNE us 0 0 0 0 0 0 0 0 0 0 0 Q
1115533 LATIMORE SR, MARK R us 0 0 0 0 0 0 0 0 0 0 0 0
7000198602 HAUNOLD, CHRISTIAN AT 0 0 0 0 0 0 0 0 0 0 0 0
7670680440 CROUZAT, CORINNE FR 0 0 0 0 214 40.71 0 42.85 0 0 0 0
8002234910 ABDOELRAHMAN, RAOUL MR NL 0 0 0 0 0 0 0 0 0 0 0 0
1090723 TAYLOR, BRANDON A us 0 0 0 0 0 0 o 0 0 0 0 0
639742 LACKEY, HORTENCIA us 0 0 0 0 0 0 0 0 0 0 0 0
8906576464 LINDNER, SUSANNE DE 0 Q 0 0 o 0 0 0 0 0 0 0
100654 JOMAR us 0 0 0 0 0 o 0 0 0 0 0 0
72920 PERRY, EIKO C us 0 0 0 0 0 0 0 0 0 0 0 0
1144692 STEWART , ALEXANDER CA 0 0 0 0 0 0 a 0 0 0 0 0
8906241407 JOOS, CHRISTIAN DE 0 0 0 0 0 0 0 0 0 0 0 Q
8702159587 KRISTENSEN, OSKAR WILLIAM NO 0 0 0 0 0 0 0 0 0 0 0 0
7800310935 ANGELINA MARCIANO SAS IT 0 0 0 a 0 0 0 0 0 0 0 0
7670652678 GUILMINEAU, ANNE-LISE FR 0 0 0 0 0 0 0 0 0 0 Q 0
700856 SINGSTOCK, CAROL us 0 0 0 0 0 0 0 0 0 0 0 Q
110766 GUTRIDGE, RICHARD G. us 0 0 0 0 0 0 0 0 0 0 0 0
8906197676 SCHULZE, HEIKE DE 0 0 0 0 0 0 0 0 0 0 0 0
1151419 WILLIAMS, TYRONE us 0 0 0 0 0 Q 0 0 o 0 0 0
7600610029 SOUCHON, CATHERINE FR 0 0 0 0 0 0 0 0 0 0 0 0
607319 BARAJAS, RUBEN us 0 0 0 0 0 0 0 0 0 o 0 0
8906244378 STEIN, STEFAN DE 0 0 0 0 0 0 0 0 0 0 0 0
8906656346 HULSKEN, WILHELM DE 0 0 0 0 0 0 0 0 0 0 0 0
1873209 SALINAS, VASTIS us 0 0 0 0 0 0 14.56 14.56 0 0 0 0
99436 GRIMES, JOHN OR TINA us 0 0 0 0 0 0 0 0 0 0 0 0
1132870 JARRETT, MAPUANA D us 0 0 0 0 0 0 0 0 0 0 0 0
1008744 WYNN, TRACY us 0 0 0 0 0 0 0 0 0 0 0 0
101810 HUSBAND, DANNY B us 0 0 0 0 0 0 0 0 0 0 0 0
626961 NEAL, TRICIAA us 0 0 0 0 0 0 0 0 0 0 0 0
8702112707 GROENLI, KURT NO 0 0 0 0 0 0 0 0 0 0 O 0
7670677105 BOREL, SEBASTIEN C FR 0 0 0 0 0 0 0 0 0 614.22 0 22]
1744936 SOMNER, LILLIAN us 0 0 0 0 0 0 0 0 0 0 0 0
1621733 PERROTTI, HILDA CA 0 0 0 0 0 0 0 0 0 0 0 0
1618518 SHELDON, STEPHEN us 0 0 0 0 0 0 o 0 Q 0 0 0
96176 GRANADA HILLS COMMUNITY CHURCH —- US. Q 0 0 0 0 0 0 a 0 0 0 0
8103379141 CHRISTENSEN, PER PC DK 0 0 0 0 0 0 0 0 0 0 0 0
625084 HARGRAVE, ADONNA us 0 o 0 0 0 0 0 0 0 0 0 0
8906227310 CHRISTIAN, GERD DE 0 0 0 0 0 0 0 0 0 0 0 Q
8906200927 SCHERSCHEL, MARIANNE DE 0 0 0 0 0 0 0 0 0 0 0 0
8906242747 WANKA, ASTRID DE 0 0 0 Oo 0 0 0 0 0 0 0 0
629475 HALBERT, RAYMOND A us 0 0 0 0 0 o 0 0 0 0 0 0
8906176852 BADE, INGEBORG DE 0 0 Q 0 0 0 0 0 0 Q 0 0
8003760560 OLTHOF, ELLEN NL o 0 0 0 0 0 0 0 0 0 0 0
630915 WATERS, JOY us 0 0 0 0 0 0 0 0 0 0 0 Q
4104544 FRANTZ, THOMAS J & STARLENE us 0 0 0 0 0 0 0 0 0 0 0 0
728001 HALL, ANDREW M us 0 0 0 0 0 0 0 0 0 0 0 0
1130474 MYREE , OTTOW us 0 0 0 0 0 0 13.3 13.3 0 0 0 0
1121698 EDET , CHRYS B us 0 0 0 0 0 0 0 0 0 0 0 0
3000006606 SMITH BRADLEY & KELLY CA 0 0 0 0 0 0 0 0 0 0 0 0
1131140 LANGFOLD, GABRIEL A us 0 0 0 0 0 0 0 0 0 0 0 0
3000006193 DARLENE/CHRISTIANE WOLFF/SPENARD CA 0 0 0 0 0 0 0 0 0 0 0 0
608927 GASTON, KEYUAN D us 0 0 0 0 0 0 0 0 0 0 0 0
639749 FLYNN, DEAN us 0 0 0 0 0 0 0 0 0 0 0 0
8906203506 HOPPE, SEBASTIAN DE 0 0 0 0 0 0 0 0 0 0 0 0
627872 INGRAM, BRANDON US 0 0 0 0 0 0 0 0 0 0 0 0|
3000021250 LAURIE/JESSE STEISS/ VENABLE cA 0 0 0 0 0 0 0 0 0 0 0 0
4906471208 ECKER, VOLKER DE 0 0 0 o 0 0 0 0 0 0 0 0
7000213030 MANFRED GRABENSCHWEIGER AT 0 0 0 0 0 0 0 0 0 0 0 0
7670488385 GAL, ROXANE S FR 0 0 0 0 0 0 0 0 0 0 0 0
608942 HILL, NAT us 0 0 0 0 Q 0 0 0 0 0 0 0
8700673310 TINDELAND, RUNE NO 0 0 0 0 0 0 Q 0 0 0 0 0
7670643716 MADAU, ROSELINE FR Q Q 0 0 Q Q 0 oO 0 0 0 oO

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MARCELLO, FRANCHI
1143601 HOSTEN, ISABELLE
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1876606 TREAT, JESSICA

7600228414 CLAVIER, DOMINIQUE

3000023977 PATRICK ARSENAULT

8906198100 HEIDRICH, MONIKA
8906334586 DUNGER, MARTINA

1008060 MCCARTY, GARY
8404606785 HAMRIN, JOHAN

1623188 BRILLON, ANITA
8404585869 NYBERG, LARS
8003578717 SCHMITZ, MAUD

8003581842 SMIT, JAN

1011080 INGO, DOMINIC.

623642 HADDAN, HOLLIE

8103348536 ANDERSEN, METHAL R
8906206369 BOETTGE, MATTHIAS
1595508 LOPEZ, JUAN F

8404404965 AHLBERG, PAUL

523569 CRUZ, SANTOS
3000018520 DANIEL RUTANO

8906584211 HOFER, ROBERT
1011141 HALE, LODY
7670643691 DULON, LUDOVIC.
629540 CONKIN, KEVIN

1128668 ANTHONY, VERA T
8906543403 BLUHM, HEINZ
8906349281 MAI, DENISE

632392 COOK, ALEC M
3000012213 MARISSA BALARICIA

7000206234 SCHOEBINGER, ANITA
8906244864 GAERTNER, FRANK
7400348243 LEHNER, JASMIN

7000209492 ROSEMARIE ZOTTL

1009186 TREJO, IRMA
8702204011 WEEL, ANDERS

1595449 PADILLA, JOHN
7600616057 MORO, MELANIE

720977 FRY, EMILY
1872018 MCADAM, ELISE A
7400205563 BENDER, JUERG

1145093 PERREAULT , YANN
606936 MIO, ARTHUR Z
7470000466 RAMEL, FABIENNE

7670657450 LAMGHARI, FAHD

8701510430 STROEM, RITA ANNIE
1589919 HURTEAU, MARC A
1810864 STOCKDALE, JIM G

8702123587 AAGE BERG

IT 0 0 0 0 0 0 0 0 0 0 0 0

us oO O 0 Oo 0 O O 0 oO 0 0 0

us oO 0 0 0 0 0 0 0 0 0 0 0

730674 MADDOX, SHERRISE N US 0 QO 0 0 0 0 0 0 0 0 0 0
732028 SHERMAN, STACEY A US Oo 0 0 0 oO 0 oO 0 0 QO 0 0)
US 0 0 0 0 0 Qo 0 0 0 0 0 0

603420 COTANT, RICHARD & BEVERLY US 0 0 0 0 0 0 0 0 0 0 0 0
606168 GIESMANN, KATHLEEN C US 0 0 0 0 0 0 0 0 0 0 0 0
FR 0 0 0 0 0 0 0 0 0 0 0 0

624531 VANDELINDER, STEPHANIE R US 0 0 9 0 0 Q 0 0 0 0 0 0
123071 TO THE TOP MARKETING us 0 0 0 0 0 0 0 0 0 0 0 0
122239 KUPERMAN, PETER US 0 QO 0 0 0 Qo 0 0 0 0 oO QO
CA 0 0 0 0 0 oO 0 0 0 0 0 0

1207559 SPARKS SR, CAMERON S US 0 0 0 0 0 0 0 0 0 0 0 0
1619123 PELLERIN, ANTOINE CA 0 0 0 0 0 0 0 0 0 0 0 0
117588 FRANKLIN, CHRISTINA A us QO 0 0 0 0 0 0 0 0 Q 0 0
599669 ELWOOD, RALPH J US 0 QO 0 0 0 0 0 0 0 0 0 0
DE 0 0 0 0 0 0 0 0 0 0 0 0

DE 0 0 0 0 0 0 0 0 0 0 0 0

115341 EDWARDS, ANTHONY Q US 0 0 0 0 0 0 0 0 0 0 0 0
123632 BALLNIK, DOUGLAS P US 0 0 0 0 0 0 0 0 0 o 0 0
US 0 0 0 0 0 0 9 0 0 0 0 0

SE 0 0 0 0 0 0 0 0 0 0 0 0

554571 GORDON, MICHAEL | Us 0 0 0 0 0 0 0 0 0 0 0 9
8103443796 NIELSEN, LASSE WALLENTIN OK 0 0 0 0 0 0 0 0 0 0 0 Q
123847 CARR, MARCELLINE C & DAVID US 0 0 0 0 QO 0 0 0 0 0 0 0
CA 0 0 0 0 0 0 0 0 0 0 0 0

SE QO 0 0 0 0 0 0 0 0 0 0 0

NL QO 0 0 0 Qo 0 0 0 0 0 0 0

548181 WOODRUFF, FRED W Us 0 0 0 0 0 0 0 0 0 oO 0 0
NL 0 0 0 0 0 28.57 15.2 43.77 0 0 0 0

609324 ELWELL, MICHELLE US 0 0 0 Q 0 0 0 0 0 0 0 0
7100101881 MARTINS, ADRIANO MANUEL. PT 0 0 oO 0 0 0 80.99 80.99 0 0 95.05 95.05
118452 POPE, KIMBERLEY D. US 0 Qo 0 0 0 0 0 0 0 0 0 0
US 0 Q QO 0 0 0 0 0 0 0 0 a

1114685 LARSEN, JONATHAN US 0 0 0 0 Qo 0 0 0 0 0 0 0
US 0 0 0 0 0 0O 0 0 0 0 Oo 0|

1623004 CRANFORD, ELIJAH D US 0 0 0 0 0 0 0 0 0 0 0 0
1623173 THEOBRUN, WENDY JUNIOR CA 0 0 0 0 0 0 0 0 Qo Q 0 0
601347 ZIEGLER, ALEXANDER US 0 0 0 0 0 0 0 0 0 0 0 0
120271 BUTLER, JUDITH M US 0 0 0 0 0 0 oO 0 0 Qo 0 0
DK 0 0 0 0 0 QO 0 oO 0 0 0 0

DE 0 0 oO 0 0 QO 0 0 0 0 0 0

US 0 0 0 0 0 0 0 0 0 0 0 0

7670677570 HENNEQUIN, GUILLAUME FR 0 0 0 0 0 0 0 0 0 0 0 0
SE 0 0 0 0 0 0 0 0 0 0 0 0

606584 THOMPSON, JASON B US 0 0 0 0 0 0 0 0 0 0 0 0
US 0 0 0 0 0 0 0 0 0 0 0 0

CA 0 0 0 0 0 0 0 0 a 0 0 0

8702373830 KJELL HARALD NESENGMO NO 0 0 0 0 0 0 0 0 0 0 Qo 0
DE 0 0 0 0 0 0 0 0 0 0 0 0

US 0 0 0 0 oO 0 0 0 0 0 0 0}

FR 0 0 0 0 0 Q 0 0 0 0 0 0

US 0 Qo 0 0 0 0 0 0 0 0 0 0

628157 CAMACHO, ROBERTO Us 0 0 0 0 0 0 0 0 0 0 0 0)
US 0O O 0 0 0 0 0 0 0 0 0 0

1623345 MENDOZA, MENARDO C US 0 0 0 0 Q 0 0 0 0 0 0 Q
DE 0 0 0 0 0 0 0 0 0 0 0 0

113180 COHEN, MICHAEL A US 0 0 0 0 0 0 0 0 0 0 0 0
DE 0 0 0 0 0 0 0 0 0 0 0 0

609220 SHACKELFORD, DEBORAH J US 0 0 0 0 0 0 0 0 0 0 0 0
CA 0 Q 0 0 0 0 0 0 0 Q 0 9

CA 0 Qo 0 0 0 0 0 0 0 0 0 0

7250002051 P & R STEWARD PTY.LTD. AU 0 0 9 0 0 0 0 0 0 0 0 0
AT 0 0 0 0 0 0 0 0 o 0 0 0

DE 0 0 0 0 0 0 0 0 0 0 0 0

CH 0 0 0 0 0 0 0 0 0 0 Qo 0

8906308074 WEINSHEIMER, JOHANNES DE 0 0 0 0 0 0 0 0 0 0 0 0
75755 WOODSON, WADE W US Qo 0 0 0 0 Qo 0 0 0 0 0 0
AT 0 0 0 0 0 0 0 0 0 0 0 0

599892 GIBSON, WENDELL N US 0 0 0 0 0 0 0 0 0 0 0 0
US 0 0 0 0 0 0 0 0 0 0 0 0

NO 0 0 0 0 o 0 0 0 0 0 0 0

US 0 0 0 0 0 Q 0 0 0 0 0 0

FR 0 0 0 0 0 0 0 0 0 0 0 0

725871 HALVERSEN, GAYLE US 0 0 0 0 0 0 0 0 0 0 0 0
US 0 0 0 0 0 0 oO 0 0 0 o 0

8906721703 ELLERHAUSEN, MICHAEL DE 0 0 0 0 0 0 0 0 0 0 0 0
CA oO 0 0 0 0 0 0 0 0 0 0 0

1130124 STOWE , SHANNON P US 0 0 0 0 0 0 0 0 0 0 0 0
CH 0 Qo 0 0 0 0 0 0 0 0 0 Q

1131723 BOURASSA , MARTINE CA 0 0 0 0 0 0 0 0 0 0 0 0
CA QO 0 0 0 0 0 0 oO 0 0 0 Q

Us 0 0 0 0 0 0 0 0 0 0 0 0)

CH 0 oO 0 0 0 0 0 0 0 0 0 0

FR 0 0 0 0 2.14 180.7 0 192.84 0 571.38 0 571.38)

607234 PURSLEY, CHARLES US 0 0 0 0 0 0 0 0 0 0 0 0)
NO 0 0 0 0 0 0 0 0 0 0 0 0

US 0 0 0 0 0 0 0 0 0 0 0 0

US 0 0 0 0 0 0 16.08 16.08 0 0 0 0

NO 0 0 0 0 0 0 0 0 0 0 0 0

694439 PANNASCH, JOCYLYN US 0 0 0 0 Qo 0 0 0 0 0 0 Q
555624 LINCOLN, JEREMIE D US 0 0 0 0 0 0 0 0 0 0 0 0
549505 REINARDY, GERALD R us 0 0 0 o 0 0 0 0 0 0 0 oO

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A I B Tc | D I E I F G I H I 1 I J I K I L I M I N I °
8003560331 OEZBEN, AFSIN NL 0 0 0 0 0 0 0 0 0 0 0 0
7170001560 RODRIGUES, MARTA SUSANA ALVES PT 0 0 0 0 0 0 0 0 0 0 0 O
8404604704 OESTERGAARD, TORBJOERN SE 0 0 0 0 0 0 0 0 0 0 0 0
8702094086 ELSETH, JOERGEN NO 0 0 0 0 0 0 0 0 0 0 0 0
7800040263 D ERAMO, CARLA IT 0 0 0 0 0 0 o 0 0 0 0 0
114333 EDWARDS, BARBARA us 0 0 0 0 0 0 0 0 0 0 0 Q
1117451 MERCER , REBECCA us 0 0 0 0 o 0 0 0 0 0 0 oO
8906240368 BEHR, ANNETTE DE 0 0 0 0 0 0 0 0 0 0 0 0
8404419250 MEDVEGY, JOZSEF & ENIKOE SE 0 0 0 ° 0 0 0 0 0 0 0 O
7800066503 IACOLARE, AGNESE IT 0 o oO 0 0 0 0 0 0 0 23.9 23.9
102667 CANDLER, RUTH A us 0 0 0 0 0 0 0 0 0 o 0 0
8702096011 NICOLAYSEN, LILLIAN No 0 0 0 0 0 0 0 0 0 0 0 0}
8103335356 MATTHIESSEN, KRISTIAN DK 0 0 0 0 0 0 0 0 0 0 0 0
630893 PERRY, RUSSELL 8 us 0 0 0 0 0 0 0 0 0 0 0 0
8906237600 ORIWOL, PETRA DE 0 0 0 o 0 0 0 0 0 0 0 0
7670682182 PAGNIN, SANDRINE FR 0 o 0 0 0 0 0 0 0 571.38 0 571.38
7800029743 LUONGO, NICOLA IT 0 0 Oo 0 0 0 0 0 0 0 0 oO
628863 MOSEDALE, ANDREW us 0 0 0 0 0 0 0 0 0 0 0 oO
3000027171 JUDY KEUS CA 0 0 0 0 0 0 0 0 0 0 0 0
1743075 SIAPNO, ROCK M us 0 0 0 0 0 0 0 0 0 0 0 0
8404447222 MAGNUSSON, BJOERN SE 0 0 0 0 0 0 0 0 0 0 0 0
1213036 CARLSON , JANIE us 0 0 0 0 0 0 0 0 0 0 0 0
1213377 MARQUEZ , LAUREN M us 0 0 0 0 0 0 0 0 0 0 0 0
1602180 PAL, RAMAN cA 0 0 oO 0 0 0 0 0 0 0 0 0
29165] 1235485 COLEMAN, KENNETH B us 0 Q 0 0 0 0 oO 0 0 0 0 oO
[29166] 8906202127 KOSSBAU, DORIS OE 0 0 0 0 0 0 0 0 0 0 0 0
[29167] 8103361111 RASMUSSEN, HELLE DK 0 0 0 0 0 0 0 0 0 0 0 Oo
[29168] 8702093556 FJOERTOFT, LEIF - OWE NO 0 0 0 ° 0 0 0 0 0 o 0 0
[29169] 4119418 LOTT , JORDAN M us 0 0 0 0 0 0 0 0 0 0 0 0
[29170] 8404564041 SOLLI, EMANUEL SE 0 0 0 0 0 0 0 0 0 0 0 0
29171| 3000024291 LORNE HOLMAN CA 0 0 0 0 0 0 0 0 0 0 0 0
129172} 1116701 HARRY DOLEYRES JR CA 0 0 0 0 0 0 0 0 0 0 0 0}
[29173] 8701663790 OJ BUSINESS NO 0 0 0 0 0 0 0 0 0 0 Q 0
29174] 790012867 MANUKIA, MARILYN LINALAMA NZ 0 0 0 0 0 0 0 0 0 0 0 O}
[29175] 599758 EVANS, JACQUELINE A us 0 0 0 0 0 0 0 0 0 0 0 oO
[29176] 8404563845 KULL, AASA SE 0 0 0 0 0 0 Q 0 0 0 0 0
29177] 606100 ENGLE, HARRISON H us 0 0 0 0 0 0 0 0 0 0 0 Q|
[29178] 604590 MAYHEW, MICHAEL us 0 0 0 0 0 0 a 0 0 oO 0 0}
[29179] 1874247 DAVIS, CHAD A us 0 0 0 0 0 0 0 0 0 0 0 0}
29180] 1752279 ZAVATTER, SUZANNE M us 0 oO 0 0 0 0 0 0 0 0 0 O|
7600474510 FARRES, GERARD FR 0 0 0 0 0 0 0 0 0 0 0 O
124621 COOPER, JEFF L us 0 0 0 0 0 0 0 0 0 0 0 Ql
29163 731971 MARTIN, BRENT W us 0 0 0 0 0 0 0 0 0 0 0 ql
[29184] 1122666 HAGLER , KARLA J & GARY V us 0 0 0 0 0 0 0 0 0 0 0 O|
[29185] 6100594951 IRENA KOWALSKA PL 0 0 oO 0 0 0 0 0 0 0 0 0
(29186 601197 SETHER, DUSTIN J us 0 0 0 0 0 0 0 0 0 0 0 0
29187| 8700064820 BEKKVIK, HEIDI BLAKER NO 0 0 ° 0 0 0 0 0 0 0 0 Q
111669 BECKFORD, MICHAEL O us 0 0 0 0 0 0 0 0 0 0 0 O
608195 COLE, JEREMY us 0 0 0 0 0 0 0 0 0 0 0 0}
29190] 623489 LINICH, BRIAN C us 0 0 ° 0 0 0 0 0 0 0 0 O
[29191] 7670604307 JAUNET, CAROLE FR 0 0 0 0 0 0 0 0 0 0 0 0
[29192] 8906270035 MEYER, ANN-KRISTIN DE 0 0 0 0 0 0 0 0 0 0 0 0
29193| 7670678367 KOFFI, ANZOU FR 0 0 0 0 0 0 0 0 0 42.85 0 42.85]
[29194] 122578 HUMPHREY, CAROLAORDARRELLR = US 0 0 0 0 0 0 0 0 0 0 0 Ql
[29195] 3000026838 ALEC & ANNE DEEVES CA 0 0 0 0 0 0 0 0 0 0 0 Oo
29196] 8003605726 LOA, DANIELLE CHRISTINE NL 0 0 0 0 0 0 0 0 0 0 0 0}
[29197] 1123234 ESTAPHANOUS , NANCY us 0 0 0 0 0 0 0 0 0 0 0 0
[29196] 8103377614 THORGAARD, MARTIN DK 0 0 0 0 0 0 0 0 0 0 0 0
29199] 1616049 REYNOLDS, RYAN E us 0 0 0 0 0 0 0 0 0 0 0 0
599957 BAILEY, BONNIE us 0 0 0 0 0 0 0 0 0 0 0 0
602946 VELAZQUEZ, MARCO us 0 0 Q 0 0 0 0 0 0 0 0 0
8882209340 WOOLNOUGH, ANNA GB 0 0 0 0 0 0 0 0 0 0 0 oO
608389 LOPEZ, RACHELLE D us 0 0 0 0 0 0 0 0 0 0 0 0
609042 SMITH, ANGELA us 0 0 0 0 0 0 0 0 0 oO 0 O}
29205] 621511 NORRIS, BRANDON J us 0 0 0 0 0 0 0 0 0 0 0 0
[29206] 605288 HILLERY JR, ANDREW J us 0 0 0 0 0 0 0 0 0 Q 0 0
[29207] 8003580919 REYDEN VAN DER, GUY NL 0 0 0 0 0 0 0 0 0 0 0 0
[29208] 1007050 SUMMERS, BRETT us 0 0 0 0 0 0 0 0 0 0 0 0
[29209] 8404416398 BERNTSSON, JAN ERIK SE 0 0 0 0 0 0 0 0 0 0 0 0}
[29210] 7400601234 ALMONTE, BLADIMIR CH 0 0 0 0 0 0 0 0 0 0 0 0
[29211] 8404402040 RIDDERSPERRE/NILSSON, SUSANNE SE 0 0 oO 0 0 0 0 0 0 0 0 Q|
[29212| 7400397612 RUDOLF, MARCUS CH 0 0 0 0 0 0 0 0 0 0 0 oO
[29213] 8404404886 JANSSON, BIRGITTA SE 0 0 0 0 0 0 0 0 0 0 0 0
129214} 626894 BRIGHT, JEROME us 0 0 0 0 0 0 0 0 a 0 0 0}
[29215] 1871837 HANSON, KURT A us 0 0 0 0 0 0 0 0 0 0 0 0
[29216] 115436 HILL, SEAN T us 0 0 0 0 0 0 0 0 0 0 0 0
[29217| 549668 BARNETT-RICO, MARIAN us 0 0 0 0 0 0 0 0 0 0 0 0
29218] 6906142446 SCHACK, MICHAELA DE 0 0 0 0 0 0 0 0 0 0 0 oO
[29219] 8906674166 ENS, PAUL DE 0 0 0 0 0 0 0 0 0 0 0 0}
[29220] 8906317345 SEEGER, FRITZ DE 0 0 0 0 0 0 0 0 0 0 0 0
[29221] 721992 DAVIS, ZACH us 0 0 0 0 0 0 0 0 0 0 0 0
129222] 7670687998 PSAILA, MONIQUE FR 0 0 0 0 0 571.38 0 571.38 0 Q 0 0}
[29223] 1007344 DOWREY, ALEXANDRA us 0 o 0 0 0 0 0 0 0 0 13.41 13.41
[29224] 8906573802 BRUNO, FRANCO. DE 0 0 0 0 0 0 0 0 oO 0 0 0
29225] us 0 0 o 0 0 0 0 0 Q 0 0 0
118766 KAROLENKO, NORM us 0 0 0 0 0 0 0 0 0 0 0 o|
[29227] 601970 ERWIN, KARA S Us 0 0 0 0 0 0 0 0 0 0 0 0
29226) 8003582982 FRANSMAN, CORNELIS NL 0 0 0 0 0 0 0 0 0 0 0 0
[29229] 549781 DADS OF MICHIGAN US 0 0 0 0 0 0 0 0 Q 0 0 Ql
[29230] 6906219535 SCHROEDER, THOMAS DE 0 0 0 0 0 0 0 0 0 0 0 Q
29231] 3000027261 VNET TELECOM INC. cA 0 0 0 0 0 0 0 0 0 0 0 0
[29232] 7670675843 CALGAN, MICKAEL FR 0 0 0 0 0 0 0 0 0 0 0 O|
[29233] 624547 NORECK, SANDRA us 0 0 0 0 0 0 0 0 0 0 0 q
29234] 8404545532 GRAPE, KATARINA SE 0 0 oO 0 0 0 0 oO 0 0 oO |

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A B I I I I I I I J l K ] L I M I I
1101045 GILES , TAGGART B US 0 0 0 0 0 0 0 0 0 0 0 0}
1150550 WARREN , STEVEN US 0 0 0 0 oO 0 0 0 0 0 0 0}
7400526055 ZIMMERMANN, THOMAS CH 0 0 0 0 0 0 0 0 0 O 0 0}
7670637739 GUERDENER, JEAN-BLOU FR 0 0 0 0 0 0 o 0 0 192.84 0 192.84)
7600735431 PEREIRA, CEDRIC FR 0 o 0 0 0 0 0 0 0 o 0 0
1145820 MORIN , GUY cA 0 0 0 0 0 0 0 0 0 0 0 0
8906624349 KAPELL, HOLGER DE 0 0 0 0 0 0 0 0 o 0 0 0
1098260 KIMBRELL , SONYA K US 0 0 0 0 0 0 0 0 0 0 Oo 0)
1284027 NAVA HOLLOWAY, ALIVETTE us 0 0 0 0 0 0 0 0 0 0 0 0
7600603356 SAURON, MICHELE FR 0 0 0 0 0 0 0 0 0 0 0 0)
1325642 CARTER, DANIELLE D US 0 0 0 0 0 0 0 0 0 0 15.12 15.12)
7600578815 VIVES, CATHERINE FR 0 0 0 0 0 0 0 oO 0 0 0 0}
1486296 ROMESBERG, STEVE W US 0 0 0 oO 0 0 0 0 0 0 0 0
151386 GRANDCHILDREN'S TRUSTF/B/O SEAN SINUS 0 0 0 0 0 0 0 o 0 0 0 0
8103442810 NIELSEN, BRIAN DK 0 0 o 0 0 0 0 0 0 0 0 0
1447244 OROURKE, HOLLY P US 0 0 0 0 0 oO 0 0 QO 0 0 0}
7400504115 BILIC, MLADEN CH 0 0 0 0 0 0 0 0 0 0 0 0)
1016709 PALMER, ROSELLE US oO 0 0 0 oO 0 0 0 0 0 0 0
1902663 BRADFORD, STEVE CA 0 0 0 0 0 0 18.27 18.27 0 0 0 0
8103459810 KESTENHOLZ, NADJA J DK Oo 0 0 0 0 oO 0 0 0 0 0 0
7670053943 BOURGEOIS, EMERIC. FR 0 0 0 0 0 0 0 0 0 0 0 0)
1047389 BREWER, DANIELLE US 0 0 0 0 0 0 0 0 0 0 0 0)
8906722595 JASCHEWSKI, SABINE DE 0 0 0 0 0 0 0 0 0 0 o 0
143359 HARRIS, DENNIS US oO 0 O 0 0 0 0 0 0 0 0 0
US 0 0 o 0 0 0 0 0 0 0 0 0}
8906506528 ROESNER, EVELYN DE 0 0 0 0 0 0 0 0 0 0 0 0
1099238 VENABLE , DONALDA US 0 0 0 0 0 0 0 0 0 0 0 0
1046434 STOKEN, DIANE US 0 0 0 0 0 0 Q 0 0 0 0 0
1100843 ALDRIDGE, CHACE R US 0 0 0 0 0 0 0 o 0 0 0 0
1785537 RIVERA ALLIANCE VENTURE US 0 0 0 0 0 0 16.06 16.06 0 0 0 0)
7600501237 BROGARD, NICOLAS FR 0 0 0 0 0 0 0 0 0 0 0 0)
1103113 NOBLES MCCRAY , KIMBERLY US 0 0 oO 0 0 0 0 0 0 0 0 0]
7000291180 HOLUB, MARION AT 0 0 0 0 o 0 0 0 0 0 0 0}
1192954 BLAIR-TREADWELL , VANESSA M US 0 0 0 0 0 Q 0 0 0 0 0 0}
1288079 QUEVILLON, ISABELLE CA 0 0 0 0 0 Oo oO 0 0 0 0 0
1290717 EMOND, JOHANNE CA 0 0 0 0 0 0 0 0 0 0 0 0
7470002752 SAVIC, SVETISLAV CH 0 0 0 0 0 0 0 0 0 0 Oo 0}
154541 DAY, EMMA G US 0 0 0 0 0 0 0 0 0 0 0 0
7600543676 MENOU, GENEVIEVE FR 0 oO 0 0 0 0 Oo 0 0 0 0 0)
120500 SIMS, DORIS US 0 0 0 o 0 0 0 oO 0 0 0 0}
8404190830 OLSSON, KATARINA SE 0 0 oO 0 0 0 0 0 0 0 0 0)
1873014 GREWAL, MANDEEP S CA 0 0 0 0 O 0 0 0 0 0 0 0
121800 POWELL, RAYLAN R US 0 0 0 0 0 0 0 0 0 0 0 0}
730411 SAVAGE, RHONDA L US 0 0 0 0 0 0 0 0 0 0 0 0
8906633895 NEISSL, CHRISTINE DE 0 o 0 0 0 0 0 0 0 0 0 0)
1622953 PALE, ROBERTA O US 0 o 0 0 0 o 0 0 0 0 0 0)
118174 BERRY, DEVON A us 0 0 0 0 0 0 0 0 0 0 0 0)
8702139811 BENDIKSEN, ALF GUNNAR NO 0 0 0 0 0 0 0 0 0 0 0 0}
7250016634 BOUVENG, NICOLE AU Oo 0 0 0 0 0 oO 0 0 0 0 0
122889 SPIRES CHAPEL BAPTIST CHURCH US 0 0 0 0 0 0 0 0 0 0 0 0}
8702088558 BEITDOKKEN, HENNING NO 0 0 0 0 0 0 0 0 Oo 0 0 0
8906477472 KNOBBA, DIETER DE 0 0 0 0 0 0 0 0 0 0 0 0)
8404662893 SHAHMORADI, ZOHREH SE 0 0 0 0 0 oO 0 0 0 0 0 0
7300157478 BORDENAVE MARTORELL, MARCELINO ES 0 oO 0O 0 0 0 0 0 0 0 oO 0}
3000026733 TERRY/DEB JOHNSTONE CA 0 o 0 0 0 0 0 0 0 0 0 0)
8404540725 HOLM, OVE SE 0 0 0 0 0 O 0 oO 0 0 0 0)
8906659011 SCHADE, CHRISTINE DE 0 0 0 0 0 0 0 0 0 0 0 0
1598603 THORPE, BRIAN D US oO 0 0 0 0 0 0 0 0 oO 0 0
8702019144 PRIMAVERA, REUBEN ROY NO 0 0 0 0 0 0 0 0 0 oO 0 0
8103358813 HANSEN, LENE DK 0 0 0 0 0 0 0 0 0 0 0 0
8906205725 DANIA, THYRA DE 0 0 0 0 0 0 0 0 0 0 0 Q|
119447 MEYERS, SCOTTA US 0 oO 0 oO 0 0 0 0 0 0 0 0}
8103363651 ASLAN NETWORK & MARKETING DK o 0 0 0 0 0 0 0 0 0 0 0}
8906330172 PFLUG, WILMAR DE 0 0 0 0 0 0 0 oO 0 0 0 0)
8906356605 WEIRICH, ELKE DE 0 0 0 0 Oo 0 0 0 0 0 0 0
119927 KORTE, TONI J US 0 0 0 0 0 0 0 0 0 0 0 0)
114406 DI BLASI, JOHN T US 0 0 0 0 0 o 0 0 0 0 O 0}
624573 MCCOY, KIM V US 0 0 0 0 0 0 0 0 0 0 0 0}
7670638983 GALLY, COLETTE FR 0 0 0 0 0 0o 0 0 0 0 0 0
114401 ELLINGTON, KAREN US 0 oO 0 0 0 0 0 0 0 0 0 0}
7600499125 CHESNEL, VERONIQUE FR 0 0 0 oO 0 0 0 0 0 0 0 0
550107 KELLS, WENDELL US 0 0 0 0 0 0 0 0 0 0 0 0}
1207570 CHESTER , DANISE C US oO 0 0 0 0 0 0 0 0 0 0 0}
8970000058 STIEGLER, MARIA DE 0 0 0 0 Oo 0 0 0 0 0 0 0)
7600707464 SANGLAR, PIERRE FR 0 0 0 0 0 0 0 O 0 0 0 0)
8404541913 EMRETSSON, MARGARETA SE 0 0 0 0 0 oO 0 oO 0 0 0 0)
7800276159 VENEZIA, MARICA IT 0 0 0 0 0 0 0 oO 0 0 0 0)
732249 NALLY, DAVID W US QO 0O oO 0 0 0 0 0 0 0 0 0
1615231 BAENA, CHERRY PYE F US 0 0 0 oO 0 0 0 0 oO 0 0 0)
7250016460 BROWN, CLARE P. AU 0 0 0 0 0 0 0 0 0 0 0 0
112520 GOOCH, SHELDON C US 0 0 0 0 0 0 0 oO 0 0 0 0)
608139 DI NARDO, GINA M US 0 0 0 0 0 0 0 0 0 0 0 0}
8702097160 ROESTEN, OLE MARIUS NO 0 0 0 0 0 0 0 0 0 oO 0 0
8404512337 BOJE, LENA SE 0 0 0 0 0 0 0 0 0 0 0 0
7600456512 BAYOL, PATRICK FR 0 0 0 0 0 0 0 0 0 oO 0 0
7000299417 UNGER, MONIKA AT 0 oO 0 0 0 0 0 0 0 0 0 0}
7400544978 STREBEL, MARKUS CH 0 0 0 0 0 0 0 0 0 0 0 0)
621897 MACDONALD, KATHRYN ANN CA 0 0 0 0 0 0 0 oO 0 oO 0 0
634833 HARRISON, CAROL L US 0 0 0 0 0 O 0 0 0 0 0 0
7100208192 MB SOLAR LDA PT 0 0 0 0 0 0 0 0 0 0 0 0
101635 BELL- BRYANT, DENA E us 0 0 0 0 0 0 0 0 0 0 0 0)
7000302813 LEHNER, CHRISTINE. AT 0 0 0 0 0 0 0 0 0 0 0 0
629485 MERTEN, ERIC US 0 o 0 0 oO 0 0 0 0 0 Q 0)
8906449290 WARKENTIN, GERHARD. DE oO 0 oO 0 oO 0 0 0 0 oO 0 oO

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7670369927 ROUCHY, FLORIAN FR
7200323241 JANG, CHARLIE AU
8906661102 DEUBLER, FRANK DE
7600535542 LE DINH SY, FRANCOISE FR
8906613933 XXXX_2009-12-28-09-45-27-0173 DE
3000090343 JACQUELINE THOMPSON CA
7670510625 PERROT, TIFFANY G FR

1071061 ROBERTS , TONI K us
7670102254 BEDE, PASCAL FR
1104765 MURPHY , MELVIN J us
1760245 MATTHEWS, KERVYN us
150295 STREET, REGINA A us
7250029023 TIVALU, EUTA AU
28966, 1092596 RUIZ, KARINA us
28967} | 1888583 JONES, JIMMY C us
28968 150783 BARGER, RICHARD R us
28969] 8103444777 PEDERSEN, LISA DK
1291625 ADAMSON, JONATHAN A us
1098482 EPLEY , KAREN M us
8170025443 DUCKWORTH, JANNE KROGH DK
1451764 NUNEZ, ROSA us
147739 ACOSTA, RENE C. us
1077491 PEDDY, ELLEN E US
7000293423 LABEEUW, ILSE AT
127588 SHEAR, JOAN A. us
7800319962 MELEO, GIANLUCA IT
129473 SMITH, SHONNETTE D us
1483808 TELFORD, LARRY cA
1078123 YOUNG , BRAEDEN P us
8906142600 REICHE, UWE DE
7600779533 BERRUET, REGIS FR
1094840 BACK, ALLAN M us
14195806 SAUCIER , ERIC cA
1332258 HANNEMANN, LEVAOMANA D us
7400500104 LACHER, DOLF CH
1333491 ALVARADO, SANTOS us
141856 FORD-ARMSTRONG, RUBY A. us
1078271 KISSINGER , TRACY C us
8404712662 ANDERSSON, JENS SE
8906511881 STELTER, WOLFGANG DE
7100043591 LEMOS, ANTONIO JOSE RITO CRISTIANO PT
1124788 TSUJI, HARUNA us
1216247 ODOLE SR, DANIEL O us
1326874 DENICOLA, ANTHONY D us
8103506385 KROKUS OK
8906680458 JEHLE, JURGEN OE
1638244 PAYUMO, GILBERT T us
1443294 BERNHARDT, SUZANNE B us
1327841 ABRIGO, LOUIS us
1049586 CALINGER, BECKY us
8906424519 GRZELAK, WOJCIECH DE
1215280 KAKRIDAS , PETULA S us
8906814299 MENTZEL, DANIEL DE
4330386 HALL, CHRIS us
8003724734 NEESKENS, LIANNE NL
141913 RUSSELL, ROSA LEE us
1636037 MENDEZ, SURAY S cA
1329324 PREECE, JASON S us
7600662998 GONZALEZ, CHRISTIAN FR
8906485291 NEIKES, PETER DE
8906468286 RODE, GERALD DE
1073960 ZAVAGLIA , SALVATORE us
1074540 BERG, ROBERT E us
8906466805 HUPPMANN, IRIS DE
1324922 BOUCHER, MARTIN cA
14326020 CHAVEZ, SALVADOR us
1047022 ARTEAGA, DANIEL us
7800214964 BIANCOVISO, MANILA IT
8906566299 CLAUB, IRENA DE
7200239118 ROLET, EDDY AU
1628629 TINIO I!, NICOLAS B us
8906459817 LOMMER, ANDREA DE
1328147 SPAIN, LA RANCE us
4050783 BELL, DIANE us
7000229222 ZISCHKIN, ANTON AT
1075589 KOLOFF II, KIMBERLY A us
8906255435 FISCHER, MARITA DE
7950017394 PATEA, SARAH NZ
1325853 ANDERSON, JEREMY P us
7250033142 DJURIC, MIRELA AU
140025 HARRIS SR, RODNEY L us
7600527950 DUSSAUGE, MATTHIEU FR
7100205777 CALDEIRA, JOSE DA COSTA PT
1324582 ROMEA, JEROME M us
1044104 CHEN, FRANK us
8906648546 NIEMERG, ULRICH DE
7 SCALESE, IT
152248 MC CLESKEY, WILLIAM L us
1540553 KEOUGH, JOHN T us
7250165087 DELAHUNTY, ELISE AU
1636449 BROWN, DYANA L cA
7250070432 DUNKLEY, EAN AU
152275 SALTZGIVER, HELEN L us

7100156230 FERNANDES SANTOS, MARIA EUGENIA VILPT

ecoKDKD eC OCC OOOO OC OOOO OOOO OOOO OOOO ODOOeOOOOOO OOO BOO OOOO OOo ODO OOO BOO OOO OOOO OCOD Oo ODO BoO OO BOOB Oooo DOO OO |)

SoD oOC COD O OOD OOO COC OO OOO COO OO OOOO OOOO ODD OOOO OOO OOO BOBO OO ODO OOO OD OOOO BP OOO OC OOC OOD DODO OOo OOO COB eo COO} |

eoocCoeo oO DC OOOO DCO OOO DOC OCOCOO OOOO OOC DODD ODO OO OOC OOOO OOOO OOD OOOO OCOOD OD OOOO OOD OOO BOO SoC CoCo OSS OoescOoooocoo} |)

eoeoecoe COC ODOC OOO OCC Oe OOOO D OOOO OOOO OOOOD OOD OOOO OO OD Oo OOO BOOOO OD OBO OC O OO eC OOO D OOO OC BC OSB OOOO DoOoOOCoooo oO} |

CoC COeC OOD COCO O COCO OO OOOO OOOO OOOO OOOO OeCOD OOO OOOO O OOo OOO DOO OO ODO eC OOOO DODO OOo OOO SCO COCO BOO oC SoOOCOO COO Oo} |)

ooo oO eC OCC DODO ODOC OOO ODO OOOO oOOoCOO DO OOOOD OCOD OOOO DOO O OOOO Oe oO OCOOOBO BO Oooo OoC COBB OOO C Oooo OKC Ooo OOOO OO} |

OoocCoOKC COC OCO CDC OOC OOO OOO OOOO OOCOODOODO OOO OD OOOOCOOOB OOOO OC OBO OOD BOO OOO OOO OOO OCC OBO OOo O BOBO OO COCO OOO eB OB OOOO} _|

SoCo eD OOD OCC OCDO OOO OCC OOOO OBO OOOOO OOOO OOOCO OOO OOOO BD OOO oO OOO BDOOGOO OOD OOO OOOO OBO OC ODOC OOOO OOO OOOO D Oooo OO} |

ecoeccoe ooo OOOO OO OOO COCO OOO OOD OOOO OOOO DO ODOC OOO OOOO OBC OOO OOO ODO BD OOO OBO Oe BCC OCOD OOO OOO OOD OOD O OOOO OOOO} _|

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Ccoeoceo oC OOOO OOo OD eo OO DCO OOOOOOD OOO ooOOCOOOO OO OD oOo oOSCeC oO oOOoO oOo OOoO OOO OMOCOoOSB Sooo O

loccaotcc0cc ec C DODO DOOD OOOO DODO OOOO OOOO OO ODO OOOO GOB OD ODDO OOO BBD OOD OOOO DSS SF ODOC OCC O BODO OAD FOO OOO OO} |

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A I I I I | I J I I ] I N I °
7800219927 DE LUCA, SERGIO IT 0 0 0 0 0 0 0 0 0 0 0 Q
698149 SCHREFEL JR, RAY E US 0 0 0 0 0 0 0 0 oO 0 0 0
102904 EASON, RONALD & JEANNINE US 0 0 0 0 0 0 0 0 0 0 0 0
8103327944 THORKILD DAM DK 0 0 0 0 Qo 0 0 0 0 0 0 0
8906358814 BOLINGER, HEINRICH DE 0 0 0 oO 0 QO 0 0 0 0 0 0
1089618 RAMSEY, KELLY J US 0 0 0 0 0 0 0 0 0 0 0 0
7100207515 CARREIRA, ARLINDO JESUS PT 0 0 Qo 0 0 0 0 0 0 0 0 0
699033 FUSELIER, LISAM us 0 0 0 0 0 0 0 0 0 0 0 0
104710 MYERS, DELORES US 0 0 0 0 0 0 0 0 0 0 0 0
8404617555 RAEDSTROEM, KENT SE 0 0 0 0 0 Qo 0 0 0 0 0 0
736259 GREER, ODELL & HOLLY US oO O Oo oO 0 0 0 0 0 0 oO 0|
107035 BIRTWISTLE, GEORGE M. us 0 0 0 0 0 0 0 0 0 0 0 Q
8003617843 HOSSEIN, BASHIR NL 0 0 O 0 oO 0 0 0 0 0 0 0
8906282496 RAUNEST, MICHAEL DE 0 0 0 0 0 0 0 0 0 0 0 0
108863 MCELDOWNEY, KIMBERLY & SCOTT A US 0 0 0 0 Qo 0 0 0 0 0 0 0)
8404736416 ERIKSSON, HANS SE 0 0 0 0 0 0 0 0 0 0 0 0
698800 DREESSEN, NATALIE US 0 0 0 0 0 0 0 0 0 0 0 0}
8906283494 MISOPH, REIK DE 0 0 0 0 0 o 0 0 0 0 oO 9
703838 FRASIER, MICHAEL US 0 0 0 0 0 0 0 0 0 0 0 0
736283 BENSON, BRUCE S us 0 0 0 0 0 0 0 0 0 0 0 0
735992 BLUMENTHA, REBECCA US 0 QO 0 0 0 0 0 0 0 0 0 0
7600535322 BERTHA, MONIQUE FR 0 Qo 0 0 0 0 0 0 0 0 0 Q
8702018878 LIE ELEKTRISKE A/S NO 0 0 0 0 0 oO 0 0 0 0 0 0
1089758 MANIGOLD , BLAINE US 0 0 0 0 0 0 0 0 0 0 0 0
7200158721 DIZON, RAMIL AU 0 0 0 0 0 0 0 0 0 0 0 0
8906205177 DESCHLER, HEINZ DE 0 0 0 0 0 QO 0 0 0 0 0 Q
1048731 HARRIS, GEOFF CA 0 0 0 0 0 0 0 0 0 0 0 0
1540758 JORGE, PEDRO US Q 0 0 0 Qo 0 0 0 0 0 0 0
7250001757 COOKE, KATHLEEN AU 0 0 0 0 QO 0 0 0 0 0 0 0
1633837 MORIN, DANNY C US 0 0 0 0 0 0 15.29 15.29 0 0 0 0
1015106 TODD, MARY US 0 oO 0 0 O 0 0 oO 0 0 0 0
7250124041 MEW, VALERIE M AU 0 0 0 0 0 0 0 0 oO 0 0 0
7670031766 TAUTIL, JEAN FRANCOIS FR 0 0 0 0 0 0 0 0 0 0 0 0
1539218 DEONARINE, SHERRY CA 0 0 0 0 0 718.76 0 718.76 0 0 22 22)
8906489443 GORSKI, FRIEDHELM DR DE 0 0 0 0 0 0 Q 0 0 0 0 0
7600521904 DHALUIN TURCK, MARIE THERESE FR 0 0 0 0 0 0 0 0 0 0 0 Q
1284177 ZAVALA JR, ARMANDO US 0 0 0 0 0 0 0 0 0 0 O 0
1102074 BREW, KIM US 0 0 0 0 0 O 0 0 0 0 0 0
1103669 ADAMS, AVERY D US 0 0 0 0 0 0 0 0 0 0 0 0
153482 JOHN ANTONELLI ASSOCIATES us 0 0 0 0 0 0 0 Qo 0 0 0 0
149716 BARNETT-OLIVER, ERICA M US 0 0 0 0 0 0 0 0 0 0 0 0
1543133 CHARLES BECKFORD, TANEKA CA 0 0 0 0 Q 0 0 0 0 0 13.91 13.91
8906555209 SAWADSKY, ALEXANDER DE 0 0 0 0 0 0 0 0 0 0 0 0
1639359 BECKER, KENNETH G US 0 0 0 0 0 0 0 0 0 0 0 0
7600642275 MERMET, JOSSELYNE FR 0 0 0 0 0 0 0 0 0 0 0 0
1481994 GOMEZ, ALEJANDRINA US 0 0 0 0 0 0 0 0 0 0 0 0
7670190647 RAMOS, GEORGIA FR 0 0 0 0 0 0 0 0 0 0 0 0
1485743 SALMERON, ANGELA DEL CARMEN US 0 0 0 0 0 0 0 0 0 0 0 0
1535148 MAHEUX, SACHA CA 0 0 0 0 0 0 0 0 0 0 0 0
1098342 MCCALL , THOMAS US 0 0 0 0 0 0 QO 0 Q 0 0 0
1102267 HICKS, MARY J US 0 0 0 0 0 0 0 0 0 0 Q 0
7600527783 BERTROU, NADINE FR 0 0 0 0 0 0 0 0 0 0 QO 0
8906476680 TORNACK, PATRICK DE 0 0 0 0 0 0 0 0 0 0 0 0
1049572 PETTUS, DANTE US 0 0 Q 0 QO 0 0 0 0 0 0 Q
1327692 CROSSMAN, GEORGE G US 0 0 0 0 0 0 Qo 0 0 0 0 0
8906793941 PLATEK, ELVIRA DE 0 0 Q 0 0 0 0 0 0 0 0 0
7370076446 ARRABAL SANTOS, JUAN ANTONIO Es 0 0 0 0 0 0 0 0 0 0 0 0
1104815 WORLD WIDE VISION LLC US Qo 0 0 0 0 oO 0 0 0 0 0 0
7600520713 DE CARAYON, ANAIS FR 0 0 0 0 0 0 0 0 0 0 0 0
1192900 REICHERT , JOSEPH M US 0 0 0 0 0 0 0 0 0 0 0 0
1546838 DAURAY, DAVID CA 0 0 0 Qo 0 Q 0 0 0 0 0 0
149637 FELDER, RONALD J US 0 0 0 0 0 0 0 0 0 0 0 0
149641 CARPENTER, ANNETTE S. US 0 0 0 0 0 0 0 0 0 0 0 0
1932074 LANE, WALTER R US 0 0 0 0 QO 0 0 QO 0 0 0 0
3000011486 KEITH KALPSTEIN CA 0 0 0 0 0 0 0 0 0 0 0 0
1099040 JEPPSON , MICHELLE B US 0 0 0 0 0 0 0 0 Qo 0 0 0
7400537365 ZRNO, MATO CH 0 0 0 0 0 0 0 0 0 0 0 O
8003730072 AKKAL, RAMON NL 0 0 0 0 0 0 0 0 0 0 0 0
8906692272 WEIDAUER, PIERRE DE 0 0 0 Q 0 0 0 0 0 0 0 0
8103472071 S@RENSEN, ELZBIETA DK 0 0 0 0 0 0 0 0 0 0 Q 0
1284155 RIDDLE, ANGIE K US 0 0 0 0 0 0 0 0 0 0 0 0
1455584 MOBAID, AMMAR CA 0 0 0 0 0 0 0 0 0 0 0 0
7600603354 VAISIERE, ANOUCHKA FR 0 0 0 0 0 0 0 0 0 0 0 o
7600721973 MAROSELLI, PIERRE JEAN FR 0 0 0 Q 0 0 0 0 0 0 0 0
1889181 LEMERE, DARRAH US 0 0 0 0 0 0 0 0 0 0 0 a
7250007842 LANDY, KAREN M AU 0 0 0 0 0 0 0 0 0 0 0 0
7800263600 FERRI, MASSIMILIANO IT 0 0 0 0 0 0 0 0 0 0 0 Q
8404417661 NYBERG, DOROTHY SE 0 0 0 0 0 0 0 0 0 0 0 0
8906555080 JENTZSCH, KATHRIN DE 0 0 0 0 0 0 0 0 0 0 0 0
1498199 BANKS III, ISAAC W US 0 Q 0 0 0 0 0 0 0 0 0 0
7670186225 MOINEAU, JEREMY FR o 0 0 0 0 0 0 0 0 0 0 0
8103495478 MIDTJYLLANDS TOLKECENTER OK 0 0 0 0 0 0 14.64 14.64 12.67 25.72 0 38.39)
1899491 HINCH, ISABELLE M CA 0 0 0 0 0 0 0 0 0 0 13.82 13.82
8906484226 STARK, GABRIELE DE 0 0 0 0 QO 0 0 0 0 0 0 0
7600647141 ZERRAD, MERIEME FR 0 0 0 0 0 0 0 0 0 0 0 0
131926 NEW LIFE CHRISTIAN CENTER US 0 0 0 0 0 0 0 0 0 0 0 Q
7170052466 VIEIRA, JOSE NELSON MARTINS PT 0 0 0 0 0 0 0 0 0 0 0 0
8103436472 SPAAB/EK, KRISTIAN BILGRAU DK 0 0 0 0 0 0 0 Qo 0 0 0 0
1111390 VALDEZ, LAUREL R US 0 0 0 0 0 0 0 0 0 0 0 0
7600508537 MOLLES, JACKY FR 0 0 0 0 0 0 0 0 0 0 0 0
1096619 JOAQUIN, RHODA CA 0 0 0 Q 0 0 0 0 0 0 0 0
8170042983 STAUSHOLM, PER L DK 0 0 0 0 0 0 0 0 0 0 0 0
8003770216 GONZALEZ, DANIEL NL 0 0 0 0 0 0 0 0 0 0 0 0
8905829020 MIERISCH, KERSTIN DE 0 0 0 0 0 0 0 0 0 QO 0 0

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8906424846 HEIDRICH, TANJA DE 0 0 0 0 0 0 0 0 0 0 0 0
8103450802 LARSEN, ERLAND S DK 0 0 0 0 0 0 0 0 0 0 0 0
7600529614 POMAREDE, SERGE FR 0 0 0 0 0 0 0 0 0 0 0 0
8906532942 ALLMRODT, TORSTEN DE 0 0 0 0 0 0 0 0 0 0 0 0
7250017216 OBER, MAVIS AU 0 0 0 0 0 0 0 0 0 0 0 0
1325898 TUMUSIIME, MUTUNGI us 0 0 0 0 0 0 0 0 0 0 0 0
7000282677 SZIROTA, ALEXANDER AT 0 0 0 0 0 0 0 a 0 0 0 0
7800235695 CERCHIA, MICHELA IT 0 0 0 0 0 0 0 0 0 0 0 0
7800215247 FELICI, CHIARA IT 0 0 0 0 0 0 0 0 0 0 0 0
1329737 JACQUES, YVES CA Oo 0 0 0 0 0 0 0 o oO 0 0
1333761 TOOMEY, JEREM S us 0 0 0 0 0 0 0 0 0 0 0 0
7600531247 ANFRAY, CELINE FR 0 0 0 0 0 0 0 0 0 0 0 0
8906441479 BRETZ, MICHAEL DE 0 0 0 0 0 0 Q 0 0 0 0 0
1218307 BULLOCK , OTIS L us 0 0 0 0 0 0 0 0 0 0 0 0
8906627707 AHRENS, RENATE DE 0 0 0 0 0 0 0 0 0 0 0 0
1083327 LEWIS , DANIELLE L us 0 0 0 0 0 0 0 0 0 0 0 0
1450805 BARIKO, TAWFIQ M CA 0 0 0 0 0 0 oO 0 0 0 0 0|
7800212617 SGRICCIA, PAMELA IT 0 0 0 0 0 0 0 0 0 0 0 0
145406 MARTIN, CYNTHIA V us 0 0 0 0 0 0 0 0 0 0 0 0
1216752 BITTLE , CONNIE L us 0 0 0 0 0 0 0 0 0 0 0 0
8702372676 KARLSEN, KJELL @ NO 0 0 0 0 0 0 0 0 0 0 0 0
7670118840 ALBINET, NICOLAS FR 0 0 0 0 0 0 0 0 0 0 0 0
1328712 RICHARDSON JR, VARNEY J us 0 0 0 0 0 0 0 0 0 0 0 0
696275 CARNEY, TIMOTHY A us 0 0 0 0 0 0 0 0 0 0 0 0
105083 MARRIAGE ENCOUNTER SEPA us 0 0 0 0 0 0 0 0 0 0 0 0
8103357549 WEISSE, KARSTEN DK 0 0 0 0 0 0 0 0 0 0 0 0
106013 SAUNDERS, HERALD | us 0 0 0 0 0 0 0 0 0 0 0 0
8404620944 ANDERSSON-LOPEZ, MARGARETHA SE 0 0 0 0 0 0 0 0 0 0 0 0
7000288781 PACHER, ELISABETH AT 0 0 0 0 0 0 0 0 0 0 0 0
1092025 OSBURN , RACHAEL us 0 0 0 0 0 0 0 0 0 0 0 0
1087980 SHEPHERD II, DANNY H us 0 0 0 0 0 0 0 0 0 0 0 0
8404642636 GAARDESTEDT, PETER SE 0 0 0 0 0 0 0 0 0 0 0 0
6103398293 GOR DK o oO 0 Oo 0 0 0 0 0 0 0 0}
1625090 PAYNE, CAROL A us 0 0 0 0 0 0 0 0 0 0 0 0
8906244671 GRAETZ, DIETER DE 0 0 0 0 0 0 0 0 0 0 0 0
7600537764 LAURENT, JEAN-YVES FR 0 0 0 0 0 0 0 0 0 0 0 0
702202 RIVERA, THELMA us o Q 0 0 0 0 0 0 0 0 0 Q
8906182701 HELLER, BERND DE 0 0 0 0 0 0 0 0 0 0 0 0
7170113977 ROCHA ALMEIDA, RUI MICHEL PT 0 0 0 0 0 0 0 0 0 0 0 0
7500309976 YANA BVBA BE 0 0 0 0 0 0 0 0 0 0 0 0
76640 JOHNSON, BROOKER T us 0 0 0 0 0 0 0 0 0 0 0 0
1883746 KARAKASH, PAUL us 0 0 0 0 0 0 0 0 0 0 0 0
1089731 NOGA , JOSEPH V us 0 0 0 0 0 0 0 0 0 0 0 0
1090918 MCIVER , JEFFREY W us 0 a 0 0 0 0 0 0 Q 0 0 0
1091466 HARMON , DENNIS E us 0 0 0 0 0 0 0 0 0 0 0 0
8404647681 MACH, CHITHANH SE 0 0 0 0 0 0 0 0 0 0 0 0
695854 CLOWARD, CHRISTOPHER R us 0 0 0 0 0 0 0 0 0 0 0 0
8103363679 GLUECKSTADT, TOM KATHOLM DK 0 0 0 0 0 0 0 0 0 0 0 0
705313 LOMBARDI, CHRISTINE D us 0 0 0 0 0 0 0 0 0 0 0 0
8103391211 BUNDGAARD, HANNE DK 0 0 0 0 0 0 Q 0 0 0 0 0
739353 ALVAREZ, CLAUDIA us 0 0 0 0 0 0 0 0 0 0 0 0
8906290638 HEINZMANN, WOLFGANG DE 0 0 0 0 0 0 0 0 0 0 0 0
8906426200 REIB, MARGOT DE 0 0 0 0 0 0 0 0 0 0 0 Q
1867596 KTTW BUILDING NEIGBORS us 0 0 0 0 0 0 0 0 0 0 0 0
1088304 WILSON SR, ROBERT us 0 0 0 0 0 0 0 0 0 0 0 0
104569 SWANK, DIANA L us 0 0 0 0 0 0 0 0 0 0 0 0
7250001773 MCCARTHY, CLAIRE AU 0 0 0 0 0 0 0 0 0 0 0 0
8906219513 THELEN, HELGE DE 0 0 0 0 0 0 0 0 0 Q 0 0
8404631915 ANDERSSON, EVA-LENA SE 0 0 0 0 0 0 0 0 0 0 0 0
700640 FEASEL, BRAD E us 0 0 0 0 0 0 0 0 0 0 0 0
1624491 LIM, SENG K CA 0 0 0 0 0 0 0 0 0 0 0 0
8906345226 SCHOFELD, LISA DE 0 0 0 0 0 0 0 0 0 0 o 0
8906571541 GRADL, KONRAD DE 0 0 0 0 0 0 0 0 0 0 0 0
7250018888 MANTIS, PETER AU 0 0 0 0 0 0 0 0 0 0 0 0
704114 HANCOCK, NAN P us 0 0 0 0 0 0 0 0 0 0 0 0
8906345795 WEIDNER, ELVIRA DE 0 0 0 0 0 0 0 0 0 0 0 0
8906306366 BUSCH BECK, TORSTEN DE o 0 0 0 0 0 0 0 0 0 0 0
106930 PETTITT, W. RAYMOND us 0 0 0 0 0 0 0 0 0 0 0 0
8003594353 SCHOONMAAKBEDRIJF SCHOP M. NL 0 0 0 0 0 0 0 0 0 0 0 0
8906328524 KOENIG, BIRGIT DE o 0 0 0 0 0 0 0 0 0 0 0
736248 SOODEEN, KRYSTAL us 0 0 0 0 0 0 0 0 0 0 0 0
694340 BROUGHTON, ERNIE J us 0 0 0 0 0 0 0 0 0 0 0 Q
8906278538 BINDER, CHRISTIAN DE 0 0 0 0 0 0 0 0 o 0 0 0
7600211550 MANDERE, HELLE FR 0 0 0 0 0 0 0 0 0 0 0 0
737485 HARRINGTON, KELLIL us 0 0 0 0 0 0 0 0 0 0 0 Ol
736492 YUTANI, AMY E us 0 0 0 0 0 0 0 0 0 0 0 0
7000289417 BLASSNIG, ESTHER AT 0 0 0 0 0 0 0 0 0 0 0 0
8906433830 GOMES PEREIRA, MILENA DE 0 0 0 0 0 0 0 0 0 0 0 0
1626006 RAMIREZ, PATRICIA C us 0 0 0 0 0 0 0 0 0 0 Q 0
1075139 LOGAN , JESSIE M cA 0 0 0 0 0 0 0 0 0 0 0 0
7600631256 DELESTRE, LIONEL FR 0 0 0 0 0 0 0 0 0 0 0 0
1044745 JUMPP, PATRICIA us 0 0 0 0 0 0 0 0 0 0 0 0
109298 EMR COMMUNICATIONS us 0 0 0 0 0 0 0 0 0 0 0 0
697414 CLARK, CARRIE A us 0 0 0 0 0 0 0 0 0 0 0 q|
7950095865 TUA, HIRA ROBERT NZ 0 0 0 0 0 0 0 0 0 0 10.91 10.91
8906271414 MUELLER, MARIA DE 0 0 0 0 0 0 0 0 0 0 0 0
701907 SASSO, RANDY F us 0 0 0 0 0 0 0 0 0 0 0 0
8402401320 LINDAHL, KATARINA SE 0 0 0 0 0 0 0 0 0 0 0 0
7670652172 FONT, LAURENCE FR 0 0 0 0 0 0 0 0 0 0 0 0
701701 MORRISON, GUISSELLE us 0 0 0 0 0 0 0 0 0 0 0 0
7400560019 ANDRE, SHARON CH 0 0 0 0 o 0 0 0 0 0 0 0
1088907 MILLER , COLBY us 0 0 0 0 0 0 0 0 0 0 0 0
7600587918 BESCOND-FOUCAUD, ANNE FR 0 0 0 0 0 0 0 0 0 0 40.55 40.55
72893 JACKSON, GEORGE GEROME us 0 Q 0 0 0 0 0 o 0 0 0 0

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2867 583817 SNELL, MARGARET CA 0 0 0 0 0 0 0 0 0 0 0 0}
2867: 583330 GOSKI, KELLY us 0 0 0 0 0 0 0 oO 0 0 0 0}
28673] 8404535895 NEE, JAN SE 0 0 0 0 0 0 ° 0 0 0 0 0
28674] 8404558271 GILSTIG, LINDA SE 0 0 0 0 0 0 0 0 0 0 0 oO
28675] 8702047740 KROSSOEY, ARNFRED NO 0 0 0 0 0 0 0 0 0 0 0 0
28676] 8701850810 LIED, VIDAR NO 0 0 0 0 0 0 0 0 0 0 0 0
28677] 8906192528 PLANKENAUER, KONRAD DE 0 Oo ° 0 0 0 0 0 0 0 0 ol
7670697713 LABRUE, DOMINIQUE FR 0 0 0 0 0 614.23 0 614.23 0 0 0 O|
8404590740 KODE IDROTTISFOERENING SE 0 0 0 0 0 0 0 oO 0 0 0 0
578973 FRYE, ROBERT R us 0 0 0 0 0 0 0 0 0 0 0 Q
8702069583 STANGE, ARVID NO 0 0 0 0 0 0 0 0 0 0 0 oO
79553 LUCAS, RONALD US 0 0 0 0 0 0 0 0 0 oO 0 0}
8002964130 PELZER, LEO NL 0 0 0 0 0 0 0 0 0 0 0 0
8404558806 LOOS, THERESE SE 0 0 0 0 0 0 0 0 0 0 0 0
8701268140 MIKKELSPLASS, MARIT & PAAL GUNNAR NO 0 0 0 0 0 0 0 0 0 0 0 Q|
8906145337 LOEFFLER, MIKE DE oO 0 0 0 Oo 0 0 0 0 0 0 0
583681 CAMARENA JR, EDDIE us 0 0 0 0 0 0 0 0 0 0 0 oO
578995 PRICE, DANAL us 0 ° 0 oO 0 0 0 0 0 oO 0 0
8003555923 V D BLONK/PIET, V D BLONK MARJA NL 0 0 0 0 0 0 0 0 0 0 0 0
579591 HUDEC, NICOLE R CA 0 0 0 0 0 0 0 0 0 0 0 0
8906194987 HOHMANN, SANDRA DE 0 0 0 0 ° 0 0 0 0 o 0 oO
8906164824 DRAEGER, TAKI DE 0 0 0 0 0 0 Oo 0 0 0 oO Q
8906174004 LOCKE, NORBERT DE 0 0 0 0 0 0 0 0 0 0 0 0
580789 COX, HARVEY L us 0 0 0 0 0 0 0 0 0 0 0 0
8103351141 H & L MASKINEZ DK 0 0 0 0 0 0 0 0 0 0 0 O
581765 RESTORATION COMMUNITY CHURCH = US 0 0 oO 0 0 0 0 0 0 0 0 0
582069 LINDSEY, KRYSTINA US 0 0 oO 0 0 0 ° 0 0 0 0 o
8906191296 SACHSE, MARIKA DE 0 0 0 oO 0 0 0 0 0 0 0 oO
582328 GEORGE, CHRISTINE M us 0 0 0 0 0 0 0 0 0 0 0 |
594184 NICKOLI, VICKIR us 0 0 0 ° 0 0 0 oO 0 0 0 O
8103356103 ANDERSEN, LEIF DK 0 0 0 0 0 0 0 0 0 0 0 O|
582927 CHRISTIANSEN, RICHARD B us 0 oO 0 0 0 0 0 0 0 0 o 0
582928 HARE, WILLIAM D us 0 0 0 0 oO 0 0 0 oO 0 0 oO
583569 CROSS, WAYNE us 0 0 0 0 0 0 0 oO 0 0 0 O}
583579 DEBINSKI, CHARLES J us 0 0 0 0 0 0 0 0 0 0 0 O
583865 PARKS, MICHAEL E us 0 0 0 0 0 0 0 0 0 0 0 |
8404550585 KRIEG, KERSTIN SE 0 0 0 0 0 0 0 0 0 oO Oo O
581011 VINCENT, PIERRE us 0 0 0 0 0 0 0 0 0 0 0 0
8003516641 KAN, ANDY A NL 0 0 0 0 0 0 0 0 0 0 0 O|
8906155404 TEICH, FRANZISKA DE 0 0 0 0 0 0 0 0 0 0 oO QO
8404125910 HOECKENSTROEM, MARTIN SE 0 0 0 0 0 0 0 0 0 0 0 0
581982 LARSON, MICHAILA E CA 0 0 0 0 0 0 0 0 0 0 0 0
8702060508 NORDHAGEN, KJELL NO 0 0 oO 0 0 0 0 0 0 0 0 oO
582337 MILLER JR, ROBERT R us 0 0 0 0 0 0 oO 0 0 0 0 Q
8404494471 AHMED, ALLAL SE 0 0 0 0 0 0 0 0 0 0 0 oO
8702055271 HUSTOFT, ANDERS NO 0 0 0 0 oO 0 0 0 0 0 0 0
8404436676 ANNOMAR SE 0 0 ° 0 0 ° 0 0 0 0 0 Q|
8404554391 DUVBORN, MICHAEL SE 0 0 0 0 0 0 0 0 0 0 ° 0
579223 ANDERSON, DONNA R Us 0 0 0 o 0 0 0 0 0 0 0 0
8103339424 NIELS, HANSEN DK 0 0 0 0 0 0 0 Oo 0 0 0 0
8906195325 RIEMER, JOHANNES DE 0 0 0 0 0 0 0 0 0 oO 0 O|
8906187198 MORDELT, MANFRED DE 0 0 0 0 0 0 0 0 0 0 0 0
8906190796 WACHSMANN, EIKE DE 0 0 0 0 0 0 0 0 0 0 0 0
581061 VERSACE, DANTE US 0 0 0 0 0 0 0 0 0 0 0 O
7800004472 BELLA, GIUSEPPE IT 0 0 0 0 0 0 0 0 0 0 0 O
8404546752 HELGESSON, TERESIA SE 0 0 0 0 0 0 0 0 0 0 0 O|
6170046943 AGNIESZKA MI, TKIEWICZ PL 0 0 0 0 0 0 0 0 0 0 0 o)
1333644 MALTAIS, ADAM K CA 0 0 0 0 0 0 0 0 oO 0 0 |
700425 MONTPETIT, JAY W us 0 0 0 0 0 0 0 0 0 0 0 oO
7400549068 TODOROVIC, VLASTIMIR CH 0 0 0 0 0 0 0 0 0 0 0 0
1086557 SLAVENS , KERSTIN M cA 0 0 0 0 o 0 0 0 0 0 0 0
7250033588 WILLIAMS, REMEDIOS C AU 0 0 0 0 0 0 0 O 0 0 0 oO
7600630779 LURIAU, JEAN JACQUES FR 0 0 0 0 0 0 0 0 0 0 0 0
8906722013 LANGE, HENRY DE 0 0 0 0 0 0 0 0 0 0 0 0
7600562696 FATIHI, IMAD FR 0 0 0 0 0 0 0 0 0 0 oO 0
1148194 GALARDE , TERESITA us 0 0 0 0 0 0 0 0 0 0 0 0
1074065 ANDERSON , ROBYNN M us 0 0 0 0 0 0 0 0 0 0 0 0
7600536300 DOOGHE, ERIC FR 0 0 0 0 0 0 0 0 0 0 0 Oo
7250007342 BOYLE, RACHEL AU 0 0 0 0 0 0 0 0 0 0 0 0
1324972 ARMSTRONG, ROBERT D us 0 0 0 0 0 0 0 0 0 0 0 0
741] 7800211926 POLIANI, FABRIZIO IT 0 0 0 0 0 0 0 0 0 0 0 0
[28742] 7800283538 CHIERICHELLA, ELISA IT 0 0 0 0 0 0 Oo 0 0 0 0 0
28743) = 1127870 LOUIE, NICKR us 0 0 0 0 0 0 0 0 0 0 0 O|
7250121936 PATEL, HITESH AU 0 0 0 0 0 0 0 0 0 0 0 0}
128745] 1217846 DESIREE , PENDLETON V us 0 0 0 0 0 0 0 0 0 0 0 0
46] 7000293514 JARMER, GABRIELE AT 0 0 0 0 0 0 0 0 0 0 0 0
7100101873 DE JESUS BARRETO, FERNANDO JULIO PT 0 0 0 0 0 0 0 0 0 0 0 0
1084148 NAJIYYAH , NAZLI us 0 0 0 0 0 0 0 0 0 0 0 q|
1328291 ROBINSON, TRACI us 0 0 0 oO 0 oO 0 Oo 0 0 0 0
[28750] 7000328218 DURNITZHOFER, SABINE AT 0 0 0 0 0 0 0 0 0 0 0 O|
[28754] 142618 HUBERT, DEBORAH L us 0 0 0 0 0 0 0 0 0 0 0 0
[28752] 141165 CARDONA, SUNNY RAY us 0 0 0 0 0 0 0 0 0 0 0 0
28753] 1328644 BRASIL, KERIA US 0 0 0 0 o 0 0 0 o 0 0 0
[28754] 8906504477 WALTERMANN, JURGEN DE 0 0 0 0 0 0 0 0 0 0 0 0
[28755] 8003738196 V OF G.LAGEWEG NL 0 0 0 0 0 0 0 0 0 0 0 oO
28756] 1323808 HELIE, REJEANNE CA 0 0 o 0 0 0 0 o 0 0 0 0
1217886 BELLIS, DARLENE us 0 0 0 0 0 0 0 0 0 0 0 0
(28758) 8906579386 BRATE, BIRGIT DE 0 0 0 0 0 0 0 0 0 0 0 O|
8906652677 DOHL, HELENA DE 0 0 0 0 0 0 0 0 0 0 0 0
7800236925 FRUCI, KATIUSCIA IT oO 0 0 0 0 0 0 0 0 0 0 oO
1104426 RAWLEIGH , JACOB W us 0 0 0 0 0 0 0 0 0 o 0 |
28762} 8906517406 EIDAM, LUTZ DE 0 0 0 0 0 0 oO 0 0 0 0 0
[28763] 1632250 LA VAU, MILAN us 0 0 0 0 0 0 0 0 0 0 0 0
[28764] 6170020131 WIKTOR SZEWCZUK PL 0 oO 0 0 0 Oo oO oO 0 oO 0 0)

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A B
8404502655 NYLANDER, THOMAS

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SE 0 QO 0 0 0 0 0 0 0 0 0 Qo

588437 SANDERS, JANET B US Qo 0 0 0 0 0 0 0 0 a 0 0
8404590712 MASSETTI, MARTINA SE 0 0 0 QO 0 0 0 0 0 0 0 0
8702049846 RYGH, ARNE ROAR NO 0 0 0 0 0 0 0 0 0 0 0 0
8702049847 TOEMMERVIK, META NAESAGER NO Q a 0 0 0 0 0 0 0 0 0 Q
8404503224 TAYLOR, TAREQ SE Qo 0 0 0 0 0 0 0 0 0 Q 0
8103356124 PALMELUND, JENS OK 0 Q 0 0 0 0 Q 0 QO 0 0 0
§84921 LUNA, JOE us 0 0 0 0 0 0 0 0 0 0 Q Q
§65166 GUERRERO, YOLANDAM us 0 0 Q 0 0 QO 0 0 0 0 0 0
8862734931 JOHN OWENS GB 0 Oo O 0 0 0 0 oO O 0 0 0
8404518760 BL-KONSULT KOPINGEBRO HANDELSBOL/ SE 0 0 0 0 Oo QO 0 0 0 0 Q Q
8702069955 KROGSTAD, ARNE NO 0 0 0 0 0 0 0 0 0 0 0 0
8702080592 STANGE, GOERILL HELEN NO 0 0 0 0 0 0 0 0 0 0 0 0
584727 SOMMER, KIM A US 0 0 0 0 0 0 Q 0 0 0 0 0
§82090 HOLUB, JOHN CA 0 0 0 0 0 0 0 0 0 0 0 0
588967 MUSSELLAM, DAWN CA 0 0 0 0 0 0 0 0 Qo 0 0 Q
8003553661 TOMASSEN, JOHAN NL 0 0 QO 0 0 0 0 oO 0 0 0 0
584623 WALLACE, TABITHA A us 0 0 0 Q 0 0 0 0 0 0 0 Q
586081 BROWN, KEVIN E us Q 0 0 0 0 0 0 0 0 0 QO 0]
586089 EASTLAND, MARY N US a 0 o Qo 0 0 0 Q 0 0 0 0)
686091 BIRD, JEFF L US 0 Qo 0 0 0 0 oO 0 0 0 0 0
586410 ECHOLS, JAMELLAH O US 0 Q 0 0 0 0 0 0 0 0 0 Q
8404523091 COPACABANA TELEVISION SE 0 0 Qo 0 0 0 Q 0 0 Q 0 0
§87702 BECKER, PAT J us 0 0 0 0 0 0 0 0 0 0 0 0
8003577042 MEURS, STEF NL Q 0 0 0 0 0 Q 0 Q Q 0 0
8701268180 BJERKERUD TRULS K NO 0 0 0 0 0 0 14.65 14.65 0 0 0 0
§89026 VALENCIA JR, LAWRENCE US Qo 0 0 0 0 0 0 0 0 0 Q 0
7470068781 MAMMONE, PATRIZIA CH 0 0 0 Q Q 33.86 0 33.86 Oo 0 Qo 0
§85803 FOX, KEITH H US 0 Qo 0 0 oO 0 0 0 0 Qo 0 0
§86101 PEIL, CHARLOTTE US 0 Q 0 Qo 0 0 Qo 0 0 0 0 0
§86743 REILEY, MICHELLE US 0 0 0 0 0 0 0 0 0 0 0 0
586747 WRIGHT, LINDSEY M US 0 0 0 0 0 0 Qo 0 0 0 0 0
8404582063 CSIKY, PETER SE 0 Oo 0 Q Q Q 0 Qo 0 Q QO 0
8702046109 ENGEBKETSEN, BJOERN REIDAR NO 0 Q 0 Q 0 a 0 a Q 0 0 0
584694 CULLER, KEJUANNA L US 0 0 0 0 0 a 0 o 0 0 0 0
584704 OTIS, ERIC J US oO 0 0 0 0 Q 0 0 0 0 0 0
584757 MANSOURCE COUNSULTANTS us 0 0 0 0 oO 0 0 0 0 0 0 0
8404471101 L JONSSON, ROY SE 0 0 Q Qo 0 Qo 0 0 0 0 0 0
7800010916 ROTONDO SERGIO IT 0 0 0 0 0 0 0 0 0 0 0 a
8701362380 JOHANSEN, AAGE NO 9 0 0 0 QO 0 0 0 0 0 Q 0
8404546131 OEBRINK, HAAKAN SE 0 0 0 Qo 0 0 0 0 Q 0 0 Q
8003555448 CANTAY, SENGUL NL Q 0 0 0 0 0 0 0 0 0 0 Q
583045 ATKINSON, BETTYANN US 0 0 0 0 0 0 0 0 0 0 0 0
8906162562 MERSDOF, EVA DE Q 0 Q 0 0 0 0 0 0 0 0 0
§80935 WILSON, ALZAYDIE & ALLEN US 0 0 Q QO 0 QO 0 0 0 0 0 Q
7370159985 GONZALEZ DAVIES, ROMINA GISEL Es 0 0 0 0 2.14 40.71 0 42.85 0 0 0 0
8702046921 ANDRESEN, OLE KRISTIAN NO 0 0 Qo 0 0 0 0 0 0 0 0 0
8003572554 ECK VAN, ROY NL 0 0 0 0 Q Q 0 0 QO 0 0 oO
§83526 DYNAMIC ENERGY AND SAVINGS INC US 0 0 0 0 0 o 0 0 0 Qo 0 0
8003569180 SCHRAUWEN, HARRY NL Q 0 0 0 0 QO Q 0 0 0 0 0
583841 PETREA, CASEY W US O 0 0 0 0 0 0 0 0 0 0 0}
§79126 PEREA, STEPHANIE L US 0 0 Q 0 0 0 Q 0 0 0 0 0
8404514667 BYLUND, MATTIAS SE 0 0 0 0 Qo Qo 0 0 0 0 0 0
583859 BELL JR, PATRICK US QO 0 0 Q 0 Q 0 Q 0 0 QO Q
8003566538 LITJENS, SANDER NL 0 0 0 0 0 0 0 0 0 0 0 0
583856 GITLIN, DAVID M US 0 0 0 0 0 0 0 0 0 QO 0 0
8404533011 HIGGINS, STEPHEN SE Q 0 Q 0 0 0 0 0 0 0 0 Q
6906142727 STOLK, MARTIN DE Q 0 0 0 0 0 0 0 0 Qo 0 0
8003564673 CURVERS, RENE A.GR. NL 0 0 0 0 0 QO 0 0 0 0 0 0
§82256 SHEPPARD, MICHAEL S US 0 0 0 0 0 0 0 Q 0 0 0 0
582266 MORRISEY, KEVIN P US 0 0 0 0 Qo 0 0 0 0 QO 0 Q
583559 LESTER, EDWIN US 0 0 0 0 Q Q 0 Qo 0 0 Q O
583888 MACDONALD, MONA M CA QO 0 0 0 0 0 0 0 0 0 0 0)
583897 ALFIERI, SALVATORE US 0 0 0 0 0 0 QO 0 0 0 Q 0)
8003522361 KOETS, MARK M NL Q Q 0 0 0 0 0 0 0 0 QO 0
8003418490 SPANJAARD,ERIK, WESTENDORP, SINI NL Qo 0 0 0 0 0 Q 0 0 0 0 0
579769 KAMON, JEFF M US 0 0 0 Qo 0 0 0 0 0 0 Q Q
8906145567 STRAUB, JULIANE DE 0 0 0 0 0 0 Qo 0 0 0 0 0
8003554967 DOE-KADO. NL 0 0 0 0 0 0 0 0 0 0 Qo 0
595178 TREJO, ARTURO R US Q 0 0 0 0 Q 0 Q 0 0 0 0
595486 BELLAMY, DEANNA L us Qo 0 0 0 Oo a 0 Qo 0 0 0 0
8404508852 JANSSON, KURT SE 0 Q 0 0 0 0 0 0 0 0 0 0
8906161931 HUBER, ULRIKE DE 0 0 0 0 0 0 0 Oo o 0 0 0}
596396 RICHMAN, DORIANA N US 0 0 Qo 0 0 0 0 0 O 0 0 0}
596399 KUHL, DEBORAH Us a 0 0 0 0 Q 0 Q 0 Q 0 0
8905993090 DITTRICH, RALF DE 0 0 0 0 0 0 Q 0 0 0 0 a
8702050173 FURE, STAALE NO Q 0 0 0 Q 0 Qo 0 0 Q 0 0
8906176620 GATH, KIRSTEN DE Q Qo 0 0 0 0 Q 0 0 0 0 0
8003566622 STOETMAN, MARTIJN NL 0 0 0 Q 0 0 0 0 0 0 0 a
8906177144 SCHULZ, ECKHARD DE 0 Qo 0 Q 0 0 0 0 0 0 0 Q
8404469014 HUMBLE, LARS SE Q 0 0 0 0 0 Q 0 0 0 0 0
8906193629 MUECK, DIANA DE 0 0 Q Q 0 0 0 0 Q 0 Qo 0
681002 SWENSON, DENNIS M US 0 0 0 0 0 0 0 0 0 0 0 0
§80315 PRINGLE, JUNE CA 0 0 0 0 0 0 0 0 0 Q 0 0
§80327 DEAN, MAURICE US 0 a 0 0 0 0 QO 0 0 0 0 Q
580901 FOSTER, GRAHAM CA Q 0 0 0 0 0 0 0 0 0 Q 0
580904 FOSTER, SHARLENE CA 0 0 0 0 0 0 0 0 0 Q 0 0
8404557092 HENNINGSON, TOM SE Qo 0 0 0 0 0 0 0 0 0 0 0
8404557093 LENNART TAGESSON SE 0 Q Qo 0 0 0 0 0 0 0 0 0
8702056946 TAHTACI, MEVLUT NO 0 0 0 0 0 0 0 0 Qo Q 0 0
8862715331 GRAHAM, NICOLA GB 0 0 0 Q Q 0 0 0 0 0 Q Q
580916 TONG, KOLLIN US 0 0 0 Q 0 0 0 0 0 0 0 0
8404356699 ARHEN, MATS SE 0 Q 0 0 0 0 0 0 0 0 0 0
583183 SCHAFER, DENNIS L us 0 0 0 0 9 0 Q 0 0 0 QO oO

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A__] B I I I F I G I H I 1 I J I K I L M [ N I °
8103353991 M J CONNECTION DK O 0 0 0 0 0 0 0 0 0 0 0)
8404581774 JENSEN PETER, BENDROTH CECILIA SE 0 0 0 0 0 0 0 0 0 0 0 0)
8003572507 KLEIJER, BERT NL 0 0 0 0 0 0 0 0 0 0 0 0}
8103352248 NIELSEN/STEFAN DK 0 0 0 0 0 0 0 0 0 0 0 0}
8404554936 EKMAN, MARCUS. SE 0 0 0 0 0 0 0 0 0 0 0 0}

$89585 ANDERSON, SHERON & GERALD US 0 0 0 0 0 0 0 0 0 0 0 0}
8404562725 HAAKANSSON, GUDRUN SE 0 0 0 0 0 0 0 0 0 oO 0 0

590312 HARRINGTON, JENNIFER US 0 0 0 0 0 0 0 0 0 O 0 0}

§90326 TARJEFT, CHRISTOPHER T US 0 0 0 0 0 0 0 0 0 0 oO 0

591012 BARBEE, CHARLES W US 0 0 0 0 0 0 0 0 0 0 0 0
8870132031 AKUKLU, CEPHAS K GB oO 0 0 0 Oo 32.33 0 32.33 0 0 0 0)
8404543234 BJOERKQVIST, ROGER SE 0 0 0 0 oO 0 0 oO 0 oO 0 0)

594579 SPENCER, LEER US 0 0 0 0 0 0 0 0 0 0 0 0}
8906178974 ULBRICHT, JAN DE 0 0 0 0 0 0 0 0 0 0 0 0
8882706863 LEE CURTIS, SUSANNAH K GB 0 0 0 0 0 Oo 0 0 oO 0 0 0)
8700613270 LEADERSHIP PARTNER PALDAN NO 0 0 0 0 0 O 0 0 0 Qa Oo 0
8702099520 HESTEN, KJETIL GAUTE NO 0 0 0 0 0 0 0 0 0 0 0 0
8702059456 HAUGLI, MONA NO 0 0 0 0 0 0 0 oO Oo 0 0 0

594560 FREEMAN, MELISSA US 0 0 0 Oo 0 0 0 0 Q o 0 0)

596116 SHAVER, PATRICIA J US 0 oO 0 0 0 0 0 0 0 0 0 0)
8702060544 TROND ARILD VEISTEN NO 0 0 0 0 0 0 0 oO 0 0 0 0}

597972 BACA, JANET L US 0 0 0 0 0 0 0 0 0 0 0 0}
8906195128 STEFFEN, SVEN DE 0 0 0 0 0 oO 0 0 0 oO 0 0
8701911190 KJAERLAND, BJOERN TORE NO 0 0 0 0 0 0 0 0 0 0 0 0
8103337970 HOEHOLM I/S DK 0 0 0 0 0 0 0 0 0 0 0 0)
8404553093 SWARTZ, ANDERS SE 0 0 0 0 0 0 0 0 0 0 o 0
8404494362 JOHANSSON, ELLINOR SE 0 0 0 0 0 0 0 0 0 0 0 0

583026 BARNETT, PATRICIA US 0 0 0 0 0 0 0 0 0 0 0 0
8702025817 BAEVRE, JOHANNES NO 0 0 Oo 0 0 0 0 0 0 0 0 0}
8404541765 HAEGGSTROEM, EVA SE oO 0 0 0 oO 0 0 oO 0 0 0 0
8702056941 ROEDDE, GEIR EGIL NO Oo 0 0 0 0 0 0 0 0 0 0 0

583088 IDOWU, OLUSEGUN O US 0 0 0 0 0 o 0 0 0 0 0 0}

583090 DIEGO, EDWARD US 0 0 0 0 0 oO 0 0 0 0 0 0
8702021359 NES, ODDMUND NO 0 0 0 0 0 0 0 0 0 0 0 0

579353 SHARPE, KATHY J US 0 0 0 0 0 0 0 0 0 0 0 0
8404517894 ROSVALL, HELENA SE 0 0 0 0 0 0 0 0 0 0 0 0
8404413492 GIDLUND, PETER SE 0 0 0 0 0 0 0 0 0 0 0 0}
8404501441 THOR, HANS SE 0 0 0 0 0 0 0 0 0 0 0 0)

582141 CROUCH, CHRISTOPHER M US 0 0 0 0 0 0 0 0 0 0 17.69 17.69}
8404510611 SVANE, GUN SE 0 0 0 0 0 0 0 0 0 0 0 0

582139 GUTIERREZ, PATRICIA US 0 0 0 0 o 0 0 0 0 0 0 0}

580877 GUTIERREZ, ART US 0 0 0 0 0 0 0 0 0 0 0 0}

581520 TIMMS, BRENDA L US 0 0 0 0 0 0 0 0 0 0 0 0}

583131 SUTTLE, MICHAEL H US 0 0 0 0 0 0 0 QO 0 0 0 0

585385 HUNN, SARA US 0 0 0 0 0 0 0 0 0 0 0 0

585763 CUTILLO, DAMIAN US 0 0 o 0 0 0 0 0 oO 0 0 0)
7670695426 BAABOU, SAID FR 0 oO 0 0 0 42.85 0 42.85 0 0 0 0)

586380 FOX, DANIEL G US 0 0 oO o 0 0 0 0 0 0 0 0)
8404558122 ERIKSSON-RYD, KERSTIN SE 0 0 0 0 0 0 0 oO 0 0 0 0
8702067103 BJOERU RAGNAR KRISTEN NO. 0 0 0 0 0 0 0 0 0 0 0 0

587035 KILGORE, HOLLY US 0 0 0 0 0 0 0 0 oO 0 0 0}
8906188233 BRAUN, PER GUNNAR DE 0 0 0 Oo 0 0 0 0 0 0 0 0}

581194 STRAIGHT, FREDERIC US 0 0 0 0 0 0 0 0 0 0 0 0}
8404534444 FRIDH, ANDREAS. SE 0 0 0 0 0 0 0 0 o 0 0 0

594862 KIEL, DONNA M US 0 0 0 0 0 0 0 0 0 0 0 0}

583349 EARL, LAURIE A US 0 0 0 o 0 0 0 0 0 0 0 0

583669 LINDINBERGER, JILL A US 0 0 O Oo 0 0 0 oO 0 0 0 0}
8003562333 SLOOTEN, CYNTHIA C C NL 0 0 0 0 0 0 0 0 0 0 0 0]
8905901700 GREEKTOURS. DE 0 0 0 O 0 o O 0 0 0 0 0)
7800003492 COLLODEL, LISA IT 0 0 0 0 0 0 0 0 0 0 QO 0)

582096 ARIAS, REYNA US 0 0 0 0 0 0 0 0 0 0 0 0}

582418 PAFFIE, JOSEPH US 0 0 0 0 0 0 0 0 0 0 0 0}

583370 HAAG, CHRISTOPHER R US 0 0 0 0 0 0 0 0 oO 0 0 0)
8404331820 VENT TEKNIK SE 0 0 0 0 0 0 0 0 0 0 0 0
8003189140 SCHOOP, ASTRID M NL 0 0 0 0 0 0 0 0 0 0 0 0}

582461 LONG, JAMES US 0 0 0 0 0 0 0 0 0 0 0 0)
8103346001 BUERNSHOLM, EA DK 0 oO 0 0 0 0 0 0 0 0 0 0

588964 GREENBAUM, KATHLEEN us 0 0 0 0 o 0 0 0 0 0 0 0}

581787 MEDLOCK, NYLAJ US 0 0 0 Q 0 0 0 0 0 0 0 0|

582129 VERA, ERASMO US 0 0 0 0 0 0 0 0 0 0 0 0}

582130 RODRIGUEZ, CARLOS US 0 0 0 0 0 0 0 0 0 0 0 0
7670696829 FATH!, LOKMAN FR 0 0 0 0 Q 42.85 0 42.85 0 0 O 0)

583068 SHAUGHNESSY, SUE Us 0 0 0 0 0 0 0 0 0 0 0 0

§83071 PEIL, RALPH G us 0 0 0 0 0 0 0 0 0 0 oO 0

579029 FREDRICKSON, ALEX US 0 Oo 0 0 0 0 0 0 0 0 0 0
8003572791 CATIK, OSMAN NL 0 0 0 Oo 0 oO 0 0 0 o 0 0
8003566193 VAN DER MEY, GIJSBERT NL 0 0 0 0 0 0 0 0 0 0 0 0}

581476 MELANCON, MARK D US 0 0 0 0 0 0 0 0 0 0 0 0}
8906191642 BRUNKAL, MONIKA DE Oo 0 0 0 0 0 0 0 0 0 0 0
8103346006 MAJBRITT & LARS STAUN-JAKOBSEN DK 0 0 0 0 0 0 0 0 0 0 0 0
8701907990 SUNDE, BJOERN KRISTIAN NO 0 0 0 9 o 0 0 0 0 0 0 0
8906165188 ROBERTZ, LUDWIG DE QO 0 0 90 0 0 0 0 0 0 0 0

588414 TARROLLY, CHRISTINE L US 0 0 0 0 0 0 0 0 0 0 0 0}
8906178775 CASTAGNA, ULRIKE DE 0 0 0 0 0 0 0 oO 0 0 0 0|
8906176751 MUELLER, HARALD DE 0 oO 0 0 0 0 0 0 0 0 0 0

589066 RYBA, BRIAN US 0 0 0 90 0 0 0 0 0 oO 0 0}

584772 RIVERS, CYNTHIA US 0 0 0 0 0 0 0 o 0 0 o 0
8003559135 KATWIJK VAN, IWAN NL 0 0 o oO 0 0 0 0 0 0 0 0}
8003552047 JANSSEN, PATRICK P.R.H.M NL 0 0 0 0 0 0 0 0 0 0 0 0)
8003506511 GEERTS.G NL 0 0 0 o 0 0 0 0 0 0 0 0)
8003567338 BERGHUIS, SYLVIA YVONNE. NL 0 0 0 0 0 0 0 0 0 0 0 0}
8702086691 OTERHOLT, MIKAL NO 0 0 0 0 0 0 0 0 0 0 0 0)

588346 SLAVIN, BO US Oo 0 0 0 0 0 0 0 0 0 0 0

586794 KIM, JOSHUA P US 0 0 0 0 Q 0 0 0 0 oO oO 0}

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A I B l l I I I ] I I I I I I
[28389] 6906189673 MYSACK, WOLFGANG DE 0 0 0 0 0 0 0 0 0 0 0 0
[26390] 596004 NEWMAN, BRYON K us 0 ° 0 0 0 0 o 0 0 0 0 O}
28391 596018 FORREST, GARY W us 0 0 0 0 0 0 0 Oo 0 0 0 0
[26392] 8404547189 WERRNHOLM JERRY SE 0 0 0 0 0 0 0 0 0 oO 0 Q
[28393] 596636 WEHLING, ROBERT D us 0 0 0 0 0 0 0 0 0 0 0 0
[28394] 596654 STRINGER, GRETCHEN E us 0 0 0 0 0 0 0 0 0 0 0 0}
26395) 596955 THOMAS, CHRIS us 0 0 0 0 0 0 0 0 0 0 oO Q|
[26396] 8003514861 SCHOUTEN = JOLANDA&RAYMOND = NL 0 0 0 0 0 0 0 0 0 0 0 0
[28397| 8906179464 MUCHA, VOLKMAR DE 0 0 0 0 0 0 0 0 0 0 0 0
28396] 8906177698 LAU, HELGA DE o 0 o 0 0 0 oO 0 0 0 0 oO
[28399] 598495 PANZER, SARAH L us o 0 0 0 0 0 0 0 0 0 0 q
[28400] 589239 UNUMB, TAD T us 0 0 0 0 0 0 0 0 0 0 0 0
28401 595583 VIDA, CATHERINE & AMANUEL us 0 0 0 0 0 0 0 0 0 0 0 0
593906 COOPER, RUSTY us 0 0 0 0 0 0 0 0 o 0 0 Q
6103329425 ANDERSEN, JORGEN PETER DK 0 0 0 0 0 0 0 0 0 0 0 0
28404] 8103353340 JENSEN, PETER KRAGH P DK 0 oO 0 0 0 0 0 0 o 0 0 oO
[28405] 589220 BRODIE, DIANNE E CA 0 0 0 0 0 a 0 0 0 0 0 0}
[28406] 591355 HURST, WRAY M us 0 0 0 oO 0 0 0 0 0 a 0 9
28407 592372 LORENZ, AARON M us 0 a 0 0 0 0 0 0 0 0 0 oO
[28408] 8003578363 OUSSOREN, CORNELIS NL 0 0 0 0 0 0 0 0 0 0 0 0
[28409] 8103335354 Team Denning OK 0 0 0 0 0 0 0 0 0 0 0 0
(28410) 593015 LUSK, GINA us 0 0 0 0 0 0 0 0 0 0 0 0
[28411] 8906157141 STEFFEN, HENDRIK DE 0 0 0 0 0 0 0 0 0 0 0 0}
[26412] 8404575720 JOHANSSON, ROSE MARIE SE 0 0 0 0 0 0 0 0 0 0 0 O|
[26413] §93921 WERNER, JACK us 0 0 0 0 0 0 0 0 0 0 0 q
28414) 8404575719 ROSELL, PIERRAA SE 0 0 0 0 0 0 0 0 0 0 0 0
[28415] 589559 PEREZ, FRANCES L us 0 0 0 0 0 0 0 0 0 0 0 0
[28416] 8882731736 MORRELL, PETER D. GB 0 oO 0 0 0 0 0 0 0 0 0 0
28417 590300 REILEY, STACY A US 0 Q 0 0 Q 0 0 Q Q Q Q 0
[28476] 590291 SASSONE, TERRI L US 0 0 oO 0 0 0 0 0 0 0 0 O}
[28479] 590294 RICHARDSON, WILLIAM J CA 0 0 o 0 0 0 0 0 0 0 0 oO
28420| 8404561802 LYRESTEN, TOMAS SE 0 0 0 0 0 0 0 0 0 0 0 0
590621 HOPFFGARTEN, M. | us 0 0 0 0 0 0 0 0 0 0 0 Qo
8905928180 DUERRSCHMIDT, GEORG DE 0 0 ° 0 0 0 0 0 oO 0 0 0
591693 PATTI, THOMAS us 0 0 0 0 0 0 0 0 0 0 0 0
592075 SALCIDO, DEBBIE K us 0 0 0 0 o 0 0 0 0 0 0 O
592716 DEAN, SHANTELL us 0 0 0 0 0 0 0 0 0 0 0 0
593916 PATTERSON, TIMOTHY J us 0 0 0 0 0 0 0 0 0 0 0 Q|
8003554340 LANGEVELDE VAN, JAN NL 0 0 0 0 0 0 0 0 0 0 0 0
618725 DENET, SHELDON G CA 0 0 0 0 0 0 0 0 0 0 0 Q|
€103353391 LARSEN, BERIT DK 0 0 0 0 0 0 0 ° oO 0 0 0
589481 HAYES, LATARA us 0 0 0 0 0 0 0 0 0 0 0 0
8103338569 NIELSEN, BJARNE DK 0 0 0 0 0 Oo 0 0 0 0 0 O
590532 LEBEAU, PIERRE us 0 0 0 0 0 0 0 0 0 0 0 0
8404543202 BLUELOG HB SE 0 0 0 0 0 0 0 0 0 0 0 0
591993 JONES, GWENDOLYN M us 0 0 0 0 0 0 0 0 0 0 0 O
28435] 592340 HEWETT, JASON C us ° 0 0 0 0 0 0 0 0 0 0 |
[26436] 8906195411 FRIEDRICH, LIESELOTTE U. EUGEN DE 0 0 0 0 0 0 0 0 0 0 0 0
[28437| 593248 WHISTLER, TERRILYN us o 0 0 0 0 0 0 0 0 Oo 0 |
28438 594165 APPLEGARTH, MARK A us 0 0 0 0 0 0 0 0 0 0 0 0
[28439} 593592 GARRETT, LEE us 0 0 0 0 0 0 0 0 0 0 0 0
28440] 591308 FRATERNAL ORDER OF POLICE #112 us 0 0 0 0 0 0 0 Qo 0 0 0 0
[28441] 8701503400 ELLEVOLD, GUN-HELEN NO 0 0 0 0 0 ° 0 0 0 0 0 0
[28449| 593572 REYES, JENNIFER M us 0 0 0 0 0 0 0 0 0 oO 0 Q
[28443] 591314 STRENGTH, BARBARA A us 0 0 0 0 0 0 0 0 0 0 0 0}
[28444] 591334 WILLIAMS, CHRISTINE L & ROBERT us 0 0 0 0 0 0 0 0 0 0 0 0
[28445] 592354 REED Ill, ARTHUR W us ° 0 0 0 0 0 0 0 0 0 0 oO
[28446] 592355 BARTLEY, JEAN W us 0 0 0 o 0 0 0 0 0 0 0 |
[28447| 8003576050 GOEDEGEBUURE, CORNELIS NL 0 0 0 0 0 0 0 0 0 0 0 0}
8906189069 BOOS, STEVEN DE 0 0 0 0 0 0 0 0 0 0 0 O|
8702017196 BAEROE, BJOERN NO 0 0 0 0 0 0 0 0 0 0 0 0
7170112008 LEITE, ARTUR FREITAS PT 0 0 0 0 0 42.85 0 42.85 0 0 0 0
592975 LEWIS, RAJON us 0 0 0 oO 0 0 0 0 0 0 0 Q
592984 LERNER, JEFF us 0 ° 0 0 0 0 0 0 oO 0 0 Q
8003569974 MAAS VAN DER, LEEN NL 0 0 0 0 0 0 0 0 0 0 0 ol
8003579747 SELLES, AJ. NL 0 0 0 0 0 0 0 0 0 0 0 0
7000198534 NAGY, JULIA AT 0 0 0 0 0 Oo ° 0 0 0 0 QO
8906176901 ORGATRON EDV-SYSTEME DE 0 0 0 0 0 0 0 0 0 0 0 0
7000204377 MUTAVDZIJA, MIJO AT 0 0 o 0 0 0 0 0 Oo 0 0 |
597995 HOFLICK, RODNEY & BARBARA cA 0 0 0 0 0 0 0 0 0 0 0 oO
8882734825 LEE, NICHOLAS B GB 0 0 0 0 0 0 0 0 0 0 0 0
28460] 8003554913 PRINSSEN GEELEN NL 0 0 0 0 0 0 0 0 0 0 0 0
[28464] 599267 FULSE, JARON J us 0 0 0 0 0 0 0 0 0 0 0 Q
[26462| 594937 MOFFIT, AMY L us 0 0 0 0 0 0 0 0 0 0 0 O
28463] 595248 ARCH FINANCIAL, LLC. us 0 0 0 0 0 0 0 0 0 0 0 0
[28464] 6882705317 GROBLER, ANDRE J GB 0 0 0 0 0 0 0 0 0 0 0 0
[28465] 8103345106 KRUSE, TEDDY TK DK 0 0 0 0 Qo 0 0 0 0 0 0 0
[28466] 7670701222 JACQUELINE, DANY FR 0 0 0 0 0 714.22 0 714.22 0 0 0 0
[28467] 597415 MIELS, KIRK H us 0 0 oO Oo 0 0 0 0 0 0 0 0
[28468] 599305 INTHALANGSY, Tl us 0 0 0 0 0 0 0 0 0 0 0 0
[28469] 8702097033 SOLHAUG, STIG OVE NO 0 0 0 0 0 0 0 Qo 0 0 0 0
28470| 8404531107 LUNDIN, PAR SE ° 0 ° 0 0 0 0 0 0 oO 0 oO
[28471 594623 FULGENZI, FRANCIS J us 0 0 0 0 0 0 0 0 0 0 0 0
[28472] 594630 SCHEPER, MICHAEL us 0 0 0 0 0 0 0 0 0 0 0 q)
[28473 594632 BROWN, J.C. us 0 0 0 0 0 0 0 0 0 0 0 0
(28474) 595260 DORAZIO, CRAIG us 0 0 0 0 0 0 0 0 0 0 0 0
[28475] 595264 COSTANZO, NICHOLE M us 0 0 0 0 0 0 0 0 0 0 0 oO
28476| 8003796449 GOMMEREN MAGOMEDHANOVA, JULIA NL 0 0 0 0 0 28.57 Oo 28.57 0 0 0 0
[28477] 8682708361 SMYTH, ROY RJ GB 0 0 0 0 0 0 0 Oo 0 0 0 O|
[28476] 596498 FLYNN, PETE B us 0 0 0 0 0 0 0 0 0 0 0 0
28479 597100 PETROSKI, DANIEL W us o 0 0 0 0 0 0 0 oO 0 0 Q|
[28460] 8906176280 KRIPPNER, FRANZ OE 0 0 0 0 0 0 0 o 0 0 0 0
[28481] 8702010138 HOLTET, OEYSTEIN NO 0 0 0 0 0 0 0 0 0 0 0 O|
2 595162 BASS, RICHARD us oO 0 0 0 0 0 oO 0 0 0 0 0

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599072 SIGGINS, DEVEN us 0 0 Qo 0 0 0 0 0 0 0 0 0
8906178587 TOHOBRIKE GMBH DE 0 0 0 0 0 QO 0 0 0 0 0 0
595676 MIRABELLA, MICHAEL US 0 0 QO 0 0 0 0 0 0 0 oO 0
7800023527 MARANGONI, CHIARA IT 0 0 0 0 0 0 0 0 0 0 0 0
8404581599 GS ALLSERVICE SE Qo 0 0 0 0 0 0 0 0 0 0 0
8404591159 FILANDER, JOHAN SE 0 0 0 0 0 0 0 0 0 0 0 0
8404551111 TIED COM SE 0 0 0 0 QO 0 0 0 0 0 0 0
8404520167 LAAG, PHILIP SE 0 0 0 0 0 0 0 Q 0 0 0 Q
597513 ARMSTRONG, BRUCE L US 0 0 0 0 0 0 0 0 0 0 0 0
596589 CHHORN, CHHOENN US 0 0 0 0 0 0 0 0 0 0 0 0
596554 WILLIS, RAMSEY J US 0 Q 0 0 0 0 0 0 Q 0 0 0
8906182164 JONAS, BRIGITTE DE 0 0 oO 0 0 oO 0 0 0 O 0 0)
8404498022 VIDBERG, PETRO SE 0 oO oO 0 0 0 oO 0 0 oO 0 0
8702093454 LIND, OLE KRISTIAN NO 0 0 Q 0 0 0 0 0 0 0 0 0
8906176090 KOBER, BERND OE 0 0 Q 0 0 0 0 0 0 0 QO 0
598795 WILLIAMS, CALVIN US 0 0 0 0 0 0 0 0 0 0 0 0
598799 WATKINS, MARCUS US 0 0 0 0 0 0 0 0 0 0 0 0
594479 BURT, SANDRA US 0 0 0 0 0 0 0 Q 0 0 0 0
7600875099 LABELLE, AURORE FR 0 0 0 0 0 571.37 0 $71.37 0 0 0 0
594497 ANDERSON, JOSEPH US 0 0 0 0 0 0 0 0 0 0 0 Q
NL 0 0 0 0 0 0 0 0 0 0 0 0
7800026210 AMATO, ALESSANDRA IT 0 Qo 0 0 0 0 0 0 0 0 0 0
596582 WARREN, WILLIAM P- us 0 0 0 0 0 0 0 0 0 0 0 0
§99374 GESSNER, KATHLEEN M US 0 0 Q Qo 0 0 0 0 0 0 0 0
7370168542 CHANCAY VALDIVIESO, LUISROBERTO ES 0 0 0 0 Oo 128.56 0 128.56 0 Qo 0 Q
8103344171 MOELLERNOERGAARD, OVE OK oO 0 oO 0 0 0 0 0 0 0 0 0
596485 MAXWELL, CORY J US 0 0 0 0 0 0 0 0 0 0 0 Q
599018 ZANGARI, MARLENE US 0 0 0 0 0 0 0 0 0 0 Oo 0
599353 WAY, BLAKE R CA 0 0 0 0 0 0 0 0 0 0 0 0
595602 MCKNIGHT, ROY G US 0 0 0 0 0 0 0 0 Qo 0 QO 0
8702096611 BAKKEN, ANJA SYNNOEVE NO 0 o 0 0 0 0 0 0 0 0 0 Oo
7170118483 RAFIQUE, ASIM PT 0 0 0 0 0 42.85 0 42.85 0 0 0 0
598077 TRUTTMAN, ANGELA US 0 0 0 0 0 0 0 0 0 0 0 0
598078 REIN, PATRICIA us 0 0 0 0 0 0 0 0 0 0 0 0
8702090893 ROENNING, INGVILD GRUBBEN NO 0 0 0 0 0 0 0 0 0 0 0 0
597517 BAYLESS, MICHAEL S US 0 0 0 0 0 0 0 0 0 0 0 0
§99052 DALBOSCO, RACHEL us 0 0 0 0 0 0 0 0 0 0 0 0
8702091141 LEIN, KRISTIN NO 0 0 0 0 0 0 0 0 0 o Oo 0
§95006 BEAULIEU, MARC CA 0 0 0 0 0 0 0 0 0 0 0 0
595322 HELMS, NATHANIEL F US 0 0 0 0 0 0 0 0 0 0 Q 0
7000195905 LATSCHKA, MICHAEL AT 0 0 0 0 0 0 0 0 0 0 0 0
8906176307 PFEIFFER, ALOIS DE 0 0 0 0 0 0 0 0 0 0 0 0
596843 RHOADES, KELLY US 0 0 0 0 0 0 0 0 0 0 0 0
597164 RANDOLPH, CYNTHIA A US 0 0 QO 0 0 0 0 0 0 0 0 0}
597174 POULAKIS, JODY S US 0 0 0 0 0 0 0 0 0 0 0 0
597500 WOODFIELD, SPENCER G us 0 0 0 0 0 0 0 0 0 0 0 0
8906176064 WUESTENROT BAUSPARBERATER DE 0 0 0 0 0 0 Qo 0 0 0 0 0
598092 GRAHAM, NATHAN US 0 0 0 0 0 QO 0 0 0 0 0 Q
598112 REEVES, LAWRENCE us 0 0 0 0 0 0 0 0 0 0 0 0
599046 SMITH, JOSEPH W US 0 0 0 0 0 0 0 0 0 0 Q Q
§94519 DJOKIC, VERA us 0 o 0 9 0 0 0 0 0 0 0 0
596676 SANSBURY, JEFFREY H us 0 0 0 Q 0 0 0 0 0 0 0 0
8906176621 POKROPP, CARSTEN DE 0 0 0 9 Qo 0 0 0 0 0 0 0
8404547085 JUTHENHOLTZ, ROBERT SE 0 0 0 9 0 0 0 0 0 0 0 Q
8003581851 SCHEPERS, HAM. NL Qo 0 0 9 0 0 0 0 0 0 0 Q
7800032588 FLIRI, MARIA IT 0 0 0 9 0 0 0 0 0 0 0 0
8404576363 WESTERLIND, MALIN SE 0 0 0 0 0 0 0 0 oO 0 0 0
8702099514 SVENDSEN, ALLIS NO 0 0 0 oO 0 0 0 0 0 0 0 0
8404584392 JOHANSSON, ANDERS SE 0 0 0 0 0 0 0 0 0 0 0 0
8003569133 HUBERTS, JAN NL 0 0 0 0 0 0 0 0 0 0 0 0
8906213934 KRELLER, STEFAN DE 0 0 0 0 0 0 0 QO 0 0 0 0
8404576201 HYVOENEN, KARI SE 0 0 0 0 0 0 0 0 0 0 0 0
8906182518 KRAUSE, ROLF DE 0 0 0 0 0 0 0 0 0 0 0 0
594518 HUFF, JOSHUA US 0 0 0 0 0 0 0 0 0 0 Qo 0
8404594781 JANSON, ASA SE 0 0 0 0 0 0 QO 0 0 0 0 0
595154 LEWIS, REGINA S US 0 0 0 0 0 Q 0 0 0 0 0 0
595469 KNIPPERS , DR JOHN C US 0 0 0 0 0 0 0 0 0 0 0 0
596372 GRAVLIN, IRWIN D US 0 0 0 0 0 0 0 0 0 0 0 0
8003577775 TUINENBURG, MARCO NL 0 0 0 0 0 0 0 0 0 0 0 0
598585 LEE, KIMON K US 0 0 0 0 0 0 0 0 0 0 0 0)
7800004442 GIANNICO NICOLA IT 0 0 0 0 0 0 0 0 0 0 0 0
8906200714 PONTOW, GERLINDE DE 0 0 0 0 0 0 0 0 0 0 0 0
8906146060 KAISER, RALF DE 0 0 0 0 0 0 0 0 0 0 0 0
594545 REYNOLDS, BRIAN US 0 0 0 0 0 0 0 0 0 0 0 0
594550 ELLIS, COLIN us Q 0 0 0 0 0 0 0 0 0 0 0
584135 SIMMONS, TOMMIE G US 0 0 0 0 0 0 0 0 0 Q 0 0
8882612890 COOKE, MARK A GB 0 0 0 0 0 0 0 Qo 0 0 Qo 0
8906150501 COM GMBH DE 0 0 0 0 0 0 0 0 0 0 0 0
597736 SPARKS, SABRINAA US 0 0 0 0 0 0 0 0 0 0 0 0
8103351887 KASPER, POUL ERIK PK OK 0 0 0 0 0 0 0 0 0 0 0 0
7000185872 HASLINGER, DANIEL AT 0 0 0 0 0 0 0 0 0 0 0 0
8404531337 SOERLIN, MARY ANN SE 0 0 0 0 0 0 0 0 0 Qo 0 0
596615 ZAVALA, ERICKA Us 0 0 0 0 a 0 0 0 0 0 0 0
596631 THOMPSON, SONYA US 0 0 0 0 0 0 0 0 0 0 0 Q
596630 ESPINOZA, MELENIE D US 0 0 0 0 0 0 0 0 0 0 0 0
597240 GIORDANO, ANTHONY Us 0 0 0 0 0 0 0 0 0 0 0 0
8404548370 BERG, ROBERT SE 0 0 0 0 0 0 0 0 0 0 0 0
8882712011 NKUMANDA, RACHEL W GB Qo 0 0 0 0 0 0 Q 0 0 0 0
7000178943 HOLCIK, CHRISTIAN AT 0 0 0 0 0 0 0 0 0 0 0 0
8906185500 GLAENTZ, REGINA DE 0 0 0 0 0 0 0 0 0 0 0 0
598825 RANKIN, DAVID S US 0 0 0 0 0 0 0 0 0 0 Q 0
8906146091 LEMPERTZ, CARL DE 0 0 0 0 0 0 0 0 0 0 Q 0
8404053890 SAUDORF, PETER SE 0 0 0 0 0 0 0 0 0 0 0 0
8702008153 HJELMEN, SYVER NO 0 0 0 9 0 o oO 0 0 0 0 0

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US 0 0 0 0 Q 0 0 0 0 0 0 0
820: 609885 STULTZ, MARY G US 0 0 0 0 0 0 0 0 0 0 0 Q
610183 STRUTH, WADE CA 0 0 Qo 0 0 0 0 0 0 0 0 0
2 610488 AGGERS, JANE US 0 0 0 Q QO 0 oO Q 0 0 Q Q
611733 ROBINETTE, MARK C US 0 0 QO 0 Q 0 0 0 0 0 0 0)
8202837977 KOCK, PETER FI 0 0 0 0 0 0 QO 0 0 0 0 a
8906206185 DEIMLING, KLAUS - HOLGER DE 0 0 0 0 Q 0 0 Q 0 0 0 Q
6142984 CORBETT, ANGELA US 0 Q 0 Q 0 Q 0 0 0 QO 0 0
611989 SMITH, DARLA US a 0 0 0 0 0 0 0 0 0 0 0}
8702013767 REIERTSEN, GEIR NO O O Qo 0 0 0o 0 oO o O 0 0
8103348224 JOHANSEN, NIELS-JOERGEN DK 0 Q oO 0 0 0 0 0 0 Q 0 Q
8003578160 STAM, ELLE PM NL Qo Q 0 0 0 Qo 0 0 0 0 0 0
611636 BARKER, CAROLYN US 0 0 0 0 0 0 0 0 0 0 0 0
612634 MACKAY, COLLEEN US 0 0 Qo 0 oO Qo Qo 0 0 0 Q Q
612929 DIGGS, AISHA K US 0 0 Qo 0 0 0 0 0 Q 0 Q 0
7670692853 SIGRIST, ALEXANDRE FR 0 0 0 0 Q 42.85 0 42.85 Qo o 0 0
8906183400 OBERHAUSER, ANNIKA DE 0 Qo Qo 0 QO 0 0 Q a oO 0 0
26218) 609518 LANNING JR., JASON L US 0 Qo 0 0 Qo 0 0 0 0 a 0 0
7670693854 GRECZKA, PRISCILLIA FR 0 0 0 Q Qo $71.38 0 $71.38 QO 0 0 Q
611336 COMPTON, DAVID us 0 0 0 0 0 0 0 0 0 0 0 0
8906191625 GIERKE, ANGELIKA DE 0 QO 0 0 0 0 Q 0 0 0 0 Q
822: 611978 RUNKLE, DAVID C US 0 Q 0 0 0 0 0 0 0 0 0 0
8404597731 MALMS ROER & SMIDE AB SE 0 Q 0 0 0 0 0 0 0 Q 0 0
8404604708 NAEAES, HELENA SE 0 a 0 0 Qo Q Q 0 0 0 0 0
8702013107 HANSSEN, ELIN HOEL NO 0 0 0 0 0 0 0 0 0 0 0 0
7470079135 ANTHONIPILLAI, YOGANATHAR CH o 0 Q 0 0 177.69 0 177.69 0 0 Qo 0
612647 SEELBAUGH, JOSHUA K US Q 0 0 0 0 Q 0 Q 0 0 0 Q
612950 KERR, ALYSSA L US QO 0 0 0 0 0 0 a 0 0 0 q
2010263 DOMURAD, DANUTA CA oO 0 QO 0 Q 0 0 0 0 0 0 0
8702125176 NYGAARD, ERIK NO Qo 0 0 Qo 0 Q 0 Q 0 0 0 0
613604 JACKSON, CHAD M us 0 0 QO 0 0 0 0 Oo 0 a 0 0}
8906199354 HEIL, MARLIES OE 0 0 QO 0 0 0 0 0 0 0 0 Qo
614253 YOUNG II, THOMAS A us 0 0 0 0 0 0 0 0 0 0 0 0
614241 SIMMONS, VICKI L US 0 O 0 O 0 0 O 0 oO 0 0 0
611644 NICHOLAS, DALE A us 0 0 oO 0 0 0 0 Qo 0 0 0 0
28236) 615054 MCCULLOUGH, JOANN us 0 Qo 0 0 0 Q 0 Q Q 0 0 Q
8103330847 HANSEN, MICHAEL M DK 0 0 0 QO 0 0 19.45 19.45 0 0 0 0
8103347587 RASMUSSEN, LENE DK 0 0 0 0 0 0 9 0 Q 0 Q Q
8103350784 MOELLER, JERN BALLE OK 0 Q oO 0 oO 0 0 0 0 0 0 Q
8003433500 POTS, GERHARDUS H NL Q 0 0 0 0 0 Qo 0 0 0 0 Q
618851 BOCK-HELMS, LONDA R US 0 Q 0 0 0 oO 0 0 0 0 0 0
8103375209 LONE KOHLER DK 0 0 0 0 0 Qo 0 0 0 0 0 0
8003588302 VECHTDALSOFT C.S. NL 0 0 0 0 0 0 Qo QO 0 0 0 0
616943 SAREMI, LISA US Q 0 0 Q 0 0 0 0 0 0 0 0
617258 HERDER, JAMES M US Q 0 0 0 Q 0 0 0 0 0 0 a
617571 BROOK, BRADEN P Us Q 0 0 Q QO 0 0 Qo 0 0 0 0
618859 HERRINGTON, MARGARET US 0 Q 0 0 0 Qo 0 0 0 0 QO 0)
7800017891 SPINELLO, TIZIANA IT 0 0 0 0 0 0 0 0 0 0 0 0
8906208424 BAUER, ILJA DE 0 0 0 0 0 a Qo 0 0 0 0 0
617567 TREJO, CARLOS A US 0 0 Q 0 0 0 Q 0 0 0 0 0
615343 JOHNSON, DWAYNE A US 0 0 0 Q 0 0 0 0 0 0 0 0
615344 BARLETT, GLENN D us 0 0 0 0 0 0 Q 0 0 0 0 Q
8702069372 TANGEN, HENNING NO 0 Qo 0 Q 0 0 0 0 0 0 0 0
8906226569 ZOGLAUER, MARTINA DE 0 Q 0 0 0 0 0 0 Q 0 Qo 0
615984 ZEIS, ROBERT J US Qo 0 0 a 0 0 0 0 Q 0 0 Q
615986 MILLER JR, LEON US 0 Q 0 0 Q Q 0 Q 0 0 0 Q
8906206125 LEHRMANN, MARCUS DE 0 0 0 0 0 0 0 0 Q 0 Q Q
8404590402 LINDEMAN, LARS SE 0 0 0 0 0 0 0 Q Q 0 0 Q
616958 JACKSON, GLORIAA US 0 0 0 0 0 0 0 0 0 Q 0 0
8404596992 MP-S MAALERI & KAKEL SE oO 0 0 0 Qo 0 0 0 0 Qo 0 Q
8702148354 HAUGE, ELISE NO 0 0 0 0 0 0 Q 0 0 0 0 0
8906195627 WEIMAR, MARC. DE 0 0 0 QO 0 0 Qo 0 0 0 0 0
617213 LUCAS, TINAM US 0 oO 0 0 QO Q Qo Q 0 0 0 0
8702068601 HANSEN, MAGNUS NO 0 Qo 0 0 0 0 0 0 0 Q 0 0
609898 WILLIAMS, NADIA US a 0 0 0 Q Q 0 Q Q 0 0 Q
611763 WALKER, DERRICK US 0 0 0 0 0 0 0 0 Q Q 0 Q
8003595383 4MASTER ASSURANTIEN/FINANCIELE DIE! NL 0 0 0 Qo 0 0 0 0 Q 0 0 Q
8702103109 MOKKELBOST, IVAR ARNE NO 0 Q 0 0 0 0 0 0 Oo 0 Q 0
8702123091 HETLEFLAAT, KARL NO 0 Q 0 0 0 0 0 QO 0 0 0 Q
613391 VALDEZ, ERIC US 0 0 0 0 0 0 0 0 0 0 0 0
619144 PEARCE, MAYLENE W US 0 0 0 0 0 0 0 0 0 0 0 0
615279 HESS, RODNEY N US 0 0 0 0 0 0 0 0 0 0 0 0
8906179919 TEAM SORSUM DITTRICH, ELFRIEDE DE 0 0 0 0 0 0 0 0 0 Q 0 0
616252 FABRIS, JOHN & GRACE us 0 0 0 0 0 0 0 0 0 0 0 Q
8103375566 BILSTRUP SOEREN DK 0 0 0 0 0 0 0 0 0 0 0 a
8702108782 4 RIDERS NO 0 0 0 0 0 Q 0 0 0 0 0 0
617871 WHITE, ALISON A US 0 0 QO 0 0 0 0 0 0 0 0 0
617221 BASKIN, MAYRA US Q 0 0 0 0 Q 0 0 0 QO Q Q
8103348475 JBS MARKETING V/ K BOYER-SOEGAARD DK 0 Qo 0 Qo 0 0 0 0 0 0 0 0
618181 MENO JR, JOSEPH V us 0 0 0 0 0 0 QO 0 0 0 Qo 0
8103349798 JENSN, BOCH OK 0 0 0 0 0 Q Q 0 0 0 0 0
8702118582 FLAEKOEY JONSGARD, MARI NO 0 0 0 0 0 0 0 0 QO 0 0 0
8404526090 LILLIEROTH, CATARINA SE QO 0 QO Q 0 0 0 0 Q 0 Q 0
8702117872 KJOERUM, TOR NO 0 0 0 Q a 0 0 0 QO 0 0 Q
8870124209 ADENIYI, BETTY O GB Q Q 0 0 0 0 64.67 64.67 0 0 0 0
615301 FREDRICKSON, SHIRLEY CA 0 0 Qo 0 0 0 Q 0 0 0 0 Q
615307 HLAVIN, ANDREW W. US 0 0 0 0 0 Q 0 0 0 QO 0 0
8702148810 BUD NIELSEN SMAAGODS NO 0 0 0 0 0 0 0 Q 0 Qo 0 0
8702117608 HOLTER, SIV NO Oo 0 0 Q Qo Q 0 Qo 0 0 Q Q
616592 BROWN, COREY R US 0 0 0 0 0 Q 0 Q Q 0 0 0
594471 LAW, MARCIA US 0 0 0 0 0 0 Qo 0 oO 0 0 0
8404500185 OJAB TRADING AB SE 0 0 0 0 0 0 a 0 0 0 0 0
598122 MAHER, PAT & JOHN US 0 0 0 0 0 0 Q 0 0 0 0 a
§98135 WOODS, TIMOTHY. Us QO oO 0 0 o 0 0 0 0 0 0 o

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8702113352 HENRIKSEN, EIRIN NO 0 0 0 0 0 0 0 0 0 0 0 Q
618565 CAMPBELL, LOUIS US 0 0 0 0 0 0 0 0 0 0 0 0)
618570 SMITH, SYLVIAM us 0 0 0 0 0 0 0 0 0 0 0 0
618581 WINDOWS, MARTIN A us 0 0 0 0 0 0 0 0 Q 0 0 Q
8702046178 ROEED, INGER LISE NO 0 0 0 0 0 0 0 0 0 0 0 0
8103358141 KIRKEGAARD, INGER TRINE OK 0 0 0 0 0 0 15.41 15.41 0 0 oO 0
615096 MOYER, MICHAEL L US 0 Q Qo 0 0 0 0 0 0 0 0 9
8906193177 FITZKE, SIEGFRIED DE 0 0 0 0 0 0 0 0 0 0 0 0
8702118131 KRISTIANSEN, MAY TOVE NO 0 0 0 0 0 0 0 0 0 0 0 0
616013 PADEN, MICHAEL J US 0 0 0 0 0 0 0 0 0 0 0 0
616026 KATZ, JEREMY R US 0 0 0 0 0 0 0 0 0 0 0 0
8702088854 SOLBAKKEN, GJERMUND NO. 0 0 0 0 0 0 QO 0 0 0 0 0
617312 RING, VICKIE J US o O oO 0 0 0 0 0 Oo oO Oo 0
8702128313 HAGEN, JAN ERIK NO 0 0 0 0 0 0 0 0 0 0 0 0
618597 ROGERS, LARRY D US 0 0 0 0 0 0 0 0 Qo 0 0 0
618940 FLORES, DENNIS US 0 0 0 0 0 0 0 0 0 0 0 0
8906217724 HANNEMANN, SANDRA DE 0 0 0 0 0 0 0 0 0 0 0 0
8103359493 HJOELLUND, HENRIK DOK 0 0 0 0 0 0 0 0 0 0 Q 0
8702121312 HABBESTAD, EIVIND NO 0 0 0 0 0 0 0 0 0 0 0 0
7000195797 RODRIGUEZ, PABLO AT 0 0 0 0 0 0 0 0 0 0 0 0
8003579815 HOLSAPPEL, CAROLINE NL Qo 0 0 0 0 0 0 0 0 0 0 0
8702125622 REINHOLDTSEN, BRITT SYNNOEVE NO 0 0 0 0 0 0 0 0 0 0 0 0
8702105246 VELDE, BRITT MARIT NO QO 0 0 0 0 0 0 0 0 0 0 0
8404509393 BODIL O LARS KONSULT HB SE 0 0 0 0 0 0 0 0 0 0 0 0
8404611109 ANDERSSON, FREDRIK SE 0 0 0 0 0 0 0 0 0 0 0 0
8103358461 AGERHORN, MICHAEL DK 0 QO 0 0 0 0 0 0 0 0 0 0
615819 YONAMINE, GARY S us 0 0 0 0 0 0 0 0 0 0 0 0
616139 RILEY, LOLA J US 0 0 0 0 0 0 0 0 ° 0 0 0
8702079536 THORDARSON, CHRISTIAN NO 0 0 0 0 0 QO 0 0 0 0 0 0
8906201971 ELESCOO TRADING GMBH DE 0 0 0 0 0 0 0 0 0 0 0 0
8906217294 KOEHLER, HILMAR DE 0 0 0 0 0 0 0 0 0 0 0 0
618059 LOWRY, JAMES US 0 0 0 0 0 0 0 0 0 0 0 0
617705 YOUNG, AARON N US 0 0 0 0 0 0 0 0 0 0 0 0
8882719792 ALBRIGHT, NIGEL GB 0 0 0 0 0 0 0 0 0 0 0 0
682949 STOVER JR, DEVERE W US O Oo Oo o 0 QO 0 0 0 0 0 0
618717 RODRIGUEZ, JESUS us 9 0 0 0 0 0 0 0 0 0 0 0
8003585868 STICHTING ROKADE NL 0 0 0 0 0 0 0 Q 0 0 0 0
619379 BARNARD, JERI US 0 0 0 0 0 0 0 0 0 0 0 0}
8906183411 SCHIMMELPFENNIG, RAGNHILD DE 0 0 0 0 0 0 Q 0 0 0 0 0
8103359134 ALSTRUP, WINNIE DK QO 0 0 0 0 0 0 0 0 0 0 0
8882715275 CROSSLEY, SANDRA A. GB 0 0 0 0 0 0 Q 0 0 0 0 0
8882738895 MCCORMACK, MATTHEW P. GB 0 0 0 0 0 0 0 0 0 0 0 0
8906186103 HAEUSSER, MICHAEL DE 0 0 0 0 0 0 0 0 0 0 Qo 0
8003594288 SMITS, ANDREA NL 0 0 0 0 0 0 0 0 0 0 0 0
617456 SORENSEN, MIKE K US 0 0 0 0 0 0 0 0 0 0 Qo 0
618093 LINARES, FRANK us 0 0 0 o 0 0 0 0 0 0 0 0
8003570883 WANINK, JOHAN NL 0 0 0 9 0 0 0 0 0 o 0 a
8906179922 STERNITZKE, PETRA DE 0 0 0 9 0 0 0 0 0 0 0 0
619224 GARCIA, EDDIE US 0 0 0 9 0 0 0 0 0 0 0 0
§18321 PERKINS, J WADE US 0 0 0 9 0 0 0 0 0 0 0 0
618990 SCHMIDT, JILL US 0 0 0 9 0 QO Qo 0 0 0 0 0
619355 HAMILTON, LYNDA CA o 0 0 9 0 0 0 0 0 0 0 Q
619361 DWIGHT, MAKEISHA US 0 0 0 0 0 Qo 0 0 0 0 0 Q
8003585181 SOMSEN, ANK NL 0 o 0 0 o 0 0 0 0 0 0 0)
8003585188 SAAT, MARY NL 0 0 0 0 0 0 0 0 0 0 0 0
8702018978 HAUKEBERG, KJELL ROAR NO 0 0 0 0 0 Q 0 0 0 0 0 0
8702126291 TEAM LAURITSEN ANS NO 0 0 0 0 0 0 0 0 0 9 0 0
8906214559 FEHRMANN, NICOLE DE 0 0 0 0 0 0 0 0 0 0 0 0
8404617441 SVENSSON, MARI SE 0 0 0 0 0 0 0 0 0 0 0 0
8870125206 ANZAAR, UMAR M GB 0 0 0 0 0 32.33 0 32.33 0 32.33 0 32.33}
8003595455 WAVEREN VAN, MARTIN NL 0 0 0 0 0 0 0 0 0 0 0 0
614492 MCEUEN, NATHAN US oO 0 0 0 0 0 0 0 0O 0 O 0
8702098804 GUNNESTAD, LIV ANDERSEN NO 0 0 0 0 0 0 0 0 0 Q 0 9
8103351515 MORTENSEN, CHRISTIAN DK 0 0 0 0 0 0 0 0 0 0 0 0
8103357742 STEPHANSEN, CAMILLA OK 0 0 0 0 0 0 0 0 0 QO 0 0
8702105334 OEKO PRODUKTER NO 0 0 0 0 0 0 0 0 0 0 oO 0
616783 RUNYAN, MARC US 0 0 0 0 0 0 0 0 0 0 0 Q
8702015786 HERMANSEN, BAARD EGIL NO 0 0 0 0 0 0 0 0 0 0 0 0
8906193139 HAMMER, MARTIN DE 0 0 0 0 0 0 0 0 0 0 0 0
617736 VAUGHT, KATHIE US 0 0 0 0 0 0 0 0 0 0 Q 0
7770025961 RUDITIS, ARNIS IE 0 0 0 0 0 0 0 0 0 85.71 0 85.71
537870 ROBERSON, DAVID L us Qo 0 0 0 0 0 0 0 0 0 0 0
618373 BUTLER, DARYLL us 0 o 0 0 0 0 0 0 0 0 0 0
7670690757 KHALIL, MEHDI FR 0 0 0 0 0 0 0 0 0 42.85 0 42.85)
8103359862 THOMSEN, INGA ELISABETH DK 0 0 0 0 0 Q 0 0 0 0 0 Q
610174 WRIGHT, BRYAN US 0 0 0 0 0 0 0 0 0 0 0 0)
8103359429 BAK, BRIAN DK 0 0 0 0 0 0 0 0 Qo Q 0 0
8702110873 KOLLSHAUGEN, TROND. No 0 0 0 0 0 0 0 0 Oo 0 0 0
7000197669 GUENDEN, NILUEFER AT Qo 0 0 0 0 0 0 oO 0 0 0 0
609443 BOSCHMA, RYAN US 0 0 0 0 0 0 0 0 oO 0 0 0)
610759 WESTOVER, HEATHER S US 0 0 0 0 0 0 0 0 0 0 0 0)
8702096284 HANSEN, MARIT OPSAHL NO 0 oO 0 0 0 0 0 0 0 0 0 0
611384 ROSS-JOHNSON, TWANDER US 0 0 0 0 0 0 0 0 0 0 0 0
612025 MARCUM, TINA US 0 Qo 0 0 0 0 0 0 0 0 0 0
8003575718 TELIONIS, JOANNA NL 0 Qo 0 0 0 0 0 0 0 0 0 0
2010214 PERRON, BRIAN R US 0 0 0 0 0 0 0 0 0 0 0 0
8906206124 FREIHEIT, HOLGER DE 0 0 0 0 Qo 0 0 0 0 0 0 0
612671 SHERWOOD, SARAH US 0 0 0 0 0 0 0 0 0 0 0 0
8702109536 HANSEN, ARVE NO Qo 0 0 0 0 0 0 0 0 0 Q 0
611359 DIMENNA, GINO CA 0 0 0 0 0 0 0 0 0 0 0 0}
610475 ALLEN, JAYLYN US 0 0 0 0 0 0 0 0 0 0 0 0
8702127992 HOLEN, RUNE NO 0 0 0 0 0 0 0 0 0 0 0 0
613016 JACKSON, MICHELLE D US Qo 0 0 0 oO 0 0 0 0 0 0 0
613029 WILLIAMS, PAMELA Us 0 0 0 0 0 0 0 0 0 0 0 0)

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7670695386 SAMAIN, CLAIRE FR 0 0 0 0 Qo Q 42.85 42.85 a 0 0 Q
§86234 BARRETT, VICKY US Q 0 0 0 0 0 0 0 0 0 0 0
8003419480 BOURS, MARCO M.P.J NL 9 0 0 Q 0 0 0 0 0 0 0 0
8404548131 PEGAMAS SE 0 0 Q 0 0 0 0 0 0 0 0 0
584152 ZUBILLAGA, JANET W US 0 0 0 0 0 0 QO 9 0 0 0 Q
8103355671 GLYNGOE JENSEN, PIA OK 0 0 0 0 Qo 0 0 0 0 0 0 0
8003570125 GROENENBERG, SONJA NL 0 0 0 9 0 0 0 0 0 0 0 0
586315 EDWARDS, PERCY US 0 0 0 0 0 0 0 0 0 0 0 Q
8906143133 GORSKI, RALPH DE Qo 0 0 0 0 0 0 0 0 0 0 0
587308 MCCOY, ROBERT L US 0 0 0 0 0 QO oO 0 0 0 0o 0|
7670694950 SUC, JULIEN FR 0 0 0 0 QO 42.85 0 42.85 0 0 Qo Q
587943 MANN, DARLENE W US 0 0 0 0 0 0 0 0 0 0 a 0
587952 MAYS, CEDRIC / LULA US 0 0 0 0 0 0 13.86 13.86 0 0 0 0
8404586752 KARLSSON, PER-ANDERS SE 0 0 0 0 Qo 0 0 0 0 0 0 Q
8003569812 KAASHOEK, ADRIAAN NL 0 0 0 0 0 0 0 0 0 0 a Q
§86917 JOHNSON, SHANNON us 0 0 0 0 0 O 0 oO oO 0 0 0}
8906194984 SCHIRRWEIT, JOERG DE 0 0 0 0 0 0 0 0 0 Qo 0 0
585609 PITMAN, SHAWN W.J CA 0 0 0 0 0 0 Qo oO 0 0 0 0
8003570174 HODZIC, DZEVAD NL 0 0 0 0 0 0 Q 0 0 Q 0 0
7370163794 GUERRERO EXPINAR, DANIEL Es Q 0 0 0 0 42.85 0 42.85 0 0 0 0
8103355675 GREGERSEN, TOMMY OK 0 0 0 0 0 0 0 0 0 0 0 0
587969 WOODS, DE VERAT US 0 0 0 0 0 0 QO 0 0 0 0 a
8906194109 NACHTWEY, GABRIELE DE 0 0 0 0 0 0 QO Q 0 Oo 0 0
7800012161 KASERER, EGON IT 0 0 0 Q 0 QO 0 0 0 oO 0 0
8404559899 MELK!, JOHAN SE 0 0 0 0 QO 0 0 Q ° Q 0 0
8003563737 REIJNEN, JAN J NU 0 0 0 0 0 0 0 Q 0 0 0 0}
8404448965 HYLANDER, DAVID SE 0 0 0 Q Q 0 0 0 0 0 0 0
685719 BENNETT, CURLINE Y CA 0 0 0 0 0 0 0 0 0 Q 0 0
586045 SALAAM, ELAINE CA 0 0 0 0 0 0 0 0 0 0 0 0
8404471624 MAGNUSON, MIKAEL SE Q Q 0 0 0 0 0 0 0 0 oO 0
7800028650 ROMAN, RITA IT 0 0o 0 Oo 0 Oo 0 0 0 oO 0 0
8906178824 AIERSTOCK, FRIDOLIN DE 0 0 0 0 QO 0 0 9 0 Q 0 0
8906149009 DD VISION DE 0 0 0 0 Qo Qo o Qo 0 0 0 0
8003575789 BOER DE, LUCIA NL 0 0 0 0 Qo 0 0 0 0 0 0 0
587883 SADDLER, WILLIAM B US Q 0 Q 0 0 0 0 0 0 0 0 Q
588889 ROMERO, KENNETH L US 0 0 Qo 0 Q Qo 0 0 Q 0 Q Q
688897 HUISKEN, PERRY F US 0 0 0 0 Oo 0 oO 0 0 0 0 0
588898 FUCHS, MARTINA US 0 0 0 Qo 0 0 0 0 0 0 0 0
§84408 PATTERSON, STEVEN J us 0 0 0 0 0 0 0 0 Qo Q 0 0
584415 PIVAL, JOAN C cA 0 0 0 0 0 0 0 0 0 0 0 0
584441 WILLIAMSON, KELLY T US 0 0 Qo QO 0 0 Q 0 0 0 0 0
7800016836 PARAZA, WILMA IT 0 0 0 0 0 0 a 0 0 Q 0 0
584025 ROMANCIA, KELLY M CA 0 0 QO Qo 0 0 0 QO 0 0 0 Q
585615 REMPEL, JOHN M CA Q 0 0 0 0 0 0 Q 0 0 0 Q
585322 CLAPACS, KEITH M us o 0 0 0 0 Q 0 Q 0 0 0 Q
586623 MOORE, ANDREW D us Q Q 0 Q 0 Q 0 Q Q Q 0 Q
8404533074 PETTERS, MAGNUS SE 0 0 0 Qo QO Q 0 0 0 0 0 oO
2012936 ROSS, AISLYNN M US 0 0 0 0 0 0 0 Qo 0 0 QO 0
8702089641 GROTTERUD, TANJA TYBERG NO 0 0 QO 0 0 0 14.86 14.86 0 0 0 Q
588584 PATTERSON, SHERANI A us 0 0 0 0 0 0 Q 0 0 0 0 0
§84056 RIFFEL, BRENT A US 0 0 0 0 0 0 0 0 0 0 0 0
§84103 STANKO, GARY A us 0 0 0 0 0 0 Q 0 0 0 0 0
8404549311 LAANGESAETER FASTIGHETSSERVICE SE 0 0 0 0 0 0 0 0 0 0 0 0
586626 SOMMERS, TIMOTHY L US 0 0 0 0 0 0 0 0 0 0 0 a
8906186890 RAST, TINA DE 0 0 0 0 0 0 0 0 Q 0 0 9
687295 CORTEZ-TAFOLLA, MARIA M US a 0 0 0 Q 0 0 0 0 0 Q 0
587603 ENGLAND, LYNN CA 0 Q 0 0 0 Qo 0 Q Q Q 0 0
§88602 ABRAMS, DAVID R US 0 0 0 0 0 0 0 0 0 0 0 0
586263 KRAGE, KARREN L US 0 0 0 0 0 0 0 0 0 0 0 0)
§85634 SUCHANEK, RYANR US 0 0 0 0 0 oO QO 0 0 0 0 0
618961 MAKING IT HAPPEN AGAIN, LLC US 0 0 0 0 0 0 0 0 0 Q 0 Ol
8701707180 ARONSEN, JOERN EIVIND NO Q 0 QO 0 0 0 0 0 0 0 0 Q
8003572743 HINDULIFE NL Q 0 0 0 0 0 0 0 0 Q 0 0
8906199260 SECKER, MARCEL DE 0 0 0 0 0 QO 0 0 0 0 0 0
617031 BROWN, KAREN & RAYLAND US Q 0 0 0 0 0 Q 0 0 0 0 0
617661 FUGGINS, ANA US Q 0 0 Qo 0 0 0 0 0 0 0 0
8103359837 VEJLING, LINDA DK 0 0 0 0 Q 0 0 0 0 0 0 0
618623 PHILION, DAVID US 0 0 0 0 0 0 0 0 0 0 0 0
8906216256 SCHULZ, OLIVER DE 0 0 0 Q Q 0 0 0 0 0 0 0
616391 VUCETIC, MICHAEL J US 0 0 0 0 Q 0 0 0 Q 0 0 0}
8103331032 ANDERSEN, NIKOLINE KLAUSTRUP. DK Q 0 0 a 0 0 0 0 Q 0 Qo 0
617354 BERLIN, CONSTANCE S us Qo 0 0 Q 0 0 oO 0 a 0 0 0)
8103332779 RECHENBERGER KURT DK 0 0 Oo 0 0 0 oO 0 0 O 0 Q|
618633 JACKMAN, BOBBIE us 0 0 oO 0 0 o 0 0 o 0 0 0
6906216907 BRAUNE, ALDONA DE 0 0 0 0 0 0 0 0 0 0 a 0
7800012697 MAMMA, RENZO IT 0 0 0 Q 0 0 0 0 0 ° Q Q
614573 NEILLY, DANIEL T US 0 0 0 0 0 0 0 Q a Q 0 0
614578 COX SR, BENE US 0 0 0 0 oO 0 QO 0 0 0 oO Q
8103364563 BIELEFELDT, PER DK 0 0 0 0 0 0 0 0 0 Q 0 0
8003577122 PAAIJMANS JR, P. NL oO 0 0 0 Qo 0 0 0 0 0 QO 0
8906202147 BENKEL, BRIGITTE DE 0 0 0 0 0 0 0 0 0 0 0 qQ
8404549333 EVERTSSON, JOHAN SE 0 0 Qo 0 0 0 Q 0 0 0 0 0
8702098420 SIMMONS, SHAWN DAVID NO 0 0 0 Qo 0 0 0 0 Q 0 Q 0
8003587613 NEELEMAN, BARBARA MARIA NL 0 Q 0 0 a 0 0 0 0 0 o a
8906213406 FINANZ-U..WIRTSCHAFTSBERATUNG DE 0 0 0 0 0 0 0 0 0 Qo 0 a
617696 NORTH AMERICAN NETWORK INC US 0 0 0 0 0 0 0 0 0 0 0 0
8882734975 PARKER, EDWARD GB 0 0 oO oO 0 0 0 0 0 Q 0 0|
8404574686 JOHANSSON, MARIE-LOUISE SE 0 0 0 0 0 0 0 0 0 0 0 0
610383 BARKER, ROSLYN us 0 0 0 0 0 0 0 0 0 QO 0 0
615074 SMITH, MELANIE US Q 0 0 0 Q 0 0 0 0 Q Q 0
615993 RIX, JASON CA oO 0 0 0 0 Qo 0 Q 0 Q 0 0
616007 MILLER, JAMES E US 0 0 0 0 0 0 0 0 0 0 0 0
616010 CASH, TODD W US 0 QO 0 0 0 0 0 0 0 0 0 0
8003585855 KOCAK, AHMET NL QO o QO 0 0 oO 0 0 9 o 0 0

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613224 SOMANADER, PRIMROSE
8003586492 POLL VAN DEN, MINCA
8003582512 OP T HOF- TILBORG V, WILLY

609491 HALL, DAVID C

614163 PIFHER, LORA K
8702056434 STEINSBOE, SVEINUNG.
8404492757 AASLUND, HENRIK
8702104343 HANSEN, THOMAS
8702011742 LABRAATEN, KNUT

611612 ASHTON, CRYSTAL

611940 FLYNN, WAYNE E

612910 ROCHELEAU, PAUL M

614201 REID, DAVID

609512 CASCIANO, TIFFANY
8702100540 ELLEFSEN, GEIR
8906162712 VERBRAUCHERSERVICE
8702108696 HEGNE CONSULT
8702100398 LARSEN, ROY OVE

§87015 MCGEE, JASON D
8003586786 BAPTISTA-RODRIGUES, JENNIFER

612171 THISSE, TRACEY A

613151 BARTLETT, THYRON

614442 LALIBERTE, DONG
7000185926 ZINKE, LUDWIG
8701569680 HAALAND, MORTEN
6702129891 SELMER, RICHARD
8906141408 MICHEL, ANDREAS
7800000674 LEOTTA, SANTA
8702127883 SETSAA, KJELL H
8906201557 STRACK, NICO

612215 OCHOA, RAY A

614166 BUTLER, VICKIL
8404510650 KARLSSON, JAN

610945 YARBROUGH, MARIETTA L

610961 GODFREY, BEVERLY & LARRY
8404620801 JONASSON, JONAS

611892 ADRABI, AMNON

613210 DOTSON, TERRY T
7000201507 KRUPKA, ERICH
7000198156 NEUER, THOMAS
8003575210 POSADINU, MAURICE
8906207706 MANSTEIN, CLAUS - PETER

614160 FENDER, JENNIFER A
8702096092 MIKKELSEN, JOHN ROGER
8702007029 HALVORSEN, JORUNN FINNE

587871 LAUZON, ROBERT
7000190052 BERMANN, MICHAEL

588860 WESTROP, MIKE F J

588866 ALLEN, TAUNJIA D

584274 HAYNIE, JOHN J

584277 CAESAR, KERON A

584292 BEARD, PAMELA S

585573 TAYLOR, KRYSTIE M

585589 SOU, RACHANA S

585932 FLEMMINGS, MACK T
8906165225 MIDDEKE, TORSTEN
8404548282 ANDER, CARL

588193 SCHICK, KRISTINE L
8404498345 LJUNGDAHL, JOERGEN

587516 HOLDER, RICHARD S
8404554465 CARLQVIST, CARIN
8003572886 BOUWENS, MAURICE

588542 JETHROE, JAMES A
8003572591 MAKHANLAL, GLENN

584327 MITCHELL, CATRINA
8862718561 BERNSTEIN, FRANCES
8906150602 CONTZEN, MARLIES

584427 WYCHE, RONALD E

584436 SHEPPARD, GWENDOLY M
8404503360 ABRAHAMSSON, JESSICA
8003569820 RYTHOVEN VAN, AAD

587528 PATRICK, RICHARD L

584174 JOHNSON-GUNN, TIFFANY

591978 THOMPKINS, GERRI
8103352195 ANDERSEN, RONNI

585864 VINE, DAVID J
8906191659 BOTHE, MONIKA
8404547741 ANDERSSON, ANNA
8103332692 KORSGAARD, GERT

587474 HODGES, THERESA E

587490 BANKS, JIMMY A
8404583301 ERIKSSON, IRMELI

588137 SANDERS, GREG B
8701311360 WESTDAHL, PETTER KNUT
8404400501 OLOFSSON, FREDRIK

584163 MARSHALL, ANDREW C

587561 ANDEREGG, MARY
8906191622 HAYBACH, GUIDO

586869 KOROSKO, MATTHEW S
8906188984 KLODT, JUERGEN
7000198093 JUENGLING, MICHAEL

88172 HARE, NICOLE
7670693936 CHANTELOUP, MAUD
585564 MCBRIDE, ALAN J

eseooeosooe9ense SC oOeC oS CoC ODO eC OOBAAO OO Oooo OOOO OC OOD oO BOOB OOOO OOOO OCC COO COC OG OOOO OOOO OC OOOO OC OOOO OCOOC OOD

ecooeeooceoso99c9909C9OSGOFDFCOBD OCC ODeCOoO OOOO oO oO OOC COD OO OC OOD OOO OOOO C ODOC OOO OOO CO OC OOO COCO OCC OCC OOOO oOoOGCS

eoooeeroeoscooc9ocC ooo oS Soo SCOC OOOO oOC Oo OOOO OOOO OOO DOOD OOOO OOOO OOO OC O OOOO ODO OOOO OOOO OOOO OOOO COO OC OCC COCO

eoogooeoosroo99oC Ooo SF SOD eOSOCNOSD OOO CO OOO OOOO oO oO OOo oOo DO COO OOO OC OOO OD OOOO OOOO OOD COC OCC OOO OC OOOO CO OO OOO OGS

essceocoecoosoosoooSeSaSeSCoOSCOOCoC OOOO OO OOO BDO OOOO OOO OOO OOOO OOC OOO OOD OOO OC OO COO OOO OOO DO OOOO OOOO OC OC OO OOCG

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eRaccecec ccc coc ee OD CDC DDD DDC eo O DOOD OO CODCOD DOC OC DOCC ODOC DOD KOC COO OCC ODDO COC OD DOC OOO OC OOO COO OOCOCCCCS

eooocc0eccon9neSFo9CCOCOCeC COCO C OB ODO oOoO oO OoO ODOC OC OAD Oo eC OOOO OOO DOO OOOO OOO OCC OOO OD OOOO OOO OOOO OO OOO OC OOO COOOD

eoooeco99ce9D oC CC OSC OOo OO OC OOOO oOooOoOSBD OOO OOOO OBO OO OOo ODO OeC COC OO COCO OOC OC OO OC OOOO OOOO OOO OOOO OOO OOOO OO

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eooeeoeceocCoCcCoCCoCoC OSGeo ONODO OOOO oOSo oOo OSC OOOO OO BDC ADO OOoOOOCOC OC OOOO OOO OOOO CO OO OC OCOCB OOO OOOO OOO OC OOO COCO OGCOCO

eocoeocooe9e oC SCSCoOoOoOSCSOSoSoSFOOCeo OOOO Oo oOo oo OoOC OOO CSC OOOO oOOO oOo OC COO C OOOO oO OC COCO OOOO OOOO C OCC COO C CoC OG

eooecocscoceDFSFPSCOSFD ee OODOe oOo OoO COO OOO oe OOD OOOO eC OOO COO OOOO OOOO OOOO OOOO COC OO COCO OC OOOO OOOO OOO OOOO oOOoO

QPIOSCAPBFPAPSSSPAPSPSDSOSDSDAPSFDSD OOOO SCAOSSOSOOSOOoOoOoDooo OOOO OOOO OOOO CO OO OBO DOO GO OOOO OD OOOO OOOO oO OOOO OC OOD OC OO OG oOD

